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                                    IN THE                                                 FILED
                    UNITED STATES COURT OF FEDERAL CLAIMS                                July 12 2017
                                (BID PROTEST)                                           U.S. COURT OF
                                                                                       FEDERAL CLAIMS
                                                     )
MAIL TRANSPORTATION, INC., et al.                    )
                                                     )
              Plaintiffs,                            )
                                                     )
       v.                                            )                  17-934 C
                                                            Case No. ___________________
                                                     )
UNITED STATES,                                       )      Judge______________________
                                                     )
              Defendant.                             )
                                                     )

                  MEMORANDUM IN SUPPORT OF PLAINTIFFS’
              APPLICATION FOR TEMPORARY RESTRAINING ORDER
                 AND MOTION FOR PRELIMINARY INJUNCTION

       Multiple Plaintiffs, as identified in the Complaint in Paragraph 11 (“Plaintiffs”), submit

this memorandum in support of their application for temporary restraining order and motion for

preliminary injunction.




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                                    I.     INTRODUCTION

       Ignoring the requirements of 39 U.S.C. § 5005(c) and the warnings of a U.S. District

Court judge that it must comply with that statute, the United States Postal Service (“Postal

Service” or “USPS”) is taking steps to terminate a group of mail transportation contracts and

covert them to in-house Postal Vehicle Service. This action violates 39 U.S.C. § 5005(c), which

requires that in determining whether to obtain mail transportation by outside or internal modes, it

“shall use the mode of transportation which best serves the public interest, due consideration

being given to the cost of the transportation service under each mode.” The Postal Service has a

45+ year history of complying with this requirement, and has even developed a special form

(PS Form 5055) to conduct the cost comparison. It was not used in this case.

       Instead, the Postal Service takes this action in misguided adherence to an incorrect

interpretation of a decision in a labor arbitration directing USPS to convert 110 Highway

Contract Route (HCR) contracts to in-house Postal Vehicle Service (PVS). A U.S. District Court

judge has already stated that the arbitration award does not direct USPS to terminate and convert

HCR contracts to PVS in disregard of § 5005(c). The arbitrator also specifically retained

jurisdiction to resolve any matters relating to implementing the remedy.

       Rather than complying with the requirements of § 5005(c) in selecting which HCR

contracts to convert to PVS, or going back to the arbitrator to resolve issues over the remedy, the

Postal Service and its employees’ union have, in secret, divvied up between themselves which

HCR contracts to terminate and convert to PVS. The Postal Service has failed to even attempt to

comply with § 5005(c) in order to determine which mode best serves the public interest. None of

the Plaintiffs has been contacted by USPS in this regard, and all of the Plaintiffs have contracts

that would not be converted to PVS if USPS had followed § 5005(c).




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       As a result, Plaintiffs—who did nothing wrong and whose contracts better serve the

public interest and at a lower cost than PVS—will suffer irreparable harm from the Postal

Service’s actions. The Postal Service is now actively recruiting Plaintiffs’ drivers to perform this

service as PVS drivers, and this recruitment has already caused disruptions to current operations.

If the contracts are terminated as planned, Plaintiffs will suffer irreparable economic loss. The

Postal Service’s action may force some Plaintiffs into bankruptcy and others into absorbing large

losses and underused equipment and facilities.

       Plaintiffs seek to preserve the status quo ante by temporarily enjoining the Postal Service

from taking any action to terminate their contracts or convert their routes to PVS. Without

temporary injunctive relief, the disruption caused by driver recruitment will continue to harm

existing operations. Temporary relief will also spare the Postal Service (an agency that can ill

afford any unnecessary expenses) from further wasting time and money on acquiring equipment

and recruiting personnel for bringing the work in-house in violation of § 5005(c).

       Temporary relief is also urgently needed to prevent the Postal Service from taking the

first official contractual step to end Plaintiffs’ contracts. The Postal Service plans to implement

the conversion by September 1, 2017, and to do so, it is expected to soon issue notices under the

“Termination with Notice” clause of its HCR contracts with Plaintiffs. This clause allows USPS

to terminate a contract without further cost consequences on 60-days advance written notice (or

pay contractors for any short notice). Once those termination notices are issued, Plaintiffs will

face even greater driver recruitment and disruption of their operations.

       Plaintiffs have established all four factors considered in granting temporary injunctive

relief. First, Plaintiffs are likely to succeed on the merits. The planned termination and

conversion of HCR contracts to in-house PVS drivers violates 39 U.S.C. § 5005(c) of the Postal




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Reorganization Act. 1 When these contracts were originally awarded, the Postal Service made

the analysis required by the statute and selected HCR service. The Postal Service has not

performed a new analysis before converting back from HCR to PVS mode. If it had done so, the

contracts would not have been chosen for termination and conversion to PVS. Instead, the Postal

Service secretly selected Plaintiffs’ contracts in negotiations with an employee union without

first attempting to determine which mode best serves the public interest or giving due

consideration to the cost of each mode of service.

        The Postal Service’s failure to comply with § 5005(c) is thus both a breach of contract

and a procurement error. It is a breach of each Plaintiff’s contract because the planned

terminations violate the duty of good faith and fair dealing, as that duty contemplates that the

Postal Service will not violate the law in the exercise of its contract rights. It is also a

procurement error because the planned conversion from HCR to PVS mode is an agency

procurement and USPS has failed to comply with § 5005(c) in that process.

        Second, temporary injunctive relief is needed to preserve the status quo and prevent

irreparable harm to Plaintiffs, who are the individuals and small businesses that now perform

these HCR contracts. Many of these contracts have been operated by the same small, family-

owned HCR contractors for decades and form a substantial portion of their revenues. If

injunctive relief is not issued, Plaintiffs will lose millions of dollars in revenue and will be forced

to lay off long-time employees. Plaintiffs will be left with idled and under-utilized resources




        1
         The Court’s authority to require Postal Service compliance with 39 U.S.C. § 5005(c) is
addressed in a 1975 case brought by the Star Route Association. In that case, the U.S. District
Court for the Northern District of California ordered the Postal Service to comply with 39 U.S.C.
§ 5005(c) and identified specific procedures to ensure compliance. See National Star Route Mail
Carriers Assoc. v. United States Postal Service, No. 75-1894 (N.D. Cal. Dec. 4, 1975) (copy
attached as Ex. 1-A).


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they must continue to pay for. Importantly, the Postal Service has taken the position that

Plaintiffs have no remedy at law for the monetary losses they will inevitably suffer.

        Third, the balance of harm tips in favor of Plaintiffs. The Postal Service will actually

benefit economically from a temporary injunction because keeping the current HCR contracts in

place will cost substantially less than operating the routes with PVS drivers. An injunction to

preserve the status quo will save the Postal Service millions of dollars in transportation costs and

stop the Postal Service from wasting further funds on acquiring equipment and personnel to

perform this work. Further, injunctive relief will not harm the interests of any PVS employees.

The routes in question are not currently being operated by PVS drivers, and no PVS drivers or

other postal employees will lose their job or otherwise be impacted if these contracts are allowed

to continue. The arbitrator has also retained jurisdiction over the matter and can fashion an

alternate remedy if needed.

        Fourth, issuance of injunctive relief will serve the public interest. The public has a strong

interest in ensuring that federal agencies comply with the laws governing their conduct and that

they perform their responsibilities in a cost-effective manner. Here, the law requires the Postal

Service to “use the mode of transportation which best serves the public interest.” 39 U.S.C.

§ 5005(c) (emphasis added). Requiring compliance with a law designed to further the public

interest is, plainly, in the public interest.

        For these reasons, Plaintiffs seek a temporary restraining order and a preliminary

injunction preventing the Postal Service from terminating their HCR contracts and converting

their HCR routes to PVS without first performing the analysis required by § 5005(c).




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                               II.     QUESTION PRESENTED

       The question presented is whether the Postal Service may disregard 39 U.S.C. § 5005(c)

in selecting between outside and inside modes of mail transportation.

                             III.    STATEMENT OF THE CASE

A.     Contracted HCR and In-House PVS Methods of Mail Transportation.

       The Postal Service, and its predecessor agency the Post Office Department, have a long

history of contracting out mail transportation, with the first such contracts issued by the

Continental Congress in 1785. (Declaration of John V. “Skip” Maraney, attached hereto as

Exhibit 1, ¶ 5.) Some of this Court’s earliest cases concerned mail transportation contracts. See,

e.g., Nye v. United States, 1858 WL 4649 (Ct. Cl. Dec. 7, 1858). Today, the Postal Service has

over 8,000 Highway Contract Route (HCR) contracts for the surface transportation of mail. (Id.

¶¶ 4, 6.) HCR contracts are fixed-priced contracts that are awarded on a competitive basis. (Id.

¶ 4.) HCR contracts are typically awarded for a four-year term, and they can be renewed for

additional terms upon mutual agreement. (Id.)

       HCR contracts differ from commercial transportation contracts in several ways. (Id. ¶ 7.)

HCR drivers must go through a comprehensive background-screening process and obtain a

security clearance from the U.S. Postal Service Inspection Service. (Id.) HCR contracts

incorporate the requirements of the Service Contract Act. (Id.) Thus, HCR drivers must be paid

no less than the prevailing wages and benefits prescribed by the U.S. Department of Labor in

regularly updated Wage Determinations for their geographic area. (Id.) HCR contracts also

contain detailed specifications on the type of equipment that must be used. (Id.)




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       Because of these special requirements, the Postal Service is the only customer for many

HCR contractors. (Id. ¶ 2.) Indeed, this is the case for several Plaintiffs in this case. 2 Because

HCR contracts may be renewed by mutual agreement, many HCR contracts have been held by

the same contractor for decades. 3

       The Postal Service also has its own in-house employee drivers who perform surface

transportation of mail, referred to as the Postal Vehicle Service, or PVS. (Id. ¶ 8.) PVS drivers

are represented by the American Postal Workers Union (“APWU”). (Id.)

       When determining whether to use independent HCR contractors or in-house PVS drivers

to provide mail transportation service, the Postal Service is required to select the mode that “best

serves the public interest, giving due consideration to the cost of transportation service under

each mode.” (Id. ¶ 9.) This requirement was included in the Postal Reorganization Act of 1970

and is set forth in 39 U.S.C. § 5005(c). (Id.)

       Since at least 1973, the Postal Service has employed a specific form—PS Form 5505—to

use in performing the § 5005(c) analysis. (Id. ¶ 13 and Ex. 1-B). PS Form 5505 sets out a

variety of driver and vehicle costs that the Postal Service examines when performing the required

cost analysis. (Id.) The back of the form contains a detailed list of instructions on how the

individual figures on the form should be determined. (Id.)



       2
         The Postal Service is the only client of Plaintiffs Mail Transportation Inc., Holton Truck
Lines, Inc., Yung Lee, Inc., and W.B. Adams Trucking, Inc. (Ex. 2 ¶ 7; Ex. 7 ¶ 3; Ex. 10 ¶ 2;
Ex. 12 ¶ 5.) Ninety percent of the business of Plaintiffs Foreman Brothers, Inc. and F.S.R.
Trucking, Inc. is derived from HCR contracts. (Ex. 3 ¶ 2; Ex. 8 ¶ 5.) HCR contracts account for
95 percent of the business of Plaintiff Midwest Transport, Inc. (Ex. 4 ¶ 6.)
       3
         Specifically, Foreman Brothers, Inc. has been an HCR contractor since 1953, and
Causley Trucking, Inc. obtained its first HCR contract in 1951. (Ex. 3 ¶ 3; Ex. 11 ¶ 4.) M.C.
Eipperle, Inc. has held Contract 43491, which USPS intends to convert, since 1965. (Ex. 5 ¶ 5.)
Taylor Postal Contracting, Inc. and its predecessors have transported mail for USPS since 1931,
and the company has held its present HCR contracts for an average of 32 years. (Ex. 6 ¶¶ 2, 5.)


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B.     The APWU Grievance and the August 18, 2016 Arbitration Award.

       On April 19, 2011, the American Postal Workers Union filed a grievance against the

Postal Service. In the Matter of the Arbitration between United States Postal Service and

American Postal Workers Union, AFL-CIO, Case No. Q06C-4Q-C 11182451 (National

Arbitration Panel Aug. 18, 2016) (hereinafter, the “Arbitration Award,” attached hereto as Ex.

1-C.) The APWU contended that the Postal Service was not complying with its obligations

under the Collective Bargaining Agreement between APWU and the Postal Service (the

“National Agreement”) to provide notice and enter discussions with the union before it awarded

HCR contracts for certain mail transportation routes. 4 (Ex. 1-C at 1.) The grievance eventually

led to an arbitration proceeding, in which the APWU sought various forms of relief, including

hundreds of millions of dollars in damages, a cease-and-desist order, and an order requiring the

Postal Service to terminate 110 specific HCR contract routes in favor of PVS drivers. (Id.)

       After more than five years of proceedings, the arbitrator resolved the APWU grievance in

an award dated August 18, 2016. (See Ex. 1-C.) The arbitrator found that the Postal Service had

engaged in wholesale and repeated violations of the notice and discussion provisions in the

National Agreement. (Id. at 16.)

       In fashioning a remedy for the Postal Service’s notice violations, the arbitrator declined

to award any monetary damages. (Id. at 19.) Instead, the arbitrator issued the requested cease-

and-desist order, and he further ordered the Postal Service to convert up to 110 highway routes

from HCR contractors to PVS drivers. (Id.) Importantly, the arbitrator did not grant the



       4
          The National Agreement also contains a cost-consideration requirement that is nearly
identical to the requirements in § 5005(c). Article 32.2.A of the National Agreement states: “In
selecting the means to provide such transportation the Postal Service will give due consideration
to public interest, efficiency, availability of equipment, and qualification of employees.”
(Ex. 1-C at 4.)


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APWU’s request to order the Postal Service to convert the 110 specific HCR contract routes for

which notice was not given. Instead, the arbitrator ordered that “the parties may substitute other

route(s) to be converted to PVS service pursuant to this order based on particular circumstances.”

(Id.)

        The flexibility in the arbitration award as to which contracts to convert to PVS is

consistent with the arbitrator’s finding that the evidence before him showed that HCR contracts

were often less costly than PVS. The union’s own expert economist testified that PVS

employees could perform only 41 of the 110 routes at issue for the same or lower cost as HCR.

(Id. at 8.) The expert economist further testified that performance by in-house PVS drivers

instead of HCR drivers would cost the Postal Service an additional $3.5 million per quarter. (Id.

at 8.) Similarly, the Postal Service’s witnesses testified that “under current working conditions it

was more efficient for the Postal Service to use HCRs than PVS.” (Id. at 15.) As a result, the

arbitrator recognized that—even if notice had been properly provided to APWU—there was

“little likelihood” that any of the contested mail transportation routes would have been awarded

to in-house PVS employees as opposed to less expensive HCR contractors. (Id. at 18.)

        In allowing the Postal Service the latitude to determine which routes to convert, the

arbitrator created a remedy that allowed the Postal Service to comply with § 5005(c) in making

that determination. Nonetheless, if issues arose in performing that analysis and in complying

with the Arbitration Award, the arbitrator specifically retained “jurisdiction to resolve any

matters relating to implementation of this remedy.” (Id. at 20.)

C.      Actions Taken Following the Arbitration Award.

        Neither the Postal Service nor the arbitrator notified any of the Plaintiffs about the

August 2016 Arbitration Award. (Ex. 1 ¶ 15; Ex. 2 ¶ 13; Ex. 3 ¶ 14; Ex. 4 ¶ 13; Ex. 5 ¶ 10; Ex. 6




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¶ 12; Ex. 7 ¶ 29; Ex. 8 ¶ 16; Ex. 9 ¶ 6; Ex. 10 ¶ 11; Ex. 11 ¶ 16; Ex. 12 ¶ 14.) Skip Maraney, the

Executive Director of the Star Route Association (the “Association”), did not learn of the

arbitration decision until sometime in September 2016. (Id. ¶¶ 16.) Many of the Plaintiffs did

not learn about the arbitration or the decision to convert their contracts to in-house employees

until sometime in June 2017. (Ex. 2 ¶ 11; Ex. 3 ¶ 14; Ex. 4 ¶ 13; Ex. 5 ¶ 11; Ex. 7 ¶ 30; Ex. 8

¶ 13; Ex. 10 ¶ 4; Ex. 11 ¶ 19; Ex. 12 ¶ 11). Plaintiffs Midwest Transit, Inc. and F.S.R. Trucking,

Inc. both learned about the planned termination and conversion of their contracts when their

drivers saw letters at USPS facilities that discussed the “agreement” between the APWU and

USPS to convert their routes. (Ex. 4 ¶ 10 and Ex. 4-B; Ex. 8 ¶ 14 and Ex. 8-A.)

       As soon as Maraney learned of the Arbitration Award, he initiated discussions with

Postal Service officials in an effort to reverse the decision or prevent its implementation, but this

effort failed. (Id. ¶ 17.) Since USPS believed the Arbitration Award required it to terminate and

convert HCR contracts to PVS without regard to 39 U.S.C. § 5005(c), by letter dated October 7,

2016 the Star Route Association attorney asked USPS to seek to vacate the Award. (Id. ¶ 18 and

Ex. 1-D (Hendel letter to Marshall (Oct. 7, 2016).)

       On November 16, 2016, the Association received the Postal Service’s response. (Ex. 1

¶ 19 and Ex. 1-E (Marshall letter to Hendel (Nov. 10, 2016).) In its letter, the Postal Service

stated that it did not intend to challenge the Arbitration Award. (Ex. 1-E.) The letter also noted

that the impacted HCR contractors would not have viable breach of contract claims for the

consequences of the early termination of their contracts. (Ex. 1 ¶ 19; Ex. 1-E) (emphasis added.)

D.     The 2016 District Court Proceeding.

       On November 30, 2016, the Association brought an action in the U.S. District Court for

the District of Columbia seeking to enjoin the Postal Service from following the Arbitration




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Award. National Star Route Mail Contractors Association, Inc. v. United States Postal Service,

No. 16-2350-CKK (D.D.C. filed Nov. 30, 2016) (hereinafter the “2016 Proceeding”). The

District Court dismissed the 2016 Proceeding, finding the Association’s action premature

because the Postal Service had not yet made the final decision on which routes to transfer to

PVS. 223 F. Supp. 3d 14, 28-29 (D.D.C. 2016). The District Court also found that it lacked

jurisdiction because the “claims sound in contract and are subject to the exclusive jurisdiction of

the Court of Federal Claims.” Id. at 36 (emphasis added).

       In reviewing the Arbitration Award, the District Court made frequent reference to the

“wide latitude” and “flexibility” that the award afforded the Postal Service in determining which

routes were best suited to conversion to PVS. Id. at 23. The court’s opinion notes that the

Arbitration Award “does not require that the 110 routes identified in the grievance . . . be

converted, but rather required that number of routes be converted to PVS routes.” Id. at 23-24.

As a result, the Arbitration Award “implicitly acknowledges that conversion of some or all of

these routes might not be feasible or prudent.” Id. at 24. Critically, the District Court believed

that the Postal Service was required to and able to comply with § 5005(c) in determining which

110 routes to convert to PVS:

               The flexibility of this award is critical. It affords the Postal
               Service an opportunity to examine its route assignments and design
               the proper combination of HCR and PVS routes that best serves
               the public interest. Rather than undertake this complex analysis,
               the Arbitration Award rather presumes that the Postal Service will
               comply with the requirements of § 5005 of the Postal
               Reorganization Act and the related provisions of the National
               Agreement.




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Id. (emphasis added). 5 The District Court stated further that it “presumed, and the Arbitration

Award contemplates, that the Postal Reorganization Act’s § 5005 considerations will be

applied.” Id. See also id. at 33-34 (“The Arbitration Award presumes that the Postal Service

will conduct [the § 5005(c)] analysis when deciding which contracts to terminate . . . .”).

E.     The Postal Service’s Decision Regarding Which Routes to Terminate.

       Notwithstanding the District Court’s interpretation of the Arbitration Award, after the

action was dismissed the Postal Service continued to assert that the Arbitration Award required it

to convert HCR contracts to PVS without regard to § 5005(c) and without performing the

analysis the law requires. (Ex. 1 ¶ 21.) By letter dated June 20, 2017, the USPS General

Counsel advised that the Postal Service and the APWU had reached an agreement on which 110

routes would be converted from independent HCR contractors to in-house PVS employees.

(Ex. 13 (Marshall letter to Hendel (June 20, 2017).) The June 20, 2017 letter set forth a timeline

for the transition to in-house PVC services:

               Once the Postal Service has sufficient staffing in place for a
               particular route, formal notice of cancellation will be provided to
               the contractor operating the HCR. The Postal Service and the
               APWU agreed that all 110 routes should be converted by
               September 1 . . . .

(Id.) The General Counsel’s letter attached a list of the routes that the Postal Service intended to

convert. (Id.) A revised version of that list was sent on June 23, 2017. (Ex. 14 (Kappler letter to

Hendel (June 23, 2017).) At no point in either letter did the Postal Serve state or otherwise

indicate that it performed the § 5005(c) analysis in selecting the 110 HCR contracts slated for



       5
         The District Court re-iterated this point later in its opinion: “[T]he Arbitration award
provides the Postal Service with wide latitude to negotiate with the Union, to apply the Postal
Reorganization Act’s § 5005 public-interest analysis to identify which routes are best suited for
conversion, . . . and to come back to the arbitrator to revisit the remedy, if necessary.” 223
F. Supp. 3d at 28-29 (emphasis added).


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termination and conversion to PVS. (Ex. 13, 14.) Similarly, in Maraney’s communications with

senior USPS officials, the Postal Service never stated an intention to comply with § 5005(c) in

selecting which HCR contracts to terminate and convert to PVS. To the contrary, they stated

their belief that the arbitration award required them to convert HCR contracts to PVS without

regard to that analysis. (Ex. 1 ¶ 21.)

       Since announcing in June 2017 the new list of 110 HCR contracts set for termination,

Plaintiffs’ employees have heard rumors of lay-offs and some have begun to look for new

employment in anticipation of possibly losing their jobs. (Ex. 2 ¶¶ 37, 40; Ex. 3 ¶ 13; Ex. 4 ¶ 32;

Ex. 6 ¶ 15; Ex. 12 ¶ 34.) In some instances, Plaintiffs’ employees have been recruited by USPS

or harassed by postal employees. (Ex. 2 ¶ 38-40 and Ex. 2-B and 2-C; Ex. 3 ¶ 13; Ex. 6 ¶ 15;

Ex. 7 ¶ 31; Ex. 9 ¶ 7; Ex. 10 ¶ 10; Ex. 11 ¶ 18; Ex. 12 ¶ 35.)

F.     Plaintiffs’ Converted Routes.

       Each Plaintiff holds at least one contract for an HCR route that is on the Postal Service’s

final list of HCR routes that it is converting to in-house PVS. (Ex. 2 ¶ 15; Ex. 3 ¶ 10; Ex. 4 ¶¶

11-12; Ex. 5 ¶ 11; Ex. 6 ¶ 13; Ex. 7 ¶¶ 8, 21; Ex. 9 ¶ 6; Ex. 10 ¶ 4 and Ex. 10-1; Ex. 11 ¶ 5; Ex.

12 ¶ 7.) For each route the Postal Service is seeking to convert from HCR to PVS, the Plaintiff

contractor offers unique qualifications and cost advantages that cannot readily be matched. For

example:

           •   The Detroit-based route of Foreman Brothers, Inc. requires specialized equipment
               due to special indoor-dock requirements in Detroit. The Postal Service will be
               required to do what Foreman Brothers, Inc. has done—special order and retrofit
               trailers. (Ex. 3 ¶ 16.)

           •   HCR contract 48018, operated by Taylor Postal Contracting, Inc. (“Taylor”)
               covers two shifts that unavoidably run 9.5 hours each, which would require USPS
               to pay for nearly 1,000 overtime hours to PVS drivers. The route also includes
               four shifts that run 2-4 hours in length, which Plaintiff staffs with part-time




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               drivers. USPS labor contracts may require payment for hours in excess of the
               currently scheduled trip time for short trips like these. (Ex. 6 ¶ 16.)

           •   M.C. Eipperle, Inc. has held HCR contract 43491, and ran its associated route,
               since 1965. Each time the contract was up for renewal, an analysis was
               performed that compared Eipperle’s cost to PVS, and each time, USPS found that
               Eipperle could perform the work more economically and more efficiently.
               Nothing has changed that would make PVS less expensive. (Ex. 5 ¶ 12.)

           •   The Hawaii-based route for HCR contract 967L1, held by Hokulani Kigyo, LLC,
               d/b/a Professional Commercial Services (“Professional”) involves transportation
               between the main postal and distribution center in Hawaii and a FedEx facility.
               Due to the constraints at the FedEx facility, certain truck sizes are required for the
               route, which the Postal Service would be required to purchase. Upon information
               and belief, PVS drivers previously attempted to perform the work under this
               contract, but the work could not be completed satisfactorily and was contracted
               out to Professional. (Ex. 8 ¶ 10.)

           •   The route operated by Causley Trucking, Inc. under HCR contract 48162 runs out
               of Ann Arbor, Michigan. The Postal Service does not have facilities domiciled in
               Ann Arbor. As a result, over 4,000 trips operating out of Ann Arbor will require
               rerouting to a PVS facility in Detroit, resulting in expanded USPS processing
               times, increased route mileage, and delayed service times. (Ex. 11 ¶¶ 8, 26.)

           •   Five of the drivers of W.B. Adams, Inc. have driven the route scheduled for
               conversion for the entirety of the existence of the contract. The route has unique
               characteristics that make it difficult to drive, including the presence of many hills
               that are difficult to navigate during the harsh Pennsylvania winter months. The
               route also requires drivers to work 10-11 hour days, which, upon information and
               belief, PVS drivers are not able to do under union labor agreements.
               (Ex. 12 ¶ 33.)

Each Plaintiff has provided a declaration accompanying this motion explaining why its HCR

contracts selected for termination and conversion are lower cost or better suited than PVS, or

both. There is no indication that the Postal Service has even attempted to perform—let alone

reasonably performed—a new § 5005(c) analysis for any of these HCR contracts.

                                      IV.     ARGUMENT

       Plaintiffs are entitled to injunctive relief enjoining the Postal Service from terminating

their HCR contracts and in-sourcing the work to PVS because the Postal Service has not



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conducted the mandatory analysis required by 39 U.S.C. § 5005(c). As discussed below, the

Court possesses subject-matter jurisdiction over in-sourcing challenges such as this, and

Plaintiffs have standing, as interested parties and the incumbent contractors, to seek the relief

requested. The Court also possesses jurisdiction to hear this dispute because it involves claims

against a U.S. agency for breach of contract.

A.      Jurisdiction and Standing Are Present.

        In the 2016 Proceeding, the District Court held it lacked jurisdiction because the claims

were “subject to the exclusive jurisdiction of the Court of Federal Claims.” Nat’l Star Route,

223 F. Supp. 3d at 36. The District Court would have transferred the case to this Court if it were

ripe for adjudication, but since USPS did not have a final list of contracts to be converted it

considered the matter premature. Id. Since the Postal Service has now issued a final list and

stated its intention to effect the conversions by September 1, 2017, this case is now ripe for

judicial review before this Court. As discussed below, this Court has two separate grounds of

jurisdiction to hear and act on this matter.

        1.      This Court Has Subject-Matter Jurisdiction Over Plaintiffs’ Claims and
                Plaintiffs Have Standing Under 28 U.S.C. § 1491(b).

        Under 28 U.S.C. § 1491(b), this Court has jurisdiction to “render judgment on an action

by an interested party objecting to . . . any alleged violation of a statute or regulation in

connection with a procurement or a proposed procurement.” 28 U.S.C. § 1491(b)(1). The Postal

Service’s plan to convert these routes to in-house PVS is considered a “proposed procurement”

and provides the Court jurisdiction over this matter.

        This Court has many times held that an agency decision to transfer services from an

outside contractor to in-house agency employees is made “in connection with a procurement or a

proposed procurement,” and that incumbent contractors may have standing as “interested



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parties” to challenge an alleged statutory violation. See Dellew Corp. v. United States, 108 Fed.

Cl. 357, 370 (2012); Elmendorf Support Servs. Joint Venture v. United States, 105 Fed. Cl. 203,

208 (2012); Santa Barbara Applied Research, Inc. v. United States, 98 Fed. Cl. 536, 543 (2011);

Triad Logistics Servs. Corp. v. United States, 2012 WL 5187846, at *16 (Fed. Cl. Feb. 29,

2012); LABAT-Anderson, Inc. v. United States, 65 Fed. Cl. 570, 574 (2005).

       This Court’s decision in Dellew holds specifically that the decision to discontinue the use

of contractors so that the work can be performed by government personnel is “in connection with

a procurement” and is therefore properly within the Court’s protest jurisdiction. Dellew, 108

Fed. Cl. at 370 (quoting Distributed Solutions, Inc. v. United States, 539 F.3d 1340, 1346 (Fed.

Cir. 2008)); see also Santa Barbara, 98 Fed. Cl. at 543 (“The substance of the Air Force’s

decision has been to stop procuring services from [Plaintiff] and to instead use Air Force civilian

employees to do the same work. Thus, the in-sourcing decision was made for the purpose of

determining the need for contract services and thus was made ‘in connection with a procurement

decision.’”). The decision in Dellew and in other similar cases also supports the conclusion that

Plaintiffs in this case are interested parties with standing to protest. “Absent the Air Force’s

decision to in-source the Contract, Dellew likely would continue to provide the . . . services to

the Air Force in the future.” Id. at 371; see also LABAT-Anderson, 65 Fed. Cl. at 575

(incumbent whose contract was transferred in-house is an interested party because it “lost the

opportunity to earn revenue by not being allowed to compete with the Government for the

renewed contract”); Elmendorf, 105 Fed. Cl. at 208 (“Having concluded that there was a

proposed procurement, we have no difficulty finding that plaintiff clearly has a financial interest

in maintaining its incumbency.”).




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       Each Plaintiff is an existing mail transportation contractor who has a contract set to be

terminated and converted to in-house PVS without the mandatory analysis required by 39 U.S.C.

§ 5005(c). The Court, therefore, has jurisdiction to hear this case because it is a challenge to an

“alleged violation of a statute” that was made “in connection with a procurement or proposed

procurement,” a term which this Court has held in the cases cited above to include government

decisions to transfer contracted-out services to in-house employees.

       2.      The Court Also Has Subject-Matter Jurisdiction Over Plaintiffs’ Claims and
               Plaintiffs Have Standing Under 28 U.S.C. § 1491(a).

       This Court has separate and independent jurisdiction “to render judgment upon any claim

against the United States founded . . . upon any express or implied contract with the United

States.” 28 U.S.C. § 1491(a)(1). The Court also has jurisdiction to “render judgment upon any

claim by or against, or dispute with, a contractor arising under section 7104(b)(1) of title 41 [the

Contract Disputes Act, or “CDA”], including a dispute concerning termination of a contract.” 28

U.S.C. § 1491(a)(2). Here, the Postal Service’s plan to terminate each Plaintiff’s contract(s) for

the purpose of converting them to PVS in disregard of § 5005(c) is a breach of the implied duty

of good faith and fair dealing in each existing HCR contract.

       The CDA applies to “any express or implied contract . . . made by an executive agency”

for, among other things, “the procurement of services.” 41 U.S.C. § 7102(a)(3). In the 2016

Proceeding, the U.S. District Court for the District of Columbia found that the HCR contractors’

claims were subject to the CDA. Nat’l Star Route, 223 F. Supp. 3d at 30. Noting that, under the

CDA, “the Court of Federal Claims has exclusive jurisdiction over claims founded upon an

express or implied contract with the United States,” the District Court found that the

“jurisdictional bar of the Contract Disputes Act applies to claims arising from contracts made

thereunder by the Postal Service.” Id. at 30-31 (emphasis original). The District Court



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ultimately held that HCR contractors’ claims—whether they were asserted as claims for breach

of contract or not—were “subject to the exclusive jurisdiction of the Court of Federal Claims”

under to 28 U.S.C. § 1491(a) and the CDA. Id. at 36. Jurisdiction is likewise present in the

current case, for the same reasons and grounds articulated by the District Court.

       Under the CDA, a federal contractor must first submit its contract claim in writing to its

contracting officer for a decision. 41 U.S.C. § 7103(a)(1), (2). Once a final decision is made on

the written claim, the contractor may then appeal the adverse decision to the Court of Federal

Claims. 41 U.S.C. § 7104(b)(1). “Compliance with the dispute resolution procedures set forth in

the CDA is a prerequisite to the Court’s exercise of jurisdiction over claims covered by that act.”

ASI Constructors, Inc. v. United States, 129 Fed. Cl. 707, 716 (2016). Therefore, for this Court

to have jurisdiction over a CDA dispute, “there must be both a valid claim and a CO’s final

decision on that claim.” Id. (internal citations omitted).

       Plaintiffs have only learned about the planned termination of the HCR contracts within

the last few weeks. In the short-time since they received notice, Plaintiffs have sent written

claims to their contracting officers, pursuant to the CDA, asking for a final decision on whether

converting Plaintiffs’ contracts to in-house PVS without complying with 39 U.S.C. § 5005(c)

breaches the implied duty of good faith and fair dealing. (See Ex. 2 ¶ 16 and Ex. 2-A; Ex. 3 ¶ 15

and Ex. 3-2; Ex. 4 ¶ 14 and Ex. 4-2; Ex. 5 ¶ 11 and Ex. 5-2; Ex. 6 ¶ 14 and Ex. 6-2; Ex. 7 ¶ 35

and Ex. 7-3; Ex. 8 ¶ 17 and Ex. 8-B; Ex. 9 ¶ 8 and Ex. 9-2; Ex. 10 ¶ 12 and Ex. 10-3; Ex. 11 ¶ 20

and Ex. 11-3.) 6




       6
         W.B. Adams, Inc. is the only Plaintiff that has not yet submitted a claim for contract
interpretation. It is currently in the process of submitting one.


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       Although Plaintiffs have not yet received any contracting officer decisions in response to

their claim letters, and though 60 days have not yet passed since they were submitted, 7 the Postal

Service’s General Counsel’s June 20, 2017 letter may be taken as the agency’s deemed denial of

those claims for Contract Dispute Act purposes. The USPS General Counsel’s June 20, 2017

letter unequivocally confirms that the Postal Service will be terminating Plaintiffs’ contracts and

converting the work to in-house employees pursuant to the Arbitration Award, with all

conversions to be completed by September 1, 2017. (Ex. 13.) The General Counsel would not

issue such a letter if it considered such action to be a breach of contract. And its November 10,

2016 letter already stated that impacted contractors “have no viable breach of contract claims.”

(Ex. 1-E.) Agency officials are presumed to act in good faith and no agency official could, in

good faith, allow subordinates to commit a breach of contract. There is thus no plausible

possibility that any USPS contracting officer would issue a final decision that conflicts with the

General Counsel’s letter. The General Counsel’s letter also makes the need for the individual

contracting officer decisions futile and unnecessary. In similar circumstances, courts have

determined that a final decision was effectively made and allowed Plaintiffs to proceed. See

Placeway Constr. Corp. v. United States, 920 F.2d 903, 907 (Fed. Cir. 1990); Alliant

Techsystems, Inc. v. United States, 178 F.3d 1260, 1287-68 (Fed. Cir. 1999); Volmar Constr.,

Inc. v. United States, 32 Fed. Cl. 746, 754-55 (1995).

       Alternatively, if a contracting officer’s decision is still deemed necessary, this Court has

authority under 41 U.S.C. § 7103(f)(4) to order a contracting officer to issue a decision “in a

specified period of time.” There is no requirement that the 60-day period lapse before issuing

       7
         Contracting officers have up to 60 days to address a claim over $100,000. 41 U.S.C.
§ 7103(f)(2). “Failure by a contracting officer to issue a decision on a claim within the required
time period is deemed to be a decision by the contracting officer denying the claim and
authorizes an appeal . . . .” 41 U.S.C. § 7103(f)(5).


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such an order. Since the Postal Service has already made up its mind that it may terminate these

contracts without committing a breach of contract, and that contractors have no viable breach of

contract claims, the Postal Service should be directed to produce such a final decision

immediately, and no later than its initial response to our pleadings.

B.      Plaintiffs Are Entitled to Preliminary Injunctive Relief.

        The Supreme Court’s decision in Winter v. Natural Resources Defense Council, Inc., 555

U.S. 7, 20 (2008), sets forth the four-part test governing a district court’s consideration of a

motion for a temporary or preliminary injunction. Under this test, a plaintiff seeking a temporary

restraining order or preliminary injunction must establish the following: (1) that the plaintiff is

“likely to succeed on the merits”; (2) that the plaintiff is “likely to suffer irreparable harm in the

absence of the preliminary relief”; (3) that the “balance of equities tips in [the plaintiff’s] favor”;

and (4) that the requested injunctive relief “is in the public interest.” Winter, 555 U.S. at 20. See

also Dellew, 108 Fed. Cl. at 369 (setting forth same four-part test in Court of Federal Claims

case involving a bid protest).

        All four factors support the entry of temporary and preliminary injunctive relief in favor

of Plaintiffs.

        1.       Plaintiffs Are Likely to Succeed on the Merits.

        Plaintiffs have a strong likelihood of success on the merits on both counts asserted in the

Complaint: (1) violation of 39 U.S.C. § 5005(c); and (2) breach of the implied duty of good faith

and fair dealing.

                 i.     The Planned Conversion from HCR to In-House PVS Drivers Violates
                        39 U.S.C. § 5005(c).

        The Postal Service’s plan to terminate Plaintiffs’ 110 existing HCR contracts and convert

them to PVS violates the law because it was made without regard to which mode of



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transportation “best serves the public interest, due consideration being given to the cost of the

transportation service under each mode.” 39 U.S.C. § 5005(c).

       Since at least 1975, USPS has documented its § 5005 analysis on a form dedicated to that

purpose—PS Form 5505. (Ex. 1 ¶ 13 and Ex. 1-B.) This form requires USPS to compare a

variety of driver and vehicle costs in performing its review, and it details how the various costs

should be calculated. (Id.) USPS failed to use its own form or otherwise perform a cost

comparison required by 5005(c) before determining to convert the contracts at issue here.

       The Postal Service has essentially conceded that it did not make a new § 5005(c)

determination concerning its planned change in transportation mode. Postal Service

representatives have stated their belief that the Arbitration Award required them to convert HCR

contracts to PVS without regard to § 5005(c) and without performing the analysis the law

requires. (Ex. 1 ¶ 21.)

       Contrary to the Postal Service’s characterization, the Arbitration Award does not mandate

that the Postal Service bypass § 5005(c)’s requirements, nor could the arbitrator have lawfully

issued such an award. Rather, as repeatedly stated by the U.S. District Court in the 2016

proceeding, the Arbitration Award granted the Postal Service “wide latitude in determining how

best to comply with the order,” as well as “flexibility in determining what routes are best suited

to conversion from HCR to PVS routes.” Nat’l Star Route, 223 F. Supp. 3d at 23. The District

Court found the “flexibility” of the Arbitration Award to be “critical,” as it “afford[ed] the Postal

Service an opportunity to examine its route assignments and design the proper combination of

HCR and PVS routes that best serves the public interest.” Id. at 24. Instead of finding that the

Postal Service was barred by the Arbitration Award from conducting the § 5005(c) analysis, the

District Court instead stated that “Arbitration Award rather presumes that the Postal Service will




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comply with the requirements of § 5005 . . . .” Id. See also id. at 24 (“[I]t is presumed, and the

Arbitration Award contemplates, that the Postal Reorganization Act’s § 5005 considerations will

be applied.”); id. at 33-34 (“The Arbitration Award presumes that the Postal Service will conduct

[the § 5005(c)] analysis when deciding which contracts to terminate . . . .”).

       Therefore, according to the District Court, the Postal Service was more than capable of

complying with both § 5005(c) and the Arbitration Award, and it assumed that any decision as

what routes to convert would involve a § 5005(c) analysis:

               [T]he Arbitration Award provides the Postal Service with wide
               latitude to negotiate with the Union, to apply the Postal
               Reorganization Act’s § 5005 public-interest analysis to identify
               which routes are best suited for conversion, to extend the
               timeframe for compliance with the Award, and to come back to the
               arbitrator to revisit the remedy if necessary.

Id. at 29-30 (emphasis added).

       In addition to the District Court’s statements, § 5005(c) was previously tested and

enforced through litigation. In 1975, several years after the Postal Reorganization Act was

enacted, the National Star Route Association brought an action against the Postal Service

challenging its failure to properly apply this same statute. See National Star Route Mail Carriers

Assoc. v. United States Postal Service, No. 75-1894 (N.D. Cal. Dec. 4, 1975) (order attached as

Ex. 1-A). In that case, the court ordered the Postal Service to comply with 39 U.S.C. § 5005(c)

and to take very specific actions to ensure that it did so. After the court entered the order, the

Postal Service abandoned its plan to convert the HCR contracts to PVS. (Ex. 1 ¶ 12; Ex. 1-A.)

       Despite this precedent and the clear and repeated statements from the District Court

regarding the Postal Service’s obligation to comply with § 5005 in deciding which routes to

convert to PVS, the Postal Service has continued to deny this responsibility. Instead, in the

months following the issuance of the District Court’s opinion, there is no indication that the



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Postal Service made any § 5005(c) analysis with regard to any of the 110 contacts it intends to

convert. (Ex. 1 at ¶ 21.)

       Thus, in this action, there is no need to review how much discretion the Postal Service is

afforded in making the § 5005(c) determination, how much “due consideration is required,” or

whether the Postal Service made the correct decision in looking at the various factors. The

Postal Service simply disregarded § 5005(c), without even attempting to give lip service to its

requirements. 8 Therefore, we are presented with a Postal Service plan to take an action that

fundamentally violates 39 U.S.C. § 5005(c). Since the Postal Service has not attempted to

determine which mode of transportation “best serves the public interest, due consideration being

given to the cost of the transportation service under each mode,” its planned action violates §

5005(c).

               ii.     The Postal Service’s Termination of the Contracts in Violation of Law
                       Breaches the Implied Duty of Good Faith and Fair Dealing.

       Every contract contains an implied duty of good faith and fair dealing. See Metcalf

Constr. Co. v. United States, 742 F.3d 984, 990 (Fed. Cir. 2014). Failure to fulfill the duty of

good faith and fair dealing constitutes a breach of contract in the same manner as failure to fulfill

an express contractual duty. Id. “The covenant of good faith and fair dealing . . . imposes

obligations on both contracting parties that include the duty . . . not to act so as to destroy the

reasonable expectations of the other party regarding the fruits of the contract.” Centex Corp. v.

United States, 395 F.3d 1283, 1304 (Fed. Cir. 2005).




       8
          If the Postal Service had attempted to make the § 5005(c) determination, the only
rational result would have been to continue with the HCR mode of service. As noted in
arbitrator’s decision, there is “little likelihood” that USPS would have chosen the PVS mode
because doing so would have cost up to $3 million more per quarter. (Ex. 1-C at 8, 15, 18.)


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       In entering into the HCR contracts, Plaintiffs had a reasonable expectation that USPS

would comply with the law in its performance of its contractual obligations, including all

requirements imposed by § 5005(c). The Postal Service’s determination to terminate Plaintiffs’

contracts and convert them to in-house PVS service without complying with Section § 5005(c)

breaches the Postal Service’s implied duty of good faith and fair dealing to each Plaintiff.

       Despite the Arbitration Award’s mandate that the Postal Service convert 110 HCR

contracts to PVS, there are multiple steps that the Postal Service could have taken to both

comply with the Arbitration Award and comply with § 5005(c) and its contractual obligations to

Plaintiffs to act in good faith. For example, as suggested repeatedly throughout the opinion in

the 2016 Proceeding, in selecting which of the 110 routes it would convert to PVS under the

arbitrator’s order, the Postal Service could have performed § 5005(c) reviews and selected routes

that were more cost effective for the Postal Service to perform in-house. USPS failed to take this

mandatory step that the District Court assumed would be performed.

       The Postal Service’s lack of good faith is further exhibited by the following actions:

               a.      Failing to ask the arbitrator to revise the remedy to avoid any conflict with

                       39 U.S.C. § 5005(c), even though the arbitrator explicitly retained

                       jurisdiction to resolve any matters relating to the remedy;

               b.      Deciding to terminate the selected HCR contracts and convert them to in-

                       house PVS without consulting with each impacted contractor or seeking to

                       elicit information about the route that could inform its decision, while at

                       the same time engaging in frequent consultation with the APWU (a third

                       party) on such matters; and




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               c.      Recruiting Plaintiffs’ employees currently performing work under the

                       contractors’ HCR contract(s) and allowing others to recruit Plaintiff’s

                       employees on postal premises.

In each of these respects, the Postal Service’s breach will destroy Plaintiffs’ reasonable

expectations of the benefits of their contracts. Plaintiffs’ claim for breach of the implied

covenant of good faith and fair dealing is thus also likely to succeed on the merits.

       2.      Plaintiffs Will Suffer Irreparable Harm Without an Injunction.

       Without injunctive relief, the Plaintiffs will suffer irreparable harm. In order to

implement the Arbitration Award, the Postal Service has stated that it is terminating the

Plaintiffs’ HCR contracts. Together, Plaintiffs will lose multiple millions of dollars in annual

revenue. Many of the contracts have terms that extend for several additional years, making the

total loss even greater. 9 And right now, at this moment, the Postal Service and the APWU are

recruiting Plaintiffs’ employees to become PVS drivers, resulting in the loss of Plaintiffs’ drivers

and disruption of Plaintiffs’ operations.

       In addition to the lost revenue and profit, Plaintiffs will be forced to lay off long-time

employees working directly on the HCR contract routes, as well as other employees who are

supporting those operations indirectly. Plaintiffs will be left with idled and under-utilized

equipment, facilities, and personnel. Many Plaintiffs have acquired their equipment and

facilities through leases or bank loans, and these financial obligations will continue even after the




       9
         For example, the contract held by Eipperle does not expire until June 20, 2020. (Ex. 5
¶ 5.) Contract No. 92350, held by MTI, and Contract No. 48010, held by Midwest, are set to run
through June 30, 2019. (Ex. 2 ¶ 23; Ex. 4 ¶ 19.) MTI expects to lose approximately $2,525,000
in revenue through the remaining term of the current contract. ((Ex. 2 ¶ 28.) Midwest expect to
lose approximately $938,000. (Ex. 4 ¶ 25.) The four contracts held by FSR have a total annual
value of $2,777,693.58 and two of them extend into 2019. (Ex. 8 ¶¶ 8, 23, 63.)


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work is gone. As examples of the irreparable harm that will befall the impacted contractors, our

motion is accompanied by declarations from each Plaintiff. Examples of the harm include:

       Mail Transportation, Inc. (“MTI”) derives 90 percent of its business revenue from HCR

Contract 92350, which is set to be converted to PVS. (Ex. 2 ¶¶ 15, 17.) MTI has performed this

HCR route since 1991; PVS has never performed this route. (Id. ¶¶ 22 25.) In the 25 years that

MTI has held this contract, it has never received any complaints relating to its performance. (Id.

¶ 25.) If the contract is converted to PVS, MTI will lose 90% of its revenue and profits and be

forced to lay off all but one full-time and one part-time driver. (Id. ¶¶ 29-30.) In purchasing

equipment and property needed to service the route, MTI obtained financing that coincided with

the four-year term of the contract, and termination of the contract will almost certainly result in

the bankruptcy of MTI. (Id. ¶¶ 32-34.) News of the impending termination of the contract has

already negatively affected MTI’s workforce. (Id. ¶ 37.) One driver has given notice that he is

quitting, and another is planning on attending a group interview session with PVS. (Id. ¶ 40.)

Other MTI employees have been recruited by PVS through flyers and other job postings. (Id.

¶¶ 38-39.)

       Foreman Brothers, Inc. (“Foreman”) has been an HCR contractor for over 60 years, and

90 percent of its revenue is derived from USPS contracts. (Ex. 3 ¶ 3.) Foreman has won

numerous “Eagle Spirit Awards” from USPS for its excellent service, and its HCR contracts

have always been renewed. (Id. ¶¶ 8-9.) Foreman’s HCR contract 48130 is on the list of routes

that will be converted to in-house PVS. (Id. ¶ 6.) If contract 48130 is converted to PVS,

Foreman will be required to significantly downsize its business operations for the first time in its

66-year history. (Id. ¶ 10.) It will lose at least $2.5 million in annual revenue; 20 full-time

drivers who were devoted to the route will be laid off; it will be required sell the 25 trailers and




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12 tractors used to perform the contract at, likely, salvage rates; recently purchased GPS

equipment used to improve the quality of service that is of value only for this route will be of no

use; and other Foreman employees’ time with be under-utilized, since their responsibilities

include the performance of contract 48130. (Id. ¶ 10.) Foreman’s drivers are already hearing

rumors of the lay-offs that will occur if the contract is transferred, and the drivers are reporting

that USPS is posting job listings for the route. (Id. ¶ 13.) As a result, there is a substantial risk

that Foreman’s employees will begin looking elsewhere for employment immediately despite

Foreman’s responsibility to continue to perform the HCR contract requirements. (Id.)

       If HCR Contract 48010, held by Midwest Transport, Inc. (“Midwest”), is terminated and

converted to PVS, Midwest will be forced to lay-off the four full-time and two part-time drivers

assigned to perform the contract. (Ex. 4 ¶ 26.) Three of its semi-truck tractors and 13 of its

semi-truck trailers will be unused or underused. (Id. ¶ 27.) Midwest and its predecessor have

operated this route since 1998, without receiving any complaints from USPS regarding its

performance. (Id. ¶¶ 9, 21.)

       Fifteen months ago, the Postal Service approximately doubled HCR contract 43491, held

by M.C. Eipperle, Inc. (“Eipperle”), requiring Eipperle to expand its operations and lease

additional equipment. (Ex. 5 ¶¶ 7-8.) If that contract is terminated and converted to PVS,

Eipperle would be required to lay-off 25 of its drivers and one of its two mechanics, many of

whom have worked for Eipperle for 25 years or longer. (Id. ¶ 9.) Eipperle would have no use

for the 11 tractors and 14 trailers that it devotes to this route, including the equipment recently

leased, which will be subject to lease-termination penalties. (Id. ¶¶ 8-9.)

       Taylor Postal Contracting, Inc. (“Taylor”) derives 40 percent of its revenue from HCR

contract 48018, which it has operated since 1987. (Ex. 6 ¶¶ 8, 11.) If that contract is terminated,




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Taylor would not be able to perform at least one other Postal Service contract and would be

forced to give its notice of termination of that contract, causing further loss of revenue and

profits. (Id. ¶ 11) Taylor would need to lay-off the 19 drivers assigned to this route, who have

worked for Taylor for an average of almost 10 years. (Id.) PVS drivers have been telling

Taylor’s drivers that they will soon be out of a job and have encouraged Taylor’s drivers to

resign and work for USPS. (Id. ¶ 15.) These statements and the threat of termination are

interfering with Taylor’s present ability to perform its HCR contracts. (Id.)

        Holton Truck Lines, Inc. (“Holton”) owns four HCR contracts that are set for termination

and conversion to PVS. 10 (Ex. 7 ¶¶ 8, 21.) If USPS proceeds with the conversion of these four

routes, Holton will lose around 70 percent of its revenue and will be forced to lay off over half of

its total employees. (Id. ¶ 33.) Equipment purchased specifically for these routes—eight trailers

and seven tractors—cannot be used on any of Holton’s other routes and will need to be sold.

(Id.) After hearing rumors about the planned route conversion from USPS employees, Holton

has already had three employees give notice that they are taking other jobs. (Id. ¶ 31.) Other

employees have been actively recruited by USPS and told that they should apply to USPS so that

they could continue working. (Id.) Because of the uncertainty as to how long it will be

performing these routes, Holton has had a difficult time hiring new drivers to replace those who

have left. (Id.)

        F.S.R. Trucking, Inc., d/b/a Postal Carrier Corp. (“FSR”) holds four HCR contracts that

are subject to termination. (Ex. 8 ¶ 7.) One of these contracts, No. 33042, has been held by FSR

since 1991 and has been renewed approximately six times. (Id. ¶ 9.) FSR has won several

awards and commendations from USPS, including two Eagle Spirit Awards and the Excellence

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          Three of these contracts are held by TNH Enterprises, and one is held by High Miler,
Inc.; both companies are owned and operated by Holton. (Ex. 7 ¶¶ 6, 8, 21.)


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of Service Award. (Id. ¶ 26.) If the four contracts are ultimately terminated, FSR anticipates

that it will be forced to lay-off approximately 40-45 drivers and potentially other accounting,

managerial, and/or human resources staff. (Id. ¶ 71.) FSR will have approximately 20 semi-

truck tractors and 20 semi-truck trailers that will be unused or underused, and it may be forced to

return certain leased equipment early and incur penalties under those leasing contracts. (Id.

¶¶ 73-75.) News of the impending termination has already negatively affected FSR’s workforce

and its ability to retain drivers. The Postal Service is recruiting FSR’s drivers and causing the

drivers to believe that their jobs at FSR are in jeopardy. (Id. ¶ 78.)

       Substantially all of the profits and a third of the revenue of Hokulani Kigyo, LLC, d/b/a

Professional Commercial Services (“Professional”) stem from HCR contract 967L1, which is

scheduled to be converted to PVS. (Ex. 9 ¶¶ 5-6.) Professional will be required to lay-off the

three drivers and one other employee who provide services for the contract, and it will have no

use for the two 45-foot container trailers that it acquired specifically for the purpose of

performing this contract. (Id. ¶ 9.) Postal Service personnel have been communicating with

Professional’s drivers regarding the scheduled termination and conversion, leading to negative

driver morale and causing Professional’s employees a great deal of anxiety over their future job

security. (Id. ¶ 7.) Throughout its time providing service under this contract, Professional has

never missed a trip or load, and the Postal Service has repeated stated that Professional’s work

has been excellent and extremely helpful. (Id. ¶ 4.)

       The two HCR contracts held by Yung Lee, Inc. (“Yung Lee”) represent 100% of Yung

Lee’s business. (Ex. 10 ¶ 2.) One of those contracts is scheduled to be converted to PVS on

December 31, 2017. (Id.) The second contract, HCR 92352, is now also set to be converted in

the absence of the required § 5005(c) procedures. (Id. ¶ 4.) If the Postal Service terminates




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Yung Lee’s second HCR contract, it will eliminate the remaining 50 percent of Yung Lee’s

revenue, and it will be forced to lay off its remaining drivers. (Id. ¶ 9.) In anticipation of

converting the route, USPS talked to Yung Lee’s drivers about working for USPS, and two of his

drivers have already interviewed for PVS positions. (Id. ¶ 10.)

       Without the revenue from HCR contracts 48162 and 48090—both set to be converted to

PVS—Causley Trucking, Inc. (“Causley”) will be forced to close its facility in Detroit. (Ex. 11

¶ 21.) The loss of income for these two contracts would equal $1,909,095.04. (Id. ¶ 6.) The 16

Causley drivers who operate these routes will be laid off, many of whom have worked for

Causley for 14 years or more, and Causley will also be forced to lay off two dispatchers, one

administrative staff employee, and approximately two maintenance technicians. (Id. ¶ 22.) The

equipment used on the two routes set for conversion cannot be transitioned to other uses, as the

tractors used to transport U.S. mail can generally not be used to transport freight. (Id. ¶ 23.)

       W.B. Adams Trucking, Inc. (“WBA”) purchased special equipment in order to perform

HCR contract 194L4, including power lift gates that are necessary to load and unload mail at

certain post offices along the route, and GPS units. (Ex. 12 ¶¶ 30-11.) If the contract is

converted as scheduled, these purchases will be wasted. (Id.) WBA expects to lose

approximately $1.74 million if its HCR contract is terminated early, and it anticipates that it will

be forced to lay-off between eight and eleven drivers and two mechanics. (Id. ¶¶ 26-27.) News

of the impending termination has negatively affected WBA’s workforce and its ability to retain

drivers. (Id. ¶ 34.) One driver has already provided notice of his resignation and intention to

drive for PVS. (Id. ¶ 35.)

       These economic harms and business losses constitute irreparable harm justifying an

injunction because (as admitted and acknowledged by USPS) the contractors would have no




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remedy at law to recover any portion of their losses from the Postal Service. (See Ex. 1-E.)

Courts regularly find plaintiffs to be facing irreparable harm when economic losses are not

recoverable at law. See, e.g., Nalco Co. v. Environmental Protection Agency, 786 F. Supp. 2d

177, 188 (D.D.C. 2011) (finding irreparable harm where action would result in loss of customers

and no right of recourse against the government); Clarke v. Office of Federal Housing Enterprise

Oversight, 355 F. Supp. 2d 56, 65-66 (D.D.C. 2004) (economic losses constitute irreparable

harm when they are likely to be unrecoverable); Hoffman-Laroche, Inc. v. Califano, 453 F. Supp.

900, 903 (D.D.C. 1978) (loss of sales and good will for which there is no right of recourse

constitutes irreparable harm); American Federation of Government Employees, AFL–CIO v.

United States, 104 F. Supp. 2d 58, 76 (D.D.C. 2000) (finding irreparable harm based on

economic injury because plaintiffs would likely be unable to recover damages).

       Moreover, the unilateral decision to transfer the HCR contracts to in-house PVS

employees without the required § 5005(c) analysis left Plaintiffs without any opportunity to bid

for the work, and “[t]he loss of an opportunity to compete for a contract also has been found to

constitute irreparable harm.” Dellew, 108 Fed. Cl. at 379. See also Impresa Construzioni Geom.

Domenico Garufi v. United States, 52 Fed. Cl. 826, 828 (2002) (collecting cases stating same).

       Considering the harm that Plaintiffs will suffer absent injunctive relief, their inability to

otherwise remedy that harm, and their loss of an opportunity to compete for this work, Plaintiffs

have amply satisfied the second preliminary injunction factor.

       3.     The Balance of Harms Tips in Favor of Plaintiffs Because the Postal Service
              Will Not Be Harmed by the Entry of Injunctive Relief.

       In contrast to the irreparable harms that would fall upon Plaintiffs without injunctive

relief, an injunction would cause no harm—irreparable or otherwise—to the Postal Service or to

its PVS drivers. The Arbitration Award found that performing these routes by HCR mode is less



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costly than using PVS drivers. According to the APWU’s own expert economist, using PVS

drivers for the identified routes instead of HCR contractors would cost $1.6 to $3.5 million more

per quarter. (Ex. 1-C at 8, 15.) Another APWU witness admitted that it was more efficient for

USPS to use HCR contractors than PVS employees. (Id. at 15.) Issuing injunctive relief will

actually benefit the Postal Service by preventing the increase in transportation cost that would

result from conversion to PVS.

       Issuance of injunctive relief would also do no harm to any PVS drivers or other postal

employees. The routes are currently performed by HCR drivers, so no PVS drivers or other

postal employees are at risk of losing their jobs from issuance of injunctive relief. While the

Postal Service may have already begun to hire new employees and purchase equipment to take

over these HCR routes, such expenses were incurred in its own folly of taking such action in

disregard of 5005(c). A court will not consider such self-inflicted harms when weighing the

injunctive relief factors. See New York ex rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 661

n.38 (2d Cir. 2015) (“Certainly, courts do not consider the harm a party suffers from being

prevented from violating the law.”). See also Lee v. Christian Coalition of Am., Inc., 160 F.

Supp. 2d 14, 33 (D.D.C. 2001) (stating that harm is not considered when it is self-inflicted); 11A

Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 2948.1 (3d ed.)

(same). In any case, Plaintiffs’ harms dwarf any harms incurred by the Postal Service.

       4.      Injunctive Relief Will Serve the Public Interest.

       Injunctive relief would serve the public interest in the enforcement of federal law. See,

e.g., Patriot, Inc. v. Dep't of Housing & Urban Dev., 963 F. Supp. 1, 6 (D.D.C. 1997) (“[T]he

public interest is best served by having federal agencies comply with the requirements of federal

law . . . .”). Here, there is a longstanding statutory requirement that the Postal Service select the




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mode of transportation that “best serves the public interest, due consideration being given to the

cost of the transportation service under each mode.” 39 U.S.C. § 5005(c). The Postal Service

has made no attempt to comply with mandatory legal requirements, and the public has an interest

in the law being enforced.

       Moreover, the very purpose of § 5005(c) is to require the Postal Service to consider

which mode of transportation “best serves the public interest.” 39 U.S.C. § 5005(c) (emphasis

added). Thus, it is undeniable that enforcement of the law—that requiring the Postal Service to

consider whether HCR or PVS is in the best interest of the public—supports the fourth

preliminary injunction factor.

                                          V.          CONCLUSION

       For the reasons stated herein, Plaintiffs respectfully request that the Court issue a

temporary restraining order and preliminary injunction that prevents the Postal Service from

terminating Plaintiffs’ HCR contracts and converting them to PVS without performing the

analysis required by 39 U.S.C. § 5005(c) and from taking any further action in support of this

effort, including the recruitment of Plaintiffs’ employees.

       DATED this       12th     day of        July    2017.


                                                      Respectfully submitted,


                                                           s/ David P. Hendel
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                                        APPENDIX

Exhibit 1    Declaration of John V. “Skip” Maraney

      Attach. A:    Order directing the Postal Service to comply with 39 U.S.C. § 5005(c),
                    issued December 4, 1975 (National Star Route Mail Carriers Assoc. v.
                    United States Postal Service, No. 75-1894 (N.D. Cal. Dec. 4, 1975).

      Attach. B:    PS Form 5505

      Attach. C:    Arbitration decision and award in matter of United States Postal Service
                    and American Postal Workers Union, AFL-CIO, No. C06C-4Q-C
                    11182451 (Aug. 18, 2016).

      Attach. D:    Star Route Association attorney David Hendel’s letter to USPS General
                    Counsel Thomas Marshall requesting that USPS seek to vacate the
                    arbitration award (Oct. 7, 2016).

      Attach. E:    Postal Service General Counsel Marshall’s letter to Association Attorney
                    Hendel (Nov. 10, 2016).

Exhibit 2    Declaration of Alan Gotta on behalf of Mail Transportation, Inc.

      Attach. A:    Claim for Contract Interpretation sent to Antoine L. Slaughter of USPS
                    from Alan Gotta.

      Attach. B:    USPS Hiring Flyer

      Attach. C:    USPS Job Posting

Exhibit 3    Declaration of Jill Farris on behalf of Foreman Brothers, Inc.

      Attach. 1:    Excepts of HCR Contract 48130

      Attach. 2:    Claim for Contract Interpretation sent to Raphette Alston of USPS from
                    Jill Farris.

Exhibit 4    Declaration of Michael Correll on behalf of Midwest Transport, Inc.

      Attach. A:    Excepts of HCR Contract 48010

      Attach. B:    Photograph of AFL-CIO letter

      Attach. C:    Claim for Contract Interpretation sent to Keith Harris of USPS from Doug
                    Heidorn.




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Exhibit 5    Declaration of Dale Brunt on behalf of M.C. Eipperle, Inc.

      Attach. 1:    Excerpts of HCR Contract 43491

      Attach. 2:    Claim for Contract Interpretation sent to USPS contracting officer by Dale
                    Brunt.

Exhibit 6    Declaration of George Taylor on behalf of Taylor Postal Contracting, Inc.

      Attach. 1:    Excepts of HCR Contract 48018

      Attach. 2:    Claim for Contract Interpretation sent to Jewell Powell of USPS by
                    George Taylor.

Exhibit 7    Declaration of Nola Holton on behalf of Holton Truck Lines, Inc.

      Attach. 1:    Excerpts of HCR Contracts 890L0, 89042, and 89044.

      Attach. 2:    Excerpts of HCR Contract 89036.

      Attach. 3:    Claim for Contract Interpretation sent to Antoine L. Slaughter of USPS by
                    Nola Holton.

Exhibit 8    Declaration of Frederick S. Riceputo on behalf of F.S.R. Trucking, Inc., d/b/a
             Postal Carrier Corp.

      Attach. A:    AFL-CIO letter

      Attach. B:    Claim for Contract Interpretation sent to Keith L. Harris of USPS by
                    Frederick S. Riceputo

Exhibit 9    Declaration of Eugene Nishimura on behalf of Hokulani Kigyo, d/b/a Professional
             Commercial Services

      Attach. 1:    Excerpts of HCR Contract 967L1

      Attach. 2:    Claim for Contract Interpretation sent to Shirley Lowry of USPS by
                    Eugene Nishimura

Exhibit 10   Declaration of Yung Lee on behalf of Yung Lee, Inc.

      Attach. 1:    Email from Paul Horner of USPS to Yung Lee

      Attach. 2:    Excerpts of HCR Contract 92352




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      Attach. 3:    Claim for Contract Interpretation sent to Paul Horner of USPS from Yung
                    Lee

Exhibit 11   Declaration of Greg Causley on behalf of Causley Trucking, Inc.

      Attach. 1:    Excerpts of HCR Contract 48162

      Attach. 2:    Excerpts of HCR Contract 48090

      Attach. 3:    Claim for Contract Interpretation sent to USPS from Greg Causley

Exhibit 12   Declaration of Walter B. Adams on behalf of W.B. Adams Trucking, Inc.

      Attach. A:    Email from Gibsy Benlizar of USPS to Walter B. Adams

Exhibit 13   USPS General Counsel Thomas Marshall’s letter to Star Route Association
             attorney David Hendel (June 20, 2017) (without attachment)

Exhibit 14   USPS Deputy General Counsel Charles F. Kappler’s letter to Star Route
             Association David Hendel (June 23, 2017) (with attachment)




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                EXHIBIT 1
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                                      IN THE
                     UNITED STATES COURT OF FEDERAL CLAIMS
                                  (BID PROTEST)

                                                    )
MAIL TRANSPORTATION, INC., et al.                   )
                                                    )
               Plaintiffs,                          )
                                                    )
       v.                                           )         Case No. ___________________
                                                    )
UNITED STATES,                                      )         Judge______________________
                                                    )
               Defendant.                           )
                                                    )

                     DECLARATION OF JOHN V. “SKIP” MARANEY

       John V. “Skip” Maraney, pursuant to 28 U.S.C. § 1746, states as follows:

       1. I am Executive Director of the National Star Route Mail Contractors Association

(hereinafter the Star Route Association or Association).

       2. The Star Route Association is a non-profit corporation duly organized and existing

under the laws of the State of Delaware with its principal place of business in Washington, DC.

The membership of the Star Route Association is comprised of individuals and small, family-

owned businesses that transport and deliver mail under contracts with the United States Postal

Service. The Association was founded in 1935 and currently has over 3,000 members.

Approximately 85 percent of our members have no other business than transporting mail under

their U.S. Postal Service contracts.

       3. I have served as Executive Director of the Association since December 1969. I have

testified before Congress on behalf of our members on multiple occasions, and I am in regular

contact with our members and with Postal Service officials.
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       Background on mail transportation service

       4. Postal Service contracts for the surface transportation of mail are called Highway

Contract Route (HCR) contracts. HCR contracts are fixed-priced contracts awarded on a

competitive basis, typically for a four-year term, and can be renewed for additional terms upon

mutual agreement.

       5. The Postal Service, and its predecessor agency the Post Office Department, have a

long history of contracting out mail transportation service. My research shows that the first

contract to haul mail was in 1785 when a contractor in Shrewsbury, MA was awarded a contract

by the Continental Congress to transport mail in New England. In 1845, the Post Office

Department solicited competitive bids from stagecoach companies to haul mail. The famed Pony

Express Mail Service was also contracted out.

       6. The long and storied history of contracted out mail transportation service has

continued through today. According to a report by the U.S. Postal Service Office of Inspector

General, as of June 1, 2016 there were over 8,300 HCR contracts with a projected annual cost of

about $3 billion. HCR contracts are the largest single group of contracts in the Postal Service

and are managed by approximately 100 postal employees. Management and Oversight of

Highway Contract Routes, USPS OIG Report No. NL-AR-16-006, at 1 (Sept. 30, 2016).

       7. HCR contracts differ from commercial transportation contracts in several ways. HCR

drivers must go through a comprehensive background screening process and obtain a security

clearance from the U.S. Postal Service Inspection Service. HCR contracts incorporate the

requirements of the Service Contract Act. Thus, HCR drivers must be paid no less than the

prevailing wages and benefits prescribed by the U.S. Department of Labor in regularly updated




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Wage Determinations for their geographic area. HCR contracts also contain detailed

specifications on the type of equipment that must be used.

       8. The Postal Service has its own employees who also perform surface transportation of

mail. This is known as the Postal Vehicle Service (PVS). PVS drivers are unionized and

represented by the American Postal Workers Union (APWU).

       The Postal Service’s HCR v. PVS cost comparison process

       9. When determining whether to use HCR drivers or PVS drivers to provide mail

transportation service, the Postal Service is required use the mode of transportation (HCR or

PVS) that best serves the public interest, due consideration being given to the cost of the

transportation service under each mode. This requirement was included in the Postal

Reorganization Act of 1970 and is set forth in 39 U.S.C. § 5005(c).

       10.        I am personally familiar with the approach that the Postal Service uses to meet the

requirements of 39 U.S.C. § 5005(c), and particularly with the requirement that it give “due

consideration … to the cost of the transportation service under each mode.” Since 1970, when

the Postal Service was created by the Postal Reorganization Act, the Postal Service has complied

with this requirement by conducting cost comparisons between HCR and PVS modes of

transportation.

       11.        I am aware of the Postal Service’s HCR/PVS cost comparison process because I

have had frequent discussions with Postal Service officials over many years concerning the

information used in such cost comparisons. Typically, my discussions with the Postal Service

involve instances where we believe the Postal Service has not included all of the costs associated

with PVS in its cost comparison.




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       12.     I was Executive Director of the Star Route Association in 1975 when the

Association filed suit against the Postal Service in the U.S. District Court for the Northern

District of California for non-compliance with 39 U.S.C. § 5005(c). Ultimately, the Court

ordered the Postal Service to comply with 39 U.S.C. § 5005(c). Specifically, before converting

any HCR contracts to PVS, the Court required the Postal Service to give at least 30 days advance

notice to the contractor, along with the final cost data on the comparative cost of HCR and PVS

service. The Court also ordered the Postal Service to make available for depositions its senior

personnel responsible for the preparation and evaluation of cost data. After the court entered this

Order, the Postal Service abandoned its plan to convert the HCR contracts to PVS. Attachment

A to my declaration is a copy of the December 4, 1975 Order issued by the U.S. District Court

for the Northern District of California in that action.

       13.     The Postal Service developed and uses a special form to perform the cost

comparison between HCR and PVS transportation modes. PS Form 5505, entitled “COST

EVALUATION—POSTAL VEHICLE SERVICE VS CONTRACT SERVICE,” sets out a

variety of driver and vehicle costs that the Postal Service examines when performing the cost

analysis contemplated by Section 5005(c). Attachment B is a version of PS Form 5505 used in

1975 when it was provided as Exhibit 3 to my August 29, 1975 affidavit in the 1975 District

Court action. The back of the form contains a detailed list of instructions on how the individual

figures on the form should be determined.

       14.     The Postal Service continues to use PS Form 5505 when comparing cost between

HCR and PVS modes of transportation.




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       August 18, 2016 arbitration decision and award

       15.     Neither I nor any of our Association members were notified of the arbitration

proceeding that led to the August 18, 2016 decision that led to the current attempted conversion

of HCR routes.

       16.     I first learned of the arbitration proceeding sometime in September 2016, well

after the arbitration decision had been issued. I obtained a copy of that decision, which is

attached as Attachment C to this declaration, from the Internet. The Association was previously

unaware of this proceeding. Neither the Star Route Association nor any of our members were

provided an opportunity to attend, intervene, provide evidence, or otherwise be heard.

       Actions taken after learning of arbitration award

       17.     After learning of the arbitration award, I spoke with various Postal Service

officials in an effort to forestall implementation of the conversion and minimize its impact on

HCR contractors. My efforts have not been successful.

       18.     On October 7, 2016, our Association Attorney sent a letter to the U.S. Postal

Service General Counsel requesting that USPS seek to vacate the arbitration award. The October

7 letter explained that implementing the award would violate 39 U.S.C. § 5005(c) and the

impacted HCR contractors’ Fifth Amendment due process rights. A copy of the Association’s

October 7 letter is attached as Attachment D.

       19.     On November 16, 2016, we received the Postal Service’s response letter, which

was dated November 10, 2016. The Postal Service stated that it would not seek to vacate the

arbitration award and offered no relief to the impacted contractors. The Postal Service stated that

the impacted contractors would not have “viable breach of contract claims” against the Postal

Service. A copy of the Postal Service’s November 10 letter is attached as Attachment E.




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                                   NATIONAL ARBITRATION PANEL




In the Matter of the Arbitration                  )
                                                  )
between                                           )
                                                  )
UNITED STATES POSTAL SERVICE                      )         Case No. Q06C-4Q-C 11182451
                                                  )
                 and                              )
                                                  )
AMERICAN POSTAL WORKERS                           )
UNION, AFL-CIO                                    )
                                                  )




BEFORE: Shyam Das



APPEARANCES:

       For the Postal Service:         Julienne W. Bramesco, Esq.
                                       Redding C. Cates, Esq.

       For the APWU:                   Darryl J. Anderson, Esq.

Place of Hearing:                      Washington, D.C.

Dates of Hearing:                      November 12, 2015
                                       November 13, 2015

Date of Award:                         August 18, 2016

Relevant Contract Provision:           Article 32.2

Contract Year:                         2010-2015

Type of Grievance:                     Contract Interpretation
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                                             2                        Q06C-4Q-C 11182451




                                        Award Summary:
.

                The Postal Service violated the National Agreement by notifying the Union of
HCR contracts after they have been let. The Postal Service is ordered to cease and desist such
violations and to comply with the notice and procedural provisions of Article 32.2.B before it
awards a Highway Contract Renewal (HCR) contract.

              The Postal Service also is ordered to comply with the following remedy:

              (1) Within six months of the date of this Award (unless otherwise
                  agreed), the Postal Service shall convert the 110 (or whatever
                  number there continue to be) disputed routes remaining in
                  service (out of the original 212 cited violations) to PVS service
                  for a four-year period.

              (2) By agreement, the parties may substitute other route(s) to be
                  converted to PVS service pursuant to this order based on
                  particular circumstances.

              (3) I retain jurisdiction to resolve any matters relating to
                  implementation of this remedy.




                                                        Shyam Das, Arbitrator
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                                       BACKGROUND                        Q06C-4Q-C 11182451


               This grievance was filed by the APWU on April 19, 2011, alleging that the Postal
Service had continuously violated the provisions of Article 15 and 32 by notifying the National
Union of Highway Contract Renewal (HCR) contracts after they have been let. The Union cited
212 violations that occurred in 2010. The Union asked for a comprehensive remedy requiring
that the 110 disputed routes remaining in service be converted from HCR routes to PVS routes
for the regular HCR contract period of four years. The Union is also seeking compensation for
the time after the violations when the routes have remained in service as HCR routes.1


               The parties exchanged 15-Day letters on May 31, 2011. At an initial arbitration
hearing on September 4, 2014, the Postal Service requested bifurcation to determine whether
the remedy for violations of Article 32.2 previously had been adjudicated, Case No. Q94V-4Q-C
96044758 (Das 2004), hereinafter referred to as the St. Petersburg Award. On March 16, 2015,
I issued an Interim Award in the present case, which included the following Findings:




1
  The Union requests: (1) that the 110 HCR contracts at issue that are still in existence be
terminated and the work in question assigned to PVS employees for a regular-contract standard
four-year period; (2) that, as compensation for the violation of Article 32.2 by contracting out
under the HCR contracts that are now inactive, the bargaining unit be awarded compensation in
the amount of $61,678,277; (3) that, as compensation for the wrongful contracting out of
bargaining unit work under the 110 active contracts at issue, the bargaining unit be awarded
compensation in the amount of $265,082,961 for fiscal years 2010 through 2015; (4) that, as
compensation for any further delay in assigning this work to PVS employees, the bargaining unit
be awarded compensation in the amount of $10,195,499 (or the appropriate proportion of that
amount if some of the work is assigned to PVS) for each pay period after the Award in this case
in which any of the 110 active HCR contracts has not been terminated and the work has not
been assigned to PVS employees; (5) that the parties be instructed to meet and seek to reach
an agreement on a remedy for all like or related violations of Article 32.2 that have occurred
since the filing of the dispute in this case and that are the subject of a pending dispute between
the parties; (6) that the Postal Service be ordered to cease and desist from failing to comply with
the procedural requirements of Article 32.2; (7) that the Arbitrator retain jurisdiction to resolve
any dispute about the implementation of this remedy award; and (8) that the Arbitrator retain
jurisdiction to resolve any dispute over the validity of the various reasons offered by the Postal
Service for its non-compliance with Article 32.2, including:

     •   That the renewed contracts were emergency contracts
     •   That the renewed contracts were short-term contracts
     •   That the renewed contracts were temporary contracts
     •   That the renewed contracts were being extended to permit compliance with Article
         32.2.
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               In my 2004 St. Petersburg Award, which involved an
     admitted Article 32.2 notice violation involving work in St.
     Petersburg, I rejected the Union's contention that a uniform
     compensatory remedy such as it was seeking was required in all
     such cases. I held that "a determination that one remedy fits all
     Article 32.2 notice violation cases is not warranted." I provided a
     list of factors "an arbitrator conceivably could properly consider in
     fashioning a remedy for a violation of Article 32.2 of the sort at
     issue in this case."3 The statement of my Award was as follows:

         The National Agreement does not mandate the remedy
         sought by the Union for notice violations under Article
         32.2. The issue of remedy in the underlying grievance
         involving HCR 33549 in St. Petersburg is remanded to
         the local level, including regional arbitration if necessary.

     The grievance in that particular case, as in the present case, was
     initiated at Step 4. Article 32.2 notice violation grievances prior to
     the St. Petersburg case, to my knowledge, had been filed and
     grieved locally and -- if they went to arbitration -- were arbitrated at
     the regional level.4 I treated the issue of remedy as one that
     would turn mostly on local facts, which in a case like that -- which
     the Postal Service claimed was an isolated instance of a notice
     violation -- was appropriate. In that case, I did not focus on the
     fact that notice under Article 32.2 and the procedure triggered by
     such notice occurs at the National level, that is, between Postal
     Headquarters and the National Union.

             Res judicata does not apply in this case. In St. Petersburg
     the Union was seeking a uniform remedy for every Article 32.2
     notice violation regardless of other circumstances. I ruled against
     that. Here, the Union asserts the need and right to obtain an

     _______________________
     3
      The Postal Service conceded that the compensatory remedy the
     Union sought in that case could be appropriate in a particular case
     -- meaning a particular individual case -- depending on the
     circumstances.
     4
       The Postal Service more generally maintained in that case that
     National level arbitrators consistently had rejected Union demands
     for blanket remedies, and, instead, remanded grievances from the
     National level to the regional level for resolution.
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     effective remedy at National arbitration for what it alleges is a
     systemic and pervasive failure by the Postal Service at the
     National level to provide the required Article 32.2 notice in literally
     hundreds of cases. The Union alleges that the Postal Service
     knowingly and repeatedly violated Article 32.2 and characterizes
     the Postal Service's action as, in effect, an abrogation of the
     parties' contract. Whatever the merits of the Union's contentions
     or its proposed remedy, this grievance raises different issues than
     the St. Petersburg case. Moreover, the Union's complaint really
     cannot be addressed on a case-by-case basis particularly at the
     regional arbitration level. The St. Petersburg Award rejected the
     notion of one remedy fits all Article 32.2 notice cases. It did not
     address the issue of a comprehensive remedy for the sort of
     National level violation of Article 32.2 alleged by the Union in this
     case.

              The Postal Service further argues that the Union has not
     identified an interpretive issue to be decided in this case, pointing
     out that there is no dispute regarding the language of Article 32.2
     and that the issue of remedy was presented and decided in the St.
     Petersburg Award.

             To be sure, the Union cannot simply consolidate multiple
     separate notice violation claims each of which needs to be
     considered on its own merits with respect to whether there was a
     violation and, if so, what is the appropriate remedy. That would
     not raise an interpretive issue. But if the evidence establishes
     what the Union alleges in this case -- a wholesale abrogation or
     disregard of the notice requirements in Article 32.2 by the Postal
     Service at the National level -- then the issue of whether the
     Postal Service's actions or inactions warrant the sort of
     comprehensive and extraordinary remedy the Union seeks --
     which can only be obtained in National arbitration -- could
     constitute an interpretive issue for purposes of Article 15. See my
     decisions in the September 6, 2002 Interim Award in the St.
     Petersburg case (Case No. Q94V-4Q-C 96044758) and in Case
     Nos. Q06C-4Q-C 10032106/10005587 (2010) and the National
     Awards cited therein.

             The provisions in Article 15.2.Step 1(a) allowing for a class
     action grievance relate to class actions arising in a single office,
     not the situation posited here by the Union. And the Union's ability
     to possibly file an unfair labor practice claim before the NLRB
     does not mean it is foreclosed from seeking a remedy under the
     grievance and arbitration provisions of the National Agreement.
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                      Accordingly, I conclude that National arbitration of this
               grievance is not barred by res judicata and that, as set forth
               above, this grievance may present an interpretive issue properly
               to be decided in National arbitration. That will depend on the
               evidence developed at a hearing on the merits.

                                         INTERIM AWARD

                        The arbitrability or jurisdictional issues raised by the Postal
               Service in opposition to arbitration of the Union's Step 4 grievance
               in this case are resolved on the basis set forth in the final
               paragraph of the above Findings.


               There is no dispute that the Postal Service has nearly always used two types of
services side by side for highway movement of mail: Highway Contract Services, which are
contracted services, and Postal Vehicle Services (PVS) which is made up of APWU MVS craft
employees. Article 32.2.A provides:


                       The American Postal Workers Union, AFL-CIO, and the United
                       States Postal Service recognize the importance of service to the
                       public and cost to the Postal Service in selecting the proper mode
                       for the highway movement of mail. In selecting the means to
                       provide such transportation the Postal Service will give due
                       consideration to public interest, cost, efficiency, availability of
                       equipment, and qualification of employees.


Article 32.2 requires the Postal Service to provide the Union at the National level with notice,
which includes certain information, prior to the installation of HCR service so that the Union can
provide a bid for that work.2 This information, as specified in Article 32.2.C, includes:


               1.      A statement of service including frequency, time of
                       departure and arrival, annual mileage, and proposed
                       effective date of contract.

               2.      Equipment requirements. If not comparable to standard
                       USPS equipment available at that facility, the reasons

2
  Article 32.2.G defines the routes that are subject to Article 32.2. Generally excluded are
routes longer than 350 miles round-trip or more than 8 hours in operating time from terminus to
terminus.
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                      therefore along with the cubic foot justification are to be
                      provided.

               3.     A statement as to whether the proposed contract is a
                      renewal of an existing contract and/or a partial or
                      completely new contract solicitation.

               4.     For contract renewals, the current contractual cost is to be
                      provided along with any specifics, if the terms of the
                      renewal are modified to whatever degree.

               5.     If the new contract solicitation replaces in part or in whole
                      existing Postal Vehicle Service (PVS) service, specifics as
                      to the existing PVS service are to be provided as to the
                      span of operating time, equipment utilization, annual cost,
                      how the PVS employees impacted will otherwise be
                      utilized and the projected United States Postal Service cost
                      for subcontracting the work in question.

               The Agreement also specifies in Article 32.2.B, the time period for the exchange
of information and meetings between the parties:


               This information will be furnished at least sixty (60) days prior to
               the scheduled Installation of the service. Within forty (40) days of
               being furnished such information, the Union may request a
               meeting to discuss specific contract(s). Within forty-five (45) days
               of being furnished such information, the parties will exchange the
               basic cost analyses in order to facilitate discussions. The parties
               will meet on or before the sixtieth (60th) day. At no time will the
               subject highway contract(s) for which a meeting has been
               requested be awarded prior to the actual meeting.

                                             (Emphasis added.)


               The Postal Service acknowledges that it provided late notice -- after the HCR
contracts had been renewed -- during the period covered by this grievance, but stresses that
the parties subsequently engaged in the substantive procedures outlined in Article 32.2.B as
referenced above. The parties held meetings, exchanged documents, and discussed the
relative costs of HCR versus PVS. The parties disagree about whether those meetings truly
afforded the Union the opportunity to make a competitive bid for the contracted services or if
they were merely perfunctory and meaningless since the contracts already had been awarded.
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                                      APWU POSITION


               The Union contends that the Postal Service's use of HCR contractors is
excessive and inefficient. More importantly, the Union has done all it can to get the Postal
Service to comply with Article 32.2 and it argues that it is entitled to an effective remedy now.
The Union presented arguments and testimony which it says show why a prospective remedy is
necessary to correct the contract violations in this case and why the remedy can be provided
without imposing an undue hardship on the Postal Service.


               At the outset, the Union stresses that HCR routes are contracted out bargaining
unit work, and that all 212 contracts at issue in this case had been renewed before the Postal
Service gave Article 32.2 notice to the Union. In every case, the Union provided a cost estimate
for the PVS to perform the service in question and requested an Article 32.2 meeting. No
manager with Surface Transportation Operations (STO) responsibilities participated in the
discussions. Of the 212 routes in the original dispute, 110 are ongoing. The contracts all
began in 2010 and expired in 2014, and the Union received renewal notices on fewer than 50 of
them.


               By way of background, the Union asserts that Article 32.2 procedures were
generally followed until around 2008, but the Union considered the process to be unfair and
regularly voiced its complaints to the Postal Service. As Union witnesses testified, the Union's
major complaints, besides its confirmed belief that non-notifications were widespread, were that
the cost comparisons being done by the Postal Service were incorrect and unfair, and that the
Postal Service paid no attention to the Union's arguments on other factors the Postal Service
had to give due consideration under Article 32.2. In particular, it points to changes in Form
5505 made in 1992, which the Union failed to timely grieve under Article 19. These changes
and the manner in which the Postal Service administered Form 5505 resulted in: (i) double
counting of trucks; (ii) overstatement of PVS management and tort costs and understatement of
HCR administrative costs; and (iii) failure to take into account Postal Service payment of HCR
fuel costs. The Postal Service also ignored information about overlapping runs that could be
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combined to save money, part-time flexible drivers not working full time, full-time drivers on
standby time, and idle trucks that could be used to haul mail then being hauled by HCRs.


               The 212 violations at issue here, the Union maintains, are part of a broader
pattern of violations that began years earlier and continued after this dispute was filed in 2011.
The remedies requested by the Union are based on those 212 violations, but the Postal Service
has not complied with Article 32.2 in any case since 2010, which means there are many more
than 212 cases at issue and there is a need for the remedies sought by the Union.


               The Union asserts that Labor Relations representatives sought to characterize
later violations as efforts to comply with the contract. Many of the violations in this case were
repeated four years later when the contracts in dispute were renewed. In the St. Petersburg
case, the Union was seeking a uniform remedy to be applied in individual cases. Here, the
Union says it is seeking a remedy for the wholesale violation of Article 32.2. The Union also
claims that after St. Petersburg, the Postal Service moved to dismiss article 32.2 arbitrations at
both the regional and the national level. The Postal Service, having established through the St.
Petersburg arbitration that remedies must be sought case by case at the local level, then sought
to cut off Regional Arbitration of cases that originated at the local level, on the ground that the
32.2 notice obligation is owed to the National Union, not to the locals. It was simultaneously
opposing the Union in this case on the ground that is was necessary to seek remedies for the
notice violations at issue by proceeding to Regional Arbitration, and arguing in Regional
Arbitration that Regional Arbitrators have no jurisdiction over such cases because the notice
obligation is owed to the National Union. The Union argues that the Postal Service, by moving
to dismiss this case on the ground that the St. Petersburg Award precluded the Union from
seeking the remedy it seeks here, was trying to force all 212 violations at issue down into a
Regional Arbitration system where they could be defeated, or at least neutralized, one by one.
Moreover, at the Regional level, no effective remedy could be provided for the systemic and
wholesale violations of Article 32.2 that occurred at the National level.


                According to the Union, the Louisville Dynamic Routing Project, paid for by the
Union, shows how the Postal Service can convert HCR Contracts to PVS and save money. The
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Union paid more than $900,000 to Satish Jindel and SJC Consulting, Inc. in an effort to
persuade the Postal Service that, by using the flexibility and cost-saving features of the 2010
National Agreement and by combining PVS and HCR Routes, the Postal Service would find that
using the PVS would be less costly than subcontracting the highway transportation of mail.
Jindel, who was introduced to the Union through his consulting work with the Postal Service,
developed, and SJC Consulting carried out, what the Union now refers to as the Louisville
Dynamic Routing Project. Jindel concluded, as supported by his testimony at arbitration, that by
using route optimization combining PVS and HCR routes, and by using PSEs as permitted
under paragraph 2 of the parties' Motor Vehicle Craft Jobs MOU, substantial savings could be
obtained.


               The Union also insists that converting all 110 remaining HCR Routes in dispute
to PVS would not be costly for the Postal Service. The Union's principal consulting economist,
Kathryn Kobe, compared the cost of the still-operating HCR contacts -- using costs provided to
the Union by the Postal Service under paragraph 2 of the 2010 MOU on Motor Vehicle Craft
Jobs -- with the costs that the Postal Service would incur if it were to use PVS employees to
perform the same work.3 Kobe testified about her calculations for the first and third quarters in
2015. In Quarter 1, 2015, in 41 cases, which represent 41% of the 110 active routes, the
estimated costs for the PVS routes were the same or lower than those for HCR routes. The
total cost by which the PVS estimates exceeded the HCR estimates for all 110 active routes
was $3.5 million. In Quarter 3, 2015, in 57 cases, which represent 52% of the 110 active routes,
the estimated costs for the PVS routes were the same or lower than those for the HCR routes.
The total cost by which the PVS estimates exceeded the HCR estimates for all 110 active
routes was $1.6 million. The Union notes that the cost differential between the PVS and HCR is
small, and the Postal Service data is not as reliable as it should be. The Postal Service could




3
  Under paragraph 2 of the MOU, in addition to agreeing to convert a minimum of 600 HCR
routes to PVS without reference to the relative cost of the two services or any other factor, the
Postal Service agreed to a joint review of approximately 8,000 other existing HCRs to determine
whether the contracts for those routes could be terminated and the routes converted to PVS
routes without increasing Postal Service costs.
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reduce costs further by combining HCR routes with PVS routes -- the Louisville Dynamic
Routing concept -- and be certain that overall costs would be lower than current costs.


               The Union stresses that there is precedent for the remedies it requests in this
case.4 The language of Article 32.2.B is mandatory and unambiguous: "At no time will the
subject highway contract(s) for which a meeting has been requested be awarded prior to the
actual meeting." It asserts that if the language were applied literally, then all 212 routes at issue
in this case were subcontracted in violation of a condition precedent, and those subcontracts
are void, or voidable. The Union references the time limits in other articles of the CBA, but says
that in this case it is not suggesting that every Postal Service failure to provide an Article 32.2
notice 60 days before installation of the service is as fatal as a Union failure to grieve a
discharge within 14 days or a Union failure to file an Article 19 challenge within 90 days. Rather
than arguing, as it did in the St. Petersburg case, that a single standard should be set and
applied to all similar cases, here the Union is asserting that the Postal Service engaged in a
protracted, willful, wholesale violation of Article 32.2. The Union is seeking a remedy sufficiently
effective to compensate for the 212 violations that occurred in the context of what it contends
was the virtual abrogation of Article 32.2 by the Postal Service.


               Although the Union distinguishes this case from the St. Petersburg case, it
discusses the six St. Petersburg factors and how each might be applied to this case.
Additionally, the Union cites as a seventh factor "the nature of the bargaining relationship,"
which was mentioned by Arbitrator Mittenthal in a passage from a 1989 decision (Case Nos.
H1C-NA-C 97 et al.) quoted in the St. Petersburg Award. The first factor is whether the specific
work at issue previously was performed by Postal Service employees or was new work. Here,
the Union argues that this criterion favors their requested remedy. The Postal Service has
acknowledged the interchangeability of PVS and HCR work and under the terms of the 2010
National Agreement, the HCR routes will not cost significantly more when converted to PVS and
may cost less. The second factor is whether the Union was deprived of a meaningful
opportunity to propose alternatives to subcontracting or -- as the Postal Service claimed in the


4
 The monetary remedies requested by the Union were calculated by Kobe based on labor costs
using the contractual bargaining unit wage rates specified in Article 32.2.
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St. Petersburg case -- whether the verifiable difference in costs was so great that there is no
chance that the Union could have persuaded the Postal Service to assign this work to its
employees. The Union explains that the phrase "meaningful opportunity to propose alternatives
to subcontracting" has two components, (1) the opportunity to meet in good faith to propose
alternatives and show why PVS would be a better choice than the pending HCR route, and (2)
the substance of the proposed alternatives. According to the Union, the evidence shows that
the Postal Service knowingly, willfully, and intentionally denied the Union a meaningful
opportunity to make proposals and present evidence under Article 32.2. Additionally, the Postal
Service distorted substantive information made available to the Union by overstating PVS costs
and understating HCR costs. The third factor is whether there are circumstances other than
costs that might have come into play, such as in this case that, at the time the violations at issue
occurred, there was excess PVS capacity. The fourth factor is the nature of the circumstances
which resulted in the failure to provide notice to the Union, and the fifth factor is whether this
was a very rare inadvertent exception -- as the Postal Service claimed in the St. Petersburg
case -- or was just one example of a more widespread failure to provide notice -- as the Union's
witness suggested might have been the case. The Union argues with regard to these two
factors that the Postal Service's widespread violations of Article 32.2 in the present case were
knowing and willful. The sixth factor is the nature of the impact of the subcontracting on the
bargaining unit. The Union contends that had the Article 32.2 meetings been held in good faith,
they might have been productive. The seventh factor is the nature of the bargaining
relationship. The Union stresses that this factor weighs heavily in favor of awarding an effective
remedy for the violations at issue now. The Postal Service has tried to gain Postal Service
compliance with Article 32.2 for years with no results. A direction that the Postal Service merely
start complying with Article 32.2 in the future would be no remedy at all.


               The Union also points to arbitration precedent which it claims supports the
provision of a strong remedy in this case. Arbitrators have broad powers to fashion necessary
and appropriate remedies.5 That authority extends to remedies for violation of contract
provisions that do not expressly make provision for a remedy in the event they are breached.

5
 See: Case No. H4N-NA-C-21 et al. (Mittenthal 1986), citing United Steelworkers of America v.
Enterprise Wheel & Car Corp., 80 S. Ct. 1358, 1361 (1960).
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Additionally, the arbitrator needs creativity and a deep understanding of the parties'
relationship.6 Here, the Postal Service continuously violated the requirements under Article
32.2. There is strong precedent holding that the Postal Service cannot avoid a remedy in this
case by arguing that, even if it had complied with Article 32.2 and given due consideration to all
the factors there, no work would have been awarded to the Union. The Union cites Case No.
Q94V-4Q-C 96044758 (Das 2004) where the following passage from Arbitrator Mittenthal in
Case Nos. H1C-NA-C 97 et al. (1989), was adopted:


               Arbitrators have an extremely large measure of discretion in
               determining how a contract violation should be remedied. They
               can and should consider the nature of the wrong done, the
               damage (or lack thereof) to the employees, the practical impact of
               the remedy sought, the nature of the bargaining relationship, and
               other such matters.

The case here is not one of an isolated and inadvertent event. The Postal Service violated
Article 32.2.B in a wholesale manner and did nothing to correct those violations. It renewed
hundreds of HCR contracts without giving due consideration to the factors it must consider
under Article 32.2 before it awards or renews a contract. Furthermore, the Union points out that
in the AOI subcontracting case, Case No. Q94T-4Q-C 97031616 (Interim Supplemental Award)
(Das 2013), a simplistic "do-over" approach as proposed by the Postal Service was found not to
be appropriate. The Union stresses that in that case I wrote: "I am not persuaded that directing
the parties to reenact the Article 32 [Section 1.B] process more than 15 years after the fact --
with the Postal Service in control of the final outcome -- would be an appropriate remedy in this
case." Instead, the parties were directed to present evidence and arguments taking into
account the discussion of remedy in the St. Petersburg case. Therefore, the Union asserts that
giving the Postal Service a "do over" is not appropriate.


               As several National Arbitrators have recognized, the Union asserts, the
procedures required by Article 32.1.B and Article 32.2.B are an integral part of the "due
consideration" of five factors that is required by Article 32.1.A and Article 32.2.A. The Union


6
 See: Case No. H7C-NA-C 36 et al. (Mittenthal 1994); and Case No. H4C-NA-C 77 et al.
(Mittenthal 1988).
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presents information in the Article 32.2 meeting based on those five factors: "public interest,
cost, efficiency, availability of equipment, and qualification of employees." Thus, the Union
argues that the notice and meeting provisions of Article 32.2.B are part and parcel of the due
consideration requirements of Article 32.2.A. According to the Union, without hearing the facts
and arguments provided by the Union in the Article 32.2 meeting, the Postal Service cannot give
issues relating to subcontracting due consideration. Because the notice must be accompanied
by detailed information, which is then followed by a meeting, much more is at stake than just
notice. The Union contends that the Postal Service is not giving the specified factors due
consideration unless it considers the information and arguments presented by the Union before
it makes its decision to award or renew the contract. The Union stresses that the gravamen of
the requirement in 32.2.B is that "[a]t no time will the subject highway contract(s) for which a
meeting has been requested be awarded prior to the actual meeting."


               The Union insists the Postal Service misstated the issue in this case when it said
it would like it to be: "[w]hat's the appropriate remedy for a procedural violation to Article 32.2.B
when the Postal Service fails to timely notify the Union of HCR renewals." The actual issue, the
Union insists, is about what remedy to apply for 212 documented and undenied violations that
occurred in 2010, when the Postal Service had completely stopped providing timely notices and
meetings under Article 32.2. This case is not a re-play of the St. Petersburg case, but must be
informed by the evidence presented here. Also, more than notice occurs under Article 32.2. B.
The Union reiterates that notice under 32.2.B initiates and underpins the due consideration
requirement of 32.2.A.


               Finally, the Union asserts that the Postal Services arguments are unavailing.
Notice and meeting after the contract is awarded and the work has begun is not compliance
under the contract. Article 32.2 makes it clear that notices, exchanges of information and
meetings are to take place prior to the scheduled installation of service. Notice and meetings
after the contract is awarded plainly is in violation of the contract. The Union stresses that the
Postal Service presented no evidence that the late notices led to meetings and information
exchanges that were the equivalent of timely compliance. The absence of any STO manager at
any meeting makes it clear that no STO manager was giving any serious attention to what the
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Union was saying in the untimely meetings. Restoration of the status quo ante in this case
requires that the contracts awarded without prior compliance with Article 32.2 be rescinded.
The additional remedies requested by the Union are required to provide a meaningful remedy to
the Union in this case. It is not possible, here, literally to restore the status quo ante. Even if it
were feasible to reenact the Article 32.2 process, the reenactment would provide no remedy for
the willful violations of the requirements of Article 32.2 that occurred in this case.


                               POSTAL SERVICE POSITION


               The Postal Service argues that the Unions demand for damages is unjustified
and unsupported. The Postal Service acknowledges its procedural violations, but points out
that those violations did not preclude the Union from actively engaging with management in the
substance of the Article 32.2.B renewal process. There is neither legal nor factual support for
an award that includes massive monetary back pay and a redistribution of work to the Union
moving forward at greater cost to the Postal Service. The Postal Service insists that the Union
should not be awarded a windfall or what would amount to punitive damages.


               The Postal Service stresses that an arbitration remedy must find its essence in
the agreement. Although an arbitrator has broad discretion to construct an appropriate remedy,
there are certain guiding principles established in arbitration precedent that are reflected in
Elkouri and Elkouri, How Arbitration Works 18-16 (7th ed. 2012) (Kenneth May, Ed.). The
purpose of an arbitration remedy is to restore the status quo; that is, to place the parties in no
better or worse position than they would have been in had there been no contract violation.
Damages must be proven with reasonable certainty and should normally correspond to the
specific monetary losses suffered. Speculative damages are to be avoided.


               The Postal Service insists the Union's request that the bargaining unit be
awarded all HCR work and economic damages for years of work performed by HCRs is
groundless. The Union has not shown that "but for" the tardy notice of renewal, the Postal
Service would have removed the work for each and every HCR contract and awarded the work
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to the Union. The Postal Service argues that the Union has not proved this causal connection,
which is necessary in order to be entitled to damages.


               The Postal Service contends that the Union got everything it was entitled to
under Article 32.2.B. The Union was not financially damaged by the tardy notice because the
Postal Service gave it every benefit of the bargain. The Postal Service complied with the other
provisions of Article 32.2 once notice was provided. The Union had the chance to present its
cost comparison information, which the Postal Service says is all that is required under Article
32.2. The Postal Service acknowledges the late notices, but stresses that the evidence shows
a continuous and consistent attempt on the part of the Postal Service to comply with the spirit --
if not the words -- of the contract provision.


               The Postal Service explains that in 2013 it attempted to rectify the contract
violation by awarding certain HCR contracts on a temporary extension basis so that the parties
could have the opportunity to meet and discuss the renewal before a final, more long-term
contract was entered into. The Postal Service stresses that it never refused to meet or respond
to the Unions information requests and it fully participated in the process.7 The process
required by Article 32.2 was completed, the Postal Service stresses, despite the late notice.


               The Postal Service argues that the Union is asking the arbitrator to re-write the
contract. The Union introduced much of its evidence as background in an attempt to use this
grievance as an opportunity to advance its real claim: that the Postal Service allegedly fails to
properly compare HCR and MVS costs for certain routes that the Union contends it can perform
more cheaply. Although there are some limitations on subcontracting, Article 32.2.B does not
change the Postal Services right to subcontract if the proper procedures are followed. The
Union is not seeking a remedy for late notice, the Postal Service insists, but is seeking a remedy
to re-write contract language that it does not like.




7
  The Labor Relations Specialist who met with the Union testified that she served as a liaison
between STO managers and the Union, obtaining and providing information when requested by
the APWU.
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               The Postal Service argues that a cease and desist order is the only appropriate
remedy for the notice violation in this case. The cease and desist remedy has been used in the
past where the Union suffered no quantifiable harm. The Postal Service contends that
precedent shows that arbitrators have not awarded monetary relief for an Article 32
subcontracting violation where the bargaining unit did not suffer any monetary harm. Here, the
HCRs in question were existing contracts, thus no employee was harmed when the work
continued to be performed by HCR. Also, the employees who were engaged in PVS work
continued to do their work without interruption. The HCRs in question were not new contracts --
the work at issue was HCR work -- yet the Union argues that the arbitrator should award them
this work because they can do it more cheaply. However, Article 32.2 only gives the Union the
opportunity to bid for the HCR work, and does not guarantee receiving the work.


               The Postal Service asserts that the Union has not demonstrated that the Postal
Service's tardy notice would have made a substantive difference in the ultimate decision to
continue to subcontract the work. The evidence suggests that the Postal Service would still
have renewed the HCRs. It also points to one of the Union's own witnesses, Satish Jindel, who
suggested that under current working conditions it was more efficient for the Postal Service to
use HCRs than PVS. The issue of whether the HCR or PVS employees can perform a route
more cheaply is not at issue in this case. The time to litigate the proper cost comparison
method is in the actual grievances addressing that issue.


               The Postal Service further argues that the arbitrator should not consider the
Union's expert report on damages to calculate a monetary remedy for two reasons. The Union's
economist, did not establish causation between the alleged harm resulting from the Postal
Services failure to timely notify the Union and the calculation performed. Also, even setting the
issue of causation aside, this report should not be relied upon to support a damage calculation
because Kobe made a series of errors in her calculation methodology. One example is that she
mistakenly used a figure from the Make and Model Report that represented all Postal Vehicles,
instead of the subset of the figure that represented the actual number of trucks used by PVS.
Because of the mistakes she made there is no way that Kobe's report could be considered an
accurate representation of damages.
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               Finally, the Postal Service says that not only was the Union not financially
harmed because of the late notice, but also the Postal Service did not benefit by it. There were
no cost savings, because it continued to pay employees and contractors, and it renewed routes
that were already contracted out. It did not save any time, because it continued to send people
to attend meetings. Moreover, the Postal Service stresses that it did not receive unfair profits by
remaining with its HCR contractors, because those were already existing agreements.


                                          FINDINGS


               Article 32.2.B of the National Agreement provides that the requisite notice
("information") "will be" furnished to the Union at least sixty days prior to the scheduled
installation of highway contract service. This includes HCR renewals. The Union has forty days
in which to request a meeting to discuss a specific contract. The parties then are to exchange
basic cost analyses within forty-five days and meet on or before the sixtieth day since the
notice. In no uncertain terms, Article 32.2.B states:


               At no time will the subject highway contract(s) for which a meeting
               has been requested be awarded prior to the actual meeting.

Timely notice is a necessary prerequisite for the Union to exercise its right to request a meeting
before which the Postal Service is proscribed from awarding a highway contract.


               The Postal Service in this case has not disputed that during 2010 and in
subsequent years it engaged in wholesale and repeated violations of its obligation not to award
an HCR contract before: providing notice, giving the Union the opportunity to request a
meeting, and, if a meeting is requested, exchanging basic cost analyses and meeting with the
Union to discuss the subject contract. The Postal Service has not offered an explanation for
why it failed to comply with Article 32.2.B or to take effective corrective action even after the
filing of this National grievance in 2011.8 Consistent with my March 16, 2015 Interim Award in

8
 The Postal Service claims it did attempt to comply with the spirit -- if not the words -- of Article
32.2.B and it cites the awarding of temporary extension contracts in 2013 to allow additional
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this case, the Union has presented an interpretive issue for purposes of Article 15. A remedy
for this extraordinary notice violation -- involving notice to be given to the Union at the National
level -- is not one that effectively can be dealt with at the local level or through separate
grievances tied to individual HCRs.


                The Postal Service claims that the Union nonetheless got the full benefit of its
bargain with the Postal Service when notices ultimately were provided after the HCR contracts
had been awarded. According to the Postal Service, the Union then had the opportunity --
which it evidently availed itself of -- to request a meeting and the parties then proceeded in
accordance with the procedures in Article 32.2.B. But discussion and review and consideration
by the Postal Service of the factors in Article 32.2.A after a service contract has been let cannot
be presumed to be equivalent to the procedure the National Agreement provides for and,
critically, is not what the parties bargained for.


                A cease and desist order, as the Postal Service proposes, of course, is
warranted. It is proper and necessary, but is not by itself sufficient given the nature of the
Postal Service's violation, including that it was systemic, knowing and not shown to have
resulted from circumstances beyond management's control. At the same time, any additional
remedy must be related to and proportional to the harm -- as best it can be determined -- to the
Union and the bargaining unit.


        This case is about the Postal Service's failure to timely comply with the notice and
discussion provisions and the "At no time..." provision in Article 32.2.B. This case does not
encompass issues relating to the Union's myriad complaints regarding the substance of the cost
analyses and the discussions between the parties and their impact on the Postal Service's
application of the "due consideration" provision in Article 32.2.A. Much of the Union's evidence,
ostensibly presented as background, focused on those other issues. The Union is correct that
the notice requirement in Article 32.2.B initiates the process that leads to exchange of cost
analyses, discussion and ultimate consideration by the Postal Service of the factors in Article

time to follow the procedure mandated by the contract, but it did not establish that it had brought
the process back into compliance. Moreover, as the Union urges, this use of temporary
contracts may not have been authorized by Article 32.2.
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32.2.A, but the import of this evidence was to show that, from the Union's perspective, in most
HCR contract renewal cases -- even where timely notice was provided and Article 32.2.B
procedures adhered to -- the Union effectively was confronted with a stacked deck -- in part
because of its own failure years ago to challenge revisions to Form 5505.


                 The Union cites two decisions by Arbitrator Mittenthal in support of its monetary
remedy claim in this case. The first case, Case No. H4C-NA-C 77 et al. (1988), involved the
Postal Service's widespread and continuing violations of a requirement that 90% of the
workforce be full-time employees. Arbitrator Mittenthal rejected Postal Service arguments
against granting specific relief for those violations in a National level grievance. But his award
provided for back pay to part-time employees who would have been converted to full-time status
if the Postal Service had complied with the contract. These were identifiable employees who
had lost earnings as a result of the Postal Service's violation. The second case, Case No. H7C-
NA-C 36 et al., involved the Postal Service's repeated violation of a 5% cap on the hiring of
casual employees. The work performed by the excess casuals was work that contractually
should have been performed by bargaining unit employees. Although he recognized that there
was only a slim possibility of identifying the injured employees, Arbitrator Mittenthal remanded
the remedy question to the parties for further consideration, concluding that: "Some form of
monetary remedy is plainly justified." In that case, however, not only was the actual harm to the
bargaining unit -- if not identifiable employees -- clear, but, as Arbitrator Mittenthal stressed:


                 It [the Postal Service] had been ordered by an earlier award to
                 'cease and desist' from exceeding the casual ceiling.
                 Notwithstanding this order, it plainly exceeded the casual ceiling in
                 some twenty different accounting periods over five years.

                 The situation in the present case differs in that there is little likelihood, as a
general matter, that even if the Postal Service had provided timely notice and otherwise
followed the procedure mandated by Article 32.2.B the Postal Service would have retrieved the
HCR work at issue for performance by the bargaining unit rather than renewing the contracts.9
The Union's own evidence supports this conclusion. Other changes -- not at issue in this case


9
    The result in some individual cases may be different, but those cases are not before me.
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-- would have been required for the Union to make any substantial inroads. Moreover, in this
case, the Postal Service was not in violation of an existing cease and desist order.10


               In sum, I am not persuaded that granting the Union's requested monetary
remedy is appropriate or justified in this case. As previously indicated, however, the Postal
Service's widespread and repeated disregard for the requirement of timely notice and continuing
violation of the "At no time..." provision in Article 32.2.B requires more than a cease and desist
order. The Postal Service had ample opportunity to correct its ways and has offered no
compelling explanation for not having done so in response to this 2011 grievance.


               Accordingly, in addition to a cease and desist order directing the Postal Service
to comply with the notice and procedural provisions of Article 32.2.B before it awards an HCR
contract, I will grant the following remedy:


               (1) Within six months of the date of this Award (unless otherwise
                    agreed), the Postal Service shall convert the 110 (or whatever
                    number there continue to be) disputed routes remaining in
                    service (out of the original 212 cited violations) to PVS service
                    for a four-year period.11


               (2) By agreement, the parties may substitute other route(s) to be
                    converted to PVS service pursuant to this order based on
                    particular circumstances.


Part of the context I have taken into account in providing this particular remedy is that the Postal
Service's violation of Article 32.2 is not limited to the 212 cited violations that occurred in 2010,
but has been widespread and repeated. Together with the cease and desist order, this is


10Such an order is included in the remedy to be granted in this case, and any future violations
will have to be evaluated for remedy purposes in that context.

11
  I recognize that the Postal Service may be required to idemnify contractors, but that is a risk it
took by awarding contracts in contradiction to Article 32.2.B.
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intended to remedy the harm to the Union and the bargaining unit arising from these violations
and to impress upon the Postal Service its obligation to fully comply with the procedures it
agreed to with the Union.


                                             AWARD


               The Postal Service violated the National Agreement by notifying the Union of
HCR contracts after they have been let. The Postal Service is ordered to cease and desist such
violations and to comply with the notice and procedural provisions of Article 32.2.B before it
awards a Highway Contract Renewal (HCR) contract.


               The Postal Service also is ordered to comply with the following remedy:


               (1) Within six months of the date of this Award (unless otherwise
                   agreed), the Postal Service shall convert the 110 (or whatever
                   number there continue to be) disputed routes remaining in
                   service (out of the original 212 cited violations) to PVS service
                   for a four-year period.


               (2) By agreement, the parties may substitute other route(s) to be
                   converted to PVS service pursuant to this order based on
                   particular circumstances.


               (3) I retain jurisdiction to resolve any matters relating to
                   implementation of this remedy.




                                                         Shyam Das, Arbitrator
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THOMAS J. MARSHALL
GENERAL COUNSEL
AND EXECUTIVE VICE PRESIDENT


' UNITED STATES
 POSTAL SERVICE




 November 10, 2016




 Mr. David P. Hendel
 Attorney
 Husch Blackwell LLP
 750 17th Street, NW, Suite 900
 Washington, DC 20006-4656

 SUBJECT: Vacatur of Highway Contract Route Arbitration Award

 Dear Mr. Hendel:

 This letter is in response to your October 7, 2016 request, on behalf of the National Star Route Mail
 Contractors Association, that the Postal Service seek to vacate Arbitrator Das's August 18, 2016
 arbitration award on public policy grounds, or face legal action for breach of contract. The Postal
 Service has reviewed your request and respectfully disagrees with your analysis.

 The gravamen of your claim is that the arbitration award in question is unlawful because it violates
 public policy set forth in 39 U.S.C. § 5005(c), which requires the Postal Service to give due
 consideration to the public interest, including costs, in determining whether to transport mail using
 internal resources or by contract. Having researched the issues, the Postal Service disagrees that
 there is a viable ground for vacatur on the basis of public policy. The Postal Service is also
 unpersuaded that there are viable breach of contract claims. Moreover, the award doesn't require
 that internal rather than contract labor be used for all time. This is simply a transitional award to
 remedy a purported discrete violation of Article 32.2 of the collective bargaining agreement. On the
 expiration of the four-year period mandated by the award, the regular rules for selecting internal or
 contract labor apply.

 As such, the Postal Service will not seek vacatur of Arbitrator Das's award.

 Please do not hesitate to contact me if you have any further questions or concerns.

 Sincerely,




 475 L'ENFANT PLAZA SW
 WASHINGTON DC 20260-1100
 PHONE: 202-268-5555
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 THOMAS.J.MARSHALL@USPS.GOV
 www.usps.com
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                                     IN THE
                    UNITED STATES COURT OF FEDERAL CLAIMS
                                 (BID PROTEST)

                                                     )
MAIL TRANSPORTATION, INC., et al.,                   )
                                                     )
               Plaintiffs,                           )
                                                     )
       v.                                            )       Case No. ___________________
                                                     )
UNITED STATES,                                       )       Judge ______________________
                                                     )
               Defendant.                            )
                                                     )

                             DECLARATION OF ALAN GOTTA

       I, Alan Gotta, declare, under penalty of perjury pursuant to 28 U.S.C. § 1746, as follows:

       1.      I make this Declaration based on my own personal knowledge and in my capacity

as President of Mail Transportation Inc. (“MTI”).

       2.      As President of MTI, I manage and perform many of MTI’s day-to-day

operations. I am over the age of eighteen and competent to testify about the matters stated herein.

       3.      In 1991, my wife, Robin Gotta, and I began operating MTI. (“MTI”). Robin and I

are the sole owners of MTI and are responsible for oversight of business operations. MTI is our

sole source of income.

       4.      MTI employs ten drivers, nine of which are employed on a full-time basis. MTI is

operated out of my family home in Redlands, California by my wife and me.

       5.      MTI owns ten tractors, twelve trailers, and a fully-stocked mobile service truck,

that is on-call twenty-four hours per day, seven days per week.

       6.      MTI transports U.S. mail by semi-truck for the United States Postal Service

(“USPS”).
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       7.      MTI’s only client is USPS. MTI does not perform any non-USPS business.

       8.      One of MTI’s contracts with USPS (Contract No. 92350) is valued at $1,377,267

annually.

       9.      Contract No. 92350 provides for a four-year term, with the option to renew at the

end of each term.

       10.     MTI has held Contract No. 92350 since 1991. Contract No. 92350 has been

renewed six times since 1991.

       11.     On or about May 15, 2017, I first learned that USPS intended to terminate

Contract No. 92350 and have the route covered by Contract No. 92350 performed by the Postal

Vehicle Service (“PVS”).

       12.     I was told this information by USPS workers at the USPS facility in San

Bernardino, CA. I subsequently confirmed USPS’s intention of terminating Contract No. 92350

through a National Star Route Mail Contractors Association representative. I also contacted

MTI’s Contracting Officer with USPS, Mr. Antoine L. Slaughter, who also confirmed what I had

been told.

       13.     I was never given notice of the arbitration that led to the award issued on August

18, 2016.

       14.     I never participated or presented evidence in that arbitration proceeding, nor was I

ever afforded an opportunity to do so.

       15.     MTI’s Contract No. 92350 was on the list of 110 contracts to be terminated.

       16.     On or about June 29, 2017, I sent a letter to Mr. Slaughter, asserting a claim for an

interpretation of the contract terms of Contract No. 92350 pursuant to the Contract Disputes Act




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and a provision of Contract No. 92350. A true and correct copy of that letter is attached hereto as

Exhibit A.

                                         Contract No. 92350

       17.       Contract No. 92350 accounts for 90% of MTI’s business revenue.

       18.       Contract No. 92350 requires MTI to provide mail transportation services along a

route that begins in San Bernardino, California and ends in Mecca, California.

       19.       There are several stops along this route, including the following cities, all of

which are in California: Palm Springs, North Palm Springs, Cathedral City, Desert Hot Springs,

Thousand Palms, Indio, Coachella, Thermal, Beaumont, Banning, Moreno Valley, and Yucaipa.

       20.       In performing services under Contract No. 92350, MTI drives approximately

585,000 miles annually. MTI performs 16 trips per day on this route and performs services

Monday through Saturday.

       21.       All ten of MTI’s drivers are used to perform Contract No. 92350. MTI drivers

work 23,701 driver hours annually in performing Contract No. 92350.

       22.       PVS has never performed this route.

       23.       Contract No. 92350 was last renewed in 2015 and is currently up for renewal on

June 30, 2019.

       24.       Contract No. 92350 has already been renewed by USPS six times and we had no

reason to believe that it would not be renewed again in 2019.

       25.       MTI was awarded Contract No. 92350 in 1991. In the twenty-six years that MTI

has held Contract No. 92350, it has never received any complaints or grievances from USPS

regarding its performance.




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        26.    Contract No. 92350 has a Termination Notice clause that requires 60-days

advance written notice to terminate without cost to either party.

        27.    If USPS terminates Contract No. 92350, MTI will suffer serious harm.

        28.    MTI will lose approximately $2,525,000 in revenue through the remaining term

of its current contract, as well as the potential for more than $1.3 million in revenue annually

thereafter.

        29.    Ninety percent of MTI’s revenue, and profits, will be lost.

        30.    MTI will also be forced to lay-off the vast majority of its drivers, reducing its

work force to only one full-time driver and one part-time driver, leaving eight employees without

work.

        31.    The vast majority of MTI’s tractor and trailer fleet will go unused, including its

mobile service truck. Some of this equipment have large monthly payments that MTI will be

unable to pay because of the termination of Contract No. 92350.

        32.    MTI takes the term of its USPS contracts into account when purchasing necessary

equipment to service its contracts. For example, certain truck payments are scheduled to coincide

with the end of the current four-year term, in 2019. MTI purchased this equipment, and setup this

payment schedule, in reliance upon Contract No. 92350.

        33.    MTI also owns an approximately two-acre parcel in Redlands, where tractors and

trailers are parked when not in use. MTI purchased this parcel in 2009, at a cost of approximately

$380,000, when USPS stopped permitting MTI to park its tractors and trailers at USPS facilities.

MTI still owes money on this parcel and purchased this parcel in reliance upon its (at that time)

nearly two decade business relationship with USPS under Contract No. 92350.




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       34.     Termination of Contract No. 92350 will almost certainly result in bankruptcy of

MTI and possibly personal bankruptcy for my wife and me, the sole owners of MTI.

       35.     MTI has never had one of its USPS contracts terminated in its history.

       36.     Based on my experience, PVS will not be able to perform Contract No. 92350

better than MTI or at a lower cost. This is due to a number of factors, including:

       a.      I personally perform all repairs for MTI’s fleet, using our mobile service truck.
               This permits MTI to perform repairs at a lower cost and to perform repairs much
               more quickly than by using a third-party service.

       b.      MTI’s drivers are not restricted by the terms of any collective bargaining
               agreement. As a result, MTI drivers are able to perform simple repairs in the field,
               through direction over the telephone. This also results in cost savings. It is my
               understanding that PVS drivers are prohibited from engaging in this kind of work.

       c.      The route under Contract No. 92350 is in one of the hottest parts of the country.
               In certain areas contained in the route, the temperature can rise to 122 degrees
               Fahrenheit. As a result, it is very important to have prepared, adequately trained
               drivers who are experienced in operating diesel trucks in desert climates. It is my
               understanding that PVS has no such drivers.

       d.      MTI’s tractors are California Air Resources Board (“CARB”) Compliant and
               equipped with pre-pass permits, which permit faster, more efficient travel along
               postal routes. Without this equipment, which MTI has purchased and installed on
               its trucks in order to perform Contract No. 92350, deliveries cannot be timely
               made. I understand that USPS does not own trucks with this technology.

       37.     News of the impending termination of Contract No. 92350 has already negatively

affected MTI’s workforce and our ability to retain drivers. Because of the uncertainty of MTI’s

continued viability as an operating business, drivers have expressed fears about not having a job

after September 1, 2017.

       38.     This problem has been compounded by the fact that PVS is now actively

recruiting MTI’s drivers to work for PVS once Contract No. 92350 is terminated. For example,

PVS has been handing out flyers at facilities along the route covered by Contract No. 92350.

A true and correct copy of a flyer given to one of MTI’s drivers is attached hereto as Exhibit B.



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                                                             Exhibit A
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                                                              Exhibit B
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                                                                  Exhibit C
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                EXHIBIT 3
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                                      IN THE
                     UNITED STATES COURT OF FEDERAL CLAIMS
                                  (BID PROTEST)

                                                       )
MAIL TRANSPORTATION, INC., et al,                      )
                                                       )
               Plaintiffs,                             )
                                                       )
       v.                                              )       Case No. ___________________
                                                       )
UNITED STATES,                                         )       Judge______________________
                                                       )
               Defendant.                              )
                                                       )

                              DECLARATION OF JILL FARRIS

       I, Jill Farris, declare pursuant to 28 U.S.C. § 1746 as follows:

        1.     I am the Vice-President and co-owner of Foreman Brothers, Inc. (“Foreman”). I

have been in this position for 35 years. In this capacity, I am familiar with and responsible for

overseeing all aspect of Foreman’s business, including but not limited to finance, operations,

contract matters, and human resources matters. I have personal knowledge of the facts stated

herein, and if called upon to testify I could testify competently to these facts.

       2.      Foreman is a family owned and operated business, initially founded by my father

and his three brothers in 1951.

       3.      Foreman has been an HCR contractor since 1953. These HCR contracts with the

United States Postal Service (“USPS”) represent the majority of our business. 90 percent of our

total revenue is derived from USPS contracts.

       4.      Foreman’s principal facility is located in Detroit, Michigan, with rental property

in Pittsburgh, Pennsylvania and Indianapolis, Indiana. Foreman operates mostly in southern and

southeast Michigan; the majority of Foreman’s business is located in Detroit and the surrounding
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suburban areas, but reaches as far as Lansing and Traverse City, Michigan. Specific locations

include, Detroit GWY and NDC, to which we provide destination services 7 days a week; and

Plymouth, Metroplex, Livonia, Inkster, Garden City, Northville and Lansing. Our drivers make

well over 200 trips daily to these various locations. To the best of my knowledge, these routes

have never been performed by PVS.

       5.      Foreman presently has 110 drivers, 69 tractors, and 105 trailers. Foreman

currently holds 10 HCR contracts.


       6.      Foreman’s HCR contract 48130 will be converted to PVS. This contract is valued

at approximately $2.5 million and represents approximately 18 percent of Foreman’s annual

revenue. 22 of our drivers are dedicated full-time, specifically to performing HCR contract

48130. We also have 1 part-time driver dedicated specifically to performing this HCR contract.

Annually, our HCR contract 48130 dedicated drivers drive approximately 45,500 hours.

       7.      HCR contract 48130 requires a minimum of 17 45-foot trailers that must be

retrofitted or special ordered in order to meet the facility warehouse specifications of the

locations on the contract routes. In order to meet demands for service, Foreman exceeds this

number and maintains 25 trailers for HCR contract 48130 routes. HCR contract 48130 requires a

minimum of 12 tractors; however, Foreman exceeds this number and maintains 15 tractors in

order to meet demands for service. HCR contract 48130 contains a termination clause that

requires the USPS to provide at least 60 days-notice prior to terminating the contract. A true and

correct copy of relevant excerpts of this contract is attached hereto as Exhibit 1.

       8.      Foreman’s HCR contracts have always been renewed by USPS due to Foreman’s

provision of excellent service and its competitive cost.




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       9.       Foreman has received numerous Eagle Spirit Awards from USPS for its excellent

service. A minimum of five years of service is required to establish eligibility for the award.

Nominees and awardees must be cooperative, responsive, flexible to meet the needs of the Postal

Service and customers, and must present a positive public image.

       10.      On or about June 19, 2017, I learned that Foreman’s HCR contract 48130 was set

to be converted to PVS. If this occurs, it will have a significant impact on Foreman’s revenue,

profits, and work force. Foreman will be required to significantly downsize its business

operations, which it has never had to do in its over 66 years of operation.

                a.     Foreman will experience a $2.5 million loss in annual revenue.

                b.     Foreman will be forced to lay-off 20 of its full-time drivers.

                c.     Foreman will be forced to sell its 25 trailers and at least 12 tractors

       dedicated to the contracts. Given current market conditions and the unique trailer

       capacity (45-foot), Foreman cannot expect to receive more than salvage value for these

       trailers and tractors.

                d.     Other personnel, such as Foreman’s dispatcher, will be under-utilized.

                e.     Foreman recently purchased 17 additional GPS units at the specific

       direction of USPS that will be of no use to Foreman’s operations without HCR contract

       48130.

                f.     Foreman has designed its HCR and non-HCR contracts to deliver the most

       effective service to its customers and most efficiently employ its drivers. For example,

       the contracts often share routes to accomplish better service and minimize lay-overs and

       driver overtime and split shifts. Accordingly, the loss of HCR contract 48130 would

       significantly impact the efficiency of Foreman’s operations.




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       11.     Foreman has successfully run the routes related to its HCR contracts for over 60

years. Historically, Foreman’s HCR contracts have been competitively compared with APWU.

But for the PVS conversion, there is no reason to believe Foreman’s HCR contract 48130 would

not be renewed.

       12.     Foreman has never been confronted with the sudden expiration of a non-

emergency contract that would require it to provide notice to its employees of potential lay-offs

and to bid on other business. While Foreman understands that USPS may provide 60 days-notice

of termination under the terms of HCR contract 48130, it did not contemplate or accept that this

risk of termination would result from USPS failing to comply with its statutory authority on how

it must obtain mail transportation.

       13.     Because of the PVS conversion, my drivers are hearing rumors of lay-offs and are

reporting that USPS has posted job listings. I am concerned Foreman’s drivers will leave our

employ despite the continued demand to meet Foreman’s HCR contract requirements.

       14.     Neither I, nor any other Foreman representative was given notice of the

arbitration proceeding with the APWU that resulted in USPS converting HCR contract 48130 to

PVS. Neither I, nor any other Foreman representative was allowed to participate or present

evidence in the arbitration. As noted above, I did not learn of the arbitration or the decision to

convert Foreman’s HCR contract 48130 to PVS, until June 19, 2017.

       15.     On or about June 22, 2017, I sent a claim letter via e-mail to Jewell Powell and

Raphette Alston of USPS requesting clarification of the conversion of service to PVS and

compliance with the requirements of 39 U.S.C. § 5005(c). I received confirmation that USPS

received my claim letter, but have not received a substantive response. A true and correct copy

of this correspondence is attached hereto as Exhibit 2.




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      16.    I do not believe that PVS will be able to perform Foreman’s contract better than

Foreman.

             a.      Foreman has an established relationship with its suburban post office

      locations that allows Foreman drivers to deliver mail even when those facilities are

      closed. Foreman drivers have keys to the Garden City, Northville, Plymouth, Inkster,

      Livonia, and other suburban locations to load and unload mail during off hours. Foreman

      drivers regularly load and unload mail, and perform services traditional USPS drivers are

      not permitted to do. USPS will likely have to employ additional personnel to handle the

      loading and unloading at closed postal facilities.

             b.      It is unlikely that PVS will be able to employ enough drivers to perform

      these services. The Detroit area has a severe driver shortage, which has forced Foreman

      to lease drivers at great expense to itself, despite engaging in extensive advertising to

      recruit additional drivers.

             c.      The routes require special equipment that is costly to obtain. Specifically,

      the equipment necessary for Foreman’s HCR contract 48130 routes is specialized due to

      Detroit area indoor dock requirements. As noted above, Foreman has retrofitted and

      special ordered 45-foot trailers specifically for these routes. These trailers are not

      adaptable to other purposes.

             d.      Foreman’s HCR contract 48130 routes are low mileage and heavy labor.

      As noted above, Foreman has worked to make these routes as efficient as possible by

      integrating them with other contract routes.

             e.      PVS will not be able to perform Foreman’s HCR contract 48130 at a

      lower cost because of the procedures Foreman employs for maintaining efficiency (noted




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                                       IN THE
                      UNITED STATES COURT OF FEDERAL CLAIMS
                                   (BID PROTEST)

                                                       )
MAIL TRANSPORTATION, INC., et al.,                     )
                                                       )
                 Plaintiffs,                           )
                                                       )
          v.                                           )       Case No. ___________________
                                                       )
UNITED STATES,                                         )       Judge ______________________
                                                       )
                 Defendant.                            )
                                                       )

                           DECLARATION OF MICHAEL CORRELL

          I, Michael Correll, declare, under penalty of perjury pursuant to 28 U.S.C. § 1746, as

follows:


          1.     I make this Declaration based on my own personal knowledge and in my capacity

as General Manager of Midwest Transport, Inc.

          2.     I am over the age of eighteen and competent to testify about the matters stated

herein.

          3.     In approximately 2003, Midwest Transport, Inc. purchased substantially all of the

assets of Midwest Transit, Inc., a transportation company that was founded in or about March

1980. Among the assets purchased by Midwest Transport, Inc. were a number of U.S. Mail

transportation service contracts, including Contract No. 48010, which is discussed in greater

detail below.

          4.     In total, Midwest Transport, Inc. or Midwest Transit, Inc. have been continuously

performing mail transportation services as a contractor for the United States Postal Service

(“USPS”) for over thirty-seven years. For purposes of this declaration, the two companies that
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have continuously operated as a USPS contractor for thirty-seven years will be referred to simply

as “Midwest,” unless a relevant distinction is required.

       5.       Midwest employs approximately 568 drivers and owns approximately 512 semi-

truck tractors and 702 semi-truck trailers.

       6.       Midwest transports U.S. mail by semi-truck for the USPS, pursuant to a number

of contracts. These contracts constitute more than 95% of Midwest’s operating revenue.

       7.       One of Midwest’s contracts with USPS (Contract No. 48010) is valued at

$648,912.55 annually.

       8.       Contract No. 48010 provides for a four-year term, with the option to renew at the

end of each term. A true and correct copy of a portion of Contract No. 48010 is attached hereto

as Exhibit A.

       9.       Midwest has held Contract No. 48010 since 1998. I believe that Contract No.

48010 has been renewed approximately four times since 1998.

       10.      On or about June 2, 2017, I first learned that USPS intended to terminate Contract

No. 48010 and have the route covered by Contract No. 48010 performed by the Postal Vehicle

Service (“PVS”).

       11.      I was made aware of USPS’s intention to terminate Contract No. 48010 when one

of our managers notified our office that a driver had indicated that a letter authored by the

American Postal Workers Union, AFL-CIO was posted at a USPS mail facility in Detroit, MI,

indicating that “110 contract routes [are] to be converted” including Contract No. 48010. A true

and correct copy of a photograph of this posting is attached hereto as Exhibit B.

       12.      I subsequently confirmed that Contract No. 48010 was on the list of contracts to

be terminated by USPS through consultation with counsel. Midwest was not otherwise informed




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of USPS’s intent to terminate Contract No. 48010. To date, Midwest has not been directly

contacted by USPS regarding a proposed termination of Contract No. 48010.

         13.     To my knowledge, Midwest was never given notice of the arbitration that led to

the award issued on August 18, 2016. Midwest never participated or presented evidence in that

arbitration proceeding, nor was it ever afforded an opportunity to do so.

         14.     On or about July 6, 2017, Doug Heidorn from our office sent a letter to Midwest’s

contracting officer, Keith Harris, asserting a claim for an interpretation of the contract terms of

Contract No. 48010 pursuant to the Contract Disputes Act and a provision of Contract No.

48010. A true and correct copy of that letter is attached hereto as Exhibit C.

                                        Contract No. 48010

         15.     Contract No. 48010 requires Midwest to provide mail transportation services

between two USPS facilities in the state of Michigan: the USPS Michigan Metroplex Processing

and Distribution Center in Pontiac, MI and the Detroit Network Distribution Center in Allen

Park, MI.

         16.     In performing services under Contract No. 48010, Midwest drives approximately

240,145 miles annually. Midwest performs 24 trips per day on this route. Most service is

performed Monday through Saturday, although there are trips which operate on Sunday.

         17.     Midwest uses four full-time drivers and two part-time drivers to perform Contract

No. 48010. Midwest drivers work 10,783 driver hours annually in performing Contract No.

48010.

         18.     To the best of my knowledge, PVS has never performed this route.

         19.     Contract No. 48010 was last renewed in 2015 and is currently up for renewal on

June 30, 2019.




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       20.     Contract No. 48010 has already been renewed by USPS approximately four times

and we had no reason to believe that it would not be renewed again in 2019.

       21.     Midwest was awarded Contract No. 48010 in 1998. In the nineteen years that

Midwest has held Contract No. 48101, to the best of my knowledge, Midwest has never received

any complaints or grievances from USPS regarding its performance.

       22.     To the contrary, Midwest has been an exemplary contractor, including an on-time

delivery rate of 99.6% between January 1, 2017 and June 16, 2017.

       23.     Midwest also received USPS’s “Eagle Spirit” award in 2005, which, according to

USPS’s website, is awarded “to recognize the outstanding contributions of companies and

individuals who transport mail under contract.”

       24.     Contract No. 48010 has a Termination Notice clause that requires 60-days

advance written notice to terminate without cost to either party.

       25.     If USPS terminates Contract No. 48010, Midwest will lose approximately

$938,000 in revenue through the remaining term of its current contract, as well as the potential

for more than $648,000 in revenue annually thereafter.

       26.     Midwest will also be forced to lay-off all of its drivers (four full-time, two part-

time) assigned to perform the work under Contract No. 48010.

       27.     Midwest will have three semi-truck tractors and thirteen semi-truck trailers that

will be unused or underused if USPS terminates Contract No. 48010.

       28.     Midwest also purchased three global positioning system (“GPS”) devices for its

tractors, at an approximate cost of $1,000 each, in order to perform its obligations under Contract

No. 48010. These devices will go unused if Contract No. 48010 is terminated.




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       29.     Midwest takes the term of its USPS contracts into account when assessing hiring

needs to service its contracts. It is much easier to plan for personnel changes when contracts

expire pursuant to their terms.

       30.     Midwest accepted the risk that operational changes or USPS network changes

concerning the route might result in termination, but we did not contemplate or accept the risk

that termination would result from USPS failing to live up to its union agreements or other USPS

wrongful conduct.

       31.     I do not believe PVS will not be able to perform Contract No. 48010 better than

Midwest or at a lower cost. This is due to a number of factors, including:

       a.      Midwest has nearly twenty years of experience providing exemplary service
               traveling the route covered by Contract No. 48010, while PVS has none.

       b.      Our drivers know, understand and anticipate the needs of the respective facilities,
               while PVS will need to recruit and hire drivers and purchase equipment to service
               Contract No. 48010. It will be very difficult, if not impossible, to achieve 99.6%
               on-time delivery given these hurdles faced by PVS.

       c.      Midwest covers extra trips for USPS around various holidays that PVS will need
               to plan for and may not be able to adequately service.

       32.     News of the impending termination of Contract No. 48010 has already negatively

affected Midwest’s workforce and our ability to retain drivers. For example, the notice attached

hereto as Exhibit B has lead drivers to believe that their jobs are in jeopardy, which undermines

the trust between drivers and management.

       33.     News of the impending termination of Contract No. 48010 has reverberated

throughout our company, leading to false rumors concerning the financial stability and

performance of Midwest under its USPS contracts.

PURSUANT TO 28 U.S.C. § 1746, I VERIFY UNDER PENALTY OF PERJURY THAT THE
STATEMENTS IN THIS DECLARATION ARE TRUE AND CORRECT BASED UPON MY
PERSONAL KNOWLEDGE.



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                                                                   Exhibit A
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                                                                   Exhibit B
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                                                                   Exhibit C
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                                     IN THE
                    UNITED STATES COURT OF FEDERAL CLAIMS
                                 (BID PROTEST)

                                                     )
MAIL TRANSPORTATION, INC., et al,                    )
                                                     )
               Plaintiffs,                           )
                                                     )
       v.                                            )      Case No. ___________________
                                                     )
UNITED STATES,                                       )      Judge ______________________
                                                     )
               Defendant.                            )
                                                     )

                             DECLARATION OF DALE BRUNT

       I, Dale Brunt, declare pursuant to 28 U.S.C. § 1746 and under penalty of perjury that the

following is true and correct:

        1.     I am the Corporate Secretary and one of the owners of Eipperle, Inc. (“Eipperle”).

I have worked for Eipperle since 1967. As Corporate Secretary and owner I am closely involved

with all aspects of the day-to-day operations of the company, including with respect to financial,

employment, operations, and contracting matters.

       2.      Eipperle was founded in 1965. It was initially known as “M.C. Eipperle”, but

changed its name to Eipperle, Inc. when it incorporated in 1971. Eipperle is located in Monroe,

Michigan and its business is concentrated in Southeastern Michigan and Northeastern Ohio.

Eipperle has contracted with the Postal Service to perform what are now known as HCR

contracts since 1965.

       3.      Eipperle has 40 employees, 27 of whom are full-time and 13 of whom are part-

time. Approximately 70% of Eipperle’s revenue comes from its HCR contracts.
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       4.      Approximately one month ago, a Postal Service employee whom I work with

provided me with information that indicated that Eipperle’s largest HCR contract, HCR 43491,

was set to be converted to PVS. HCR 43491 provides approximately 70% of the revenue that

Eipperle derives from its HCR contracts.

       5.      Eipperle has held HCR 43491 since July 1, 1965 when it was awarded to Eipperle

following a competitive procurement. It has been renewed every four years since then. The

most recent contract term is for July 1, 2016 through June 30, 2020. True and correct copies of

excerpts from HCR 43491 are attached as Exhibit 1.

       6.      During the course of its performance of HCR 43491, Eipperle has won the Eagle

Spirit award twice. It is my understanding that to be eligible to be nominated for the Eagle Spirit

award a contactor must have had at least five years of service and must be cooperative,

responsive, flexible to meet the needs of the Postal Service and customers, and present a positive

public image. Eipperle typically maintains an on-time rating of better than 99%.

       7.      The HCR 43491 route begins in Toledo and goes to Detroit, where there are three

major mail facilities. HCR 43491 doubled approximately fifteen months ago, after Toledo

stopped all mail processing at its facility and raw mail needed to be hauled to Detroit for

processing. The annual price of the contract is presently $2,377,861.

       8.      Approximately 25 of Eipperle’s drivers work on HCR 43491; of those 25 drivers,

18 are devoted full-time to just this contract. The performance of HCR 43491 requires 37,716

driver hours annually. Eipperle uses 11 tractors and 14 trailers for the performance of work

under the contract. Eight of those trailers are owned by the Postal Service. After the work under

the contract doubled approximately 15 months ago, Eipperle entered into four-year leases for

three tractors and five trailers in order to accommodate the additional work.




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       9.      The loss of HCR 43491 would have an immediate, negative impact on Eipperle.

Eipperle would lose 70% of its mail revenue, which comprises the majority of Eipperle’s

business. Eipperle would need to lay off 25 drivers and one of its two mechanics, many of

whom have worked for Eipperle for 25 or more years. Eipperle would have no use for the

equipment currently being used for the performance of this work, including the equipment that

Eipperle recently leased.

       10.     The Postal Service has never provided Eipperle with any official notice of its

intent to convert HCR to PVS. I was not aware of the arbitration proceeding between APWU

and the Postal Service that resulted in the Postal Service making the conversion decision, and I

did not have the opportunity to participate or present any evidence as part of that proceeding.

       11.     On June 26, 2017, shortly after I learned about the possibility that HCR 43491

could be converted to PVS, I sent a claim for contract interpretation to the contracting officer for

HCR 43491, seeking an interpretation regarding whether the “Termination with Notice” clause

could be exercised for the purpose of converting the service under the contract to PVS without

comporting with the requirements of 39 U.S.C. § 5005(c). A true and correct copy of the claim

letter is attached hereto as Exhibit 2. I obtained confirmation that the claim letter was delivered

to the contracting officer, but the contracting officer has not provided any response.

       12.     Based on my decades of experience performing HCR 43491, I believe that it is

highly unlikely that PVS could perform the work as efficiently or effectively as Eipperle. On

many of the occasions when HCR 43491 was up for renewal, Eipperle was required to go

through a PVS comparison. On each of these occasions, Eipperle has demonstrated that it could

perform the work more economically and efficiently than PVS. To my knowledge, since these




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                EXHIBIT 6
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                                      IN THE
                     UNITED STATES COURT OF FEDERAL CLAIMS
                                  (BID PROTEST)

                                                      )
MAIL TRANSPORTATION, INC., et al.,                    )
                                                      )
               Plaintiffs,                            )
                                                      )
        v.                                            )       Case No. ___________________
                                                      )
UNITED STATES,                                        )       Judge ______________________
                                                      )
               Defendant.                             )
                                                      )

                             DECLARATION OF GEORGE TAYLOR

        I, George A. Taylor, declare pursuant to 28 U.S.C. § 1746 and under penalty of perjury

that the following is true and correct:

        1.     I am the President and Owner of Taylor Postal Contracting, Inc. (“Taylor”). In

this capacity, I am responsible for overseeing all aspects of Taylor’s business, including but not

limited to finance, operations, contract matters, and employment matters. I have personal

knowledge of the facts stated herein, and if called upon to testify I could testify competently to

these facts.

        2.     Taylor has been engaged in performing mail transportation continuously since its

founding over 86 years ago, and has had no other business besides mail contracts. My father,

George E. Taylor, founded the company in 1931. Initially, the business was called George E.

Taylor Mail Contractor. The company’s first contract involved hauling mail between the

Jackson, Michigan Post Office and the Jackson train depot, a trip of ¼ mile, using a Ford Model

A.
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        3.      I began working for my father’s business as an employee in 1972. In 1978,

George E. Taylor Mail Contractor became a partnership between me and my father and was

renamed Taylor Postal Contracting. In 1986 the business was incorporated and we changed its

name to its current name, Taylor Postal Contracting, Inc. My father retired in the 1980’s, at

which time I became the company’s sole Owner and President.

        4.      Taylor’s principal office is located in Jackson, Michigan. Taylor operates mostly

in southern and southeastern Michigan, mainly in the Detroit and Pontiac area.

        5.      Taylor currently holds seven HCR contracts, two of which were awarded to

Taylor more than fifty years ago. The average length of time that Taylor has held this contracts is

32 years. Subject to periodic fluctuations in the price of fuel, those contracts are collectively

valued at approximately $3.5 million.

        6.      Taylor presently has 41 drivers, the majority of whom are full-time. Taylor has

13 straight trucks, 13 tractors, 15 trailers, and 1 service van.

        7.      I recently learned that the largest and most profitable of Taylor’s HCR contracts,

HCR 48018 is set to be converted to PVS. HCR 48018 operates out of the Michigan Metroplex

located in Pontiac, Michigan (“the Metroplex”). It begins and ends in Pontiac with 17

intermediate destinations. The total annual price for HCR 48018 is approximately $1.5 million,

which constitutes approximately 40% of Taylor’s revenue. A true and complete copy of excerpts

of HCR 48018 is attached hereto as Exhibit 1.

        8.      The Postal Service initially awarded HCR 48018 to Taylor as the result of a

competitive procurement on or about July 1, 1987. This contract serves 18 USPS facilities

within a 30-mile radius of the Metroplex. The contract has been renewed every four years since

then, except the most recent renewal on July 1, 2015 was for a two year term that was




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subsequently extended until June 30, 2019. In 2009 it was combined with HCR 48036 (awarded

in 1978) and HCR 48037 (awarded in 1982). The current plate for Parts A-E requires 474,905

annual miles, nine tractor-trailers, over 30,000 labor hours, and about 71,000 gallons of fuel. Ten

of Taylor’s full-time employees and nine of Taylor’s part-time employees work on this contract.

       9.      During the course of its performance of HCR 48018, Taylor has received a

number of accolades and awards for its outstanding performance as contractor for the Postal

Service. Taylor consistently performs its Postal Service contracts on time; in 2016 its on time

rating was 99.78% on time. Taylor’s best on-time rating was in 2012, at 99.95% on-time;

Taylor’s lowest on-time rating was 99.57% in 1998. In 2014 Taylor made a proposal to the

Postal Service that resulted in the Postal Service saving approximately $165,000 and 5,000

gallons of fuel each year. Taylor provided the Postal Service with a second costs savings

suggestion just this year, which saved the Postal Service approximately $14,000 by combining

two of its contracts.

       10.     Taylor received the Postal Service’s Eagle Spirit award for excellence in

contracting in 1995 and again in 2016. It is my understanding that to be eligible to be nominated

for the Eagle Spirit award a contactor must have had at least five years of service and must be

cooperative, responsive, flexible to meet the needs of the Postal Service and customers, and

present a positive public image.

       11.     HCR 48018 comprises a substantial proportion (40%) of Taylor’s revenue and the

majority of its profits. Thus, the Postal Service’s conversion of HCR 48018 to PVS would have

a dramatic, detrimental impact on Taylor’s business as a whole. Taylor would no longer be able

to afford to perform at least one of its other Postal Service contracts that is only marginally

profitable, and would be forced to give its notice of termination of that contract, causing further




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loss of revenue and profits. Taylor would need to lay off the 19 drivers assigned to work on

HCR 48018, who have worked for Taylor on this contract for an average of 9.7 years. Taylor

would have no use for the equipment that is being used in the performance of HCR 48018. I

would likely have to sell my home and relocate based on the loss of revenue and income that

would result from Taylor’s loss of HCR 48018 and associated consequences.

       12.     I was not provided with any notice of the arbitration proceeding with the APWU

that resulted in USPS deciding to convert HCR contracts to PVS. I had no opportunity to

participate or present evidence in that action. I first found out about the arbitration decision in

late 2016, when the National Star Route Mail Contractors Association pursued legal action in

federal district court. At that time, HCR 48018 was not included on the list of contracts set for

conversion and I did not know that Taylor would be impacted.

         13.   Despite Taylor’s longstanding and positive relationship with the Postal Service,

the Postal Service has not yet provided Taylor with any official communication regarding its

plans to convert HCR 48018 to PVS or afforded Taylor with any opportunity to be heard on this

issue. I first learned of the possibility that HCR 48018 would be converted to PVS by phone

from a Postal Service employee who spoke with me anonymously around May 18, 2017. This

person had overheard a conversation and saw some confirming documents. On May 30, 2017, I

received a text message that included a photograph of a PVS Conversion confirmation letter

between two labor union officials that someone had seen in a Postal Service facility. On May

31, 2017 I emailed Brent Raney, the Executive Director of International Operations for the

Postal Service, to obtain additional information about these rumors. Mr. Raney did not respond,

but on June 6, 2017, a Transportation Specialist, Edwin Cook, contacted me and confirmed that

HCR 48018 was up for conversion to PVS.




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       14.     Shortly after I initially learned of the potential for HCR 48018 to be converted to

PVS, on May 24, 2017, I filed a claim for contract interpretation with the Contracting Officer,

Jewell Powell. A true and correct copy of my May 24, 2017 claim is attached as Exhibit 2.

       15.     Although I have still received no official written notice of the conversion or of the

termination of HCR 48018 from the Postal Service, it appears to me that the Postal Service has

been taking measures to prepare for the conversion, which potentially interfere with Taylor’s

performance of its work under HCR 48018 and under other contracts. For example, PVS drivers

have stated to Taylor’s drivers that they will soon be out of a job, causing them a great deal of

anxiety and stress and trying to increase the likelihood that Taylor’s drivers will resign and look

for alternative employment. Some of the PVS drivers have encouraged Taylor’s employees to

leave Taylor and to come to work for PVS.

       16.     Based on my experience performing HCR 48018, I believe that there are many

reasons why HCR 48018 is not a good candidate for being converted to PVS. In particular, HCR

48018 presents certain scheduling difficulties that make the contract a doubtful candidate for

conversion. There are two Q7 shifts that unavoidably run 9.5 hours each, which would require

nearly 1,000 hours of overtime pay for USPS. There is no way to keep these shifts under eight

hours. Additionally, there are numerous concurrent short-range trips in both the morning and

afternoon dispatches that just cannot be combined with other shifts. This creates four Q7 or K67

shifts that run only two to four hours in length, which we typically cover with part-time and

casual drivers. Postal Service labor contracts may require payment for hours in excess of the

currently scheduled trip time for short trips like these.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.




                                                  5
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                              Case 1:17-cv-00934-VJW Document
                                   HIGHWAY TRANSPORTATION     3 Filed
                                                          CONTRACT  — 07/12/17 Page 139 of 262
                                                                      COST WORKSHEET

 SOLICITATION NO.                DATE OF SOLICITATION           CONTRACT NO.                          BEGIN CONTRACT TERM              END CONTRACT TERM

                                                                48018                                 07/01/2015                       06/30/2019
 FOR MAIL SERVICE                CITY & STATE                                                         CITY & STATE
 IN OR BETWEEN
                                  MICHIGAN METROPLEX P&DC, MI                                         ROCHESTER, MI


    OFFEROR: A completed cost worksheet must be submitted with your offer. This worksheet will assist you in determining the cost you expect to incur in
    performing this service. Please retain a copy of this form for future reference. The instructions for completing this form are listed on the reverse.

 OFFEROR'S NAME AND ADDRESS (Include Apt./Suite No./ZIP+4)                                                      BASIS FOR DETERMINING COST
 TAYLOR POSTAL CONTRACTING INC                                                 Cost Segment                 A                        COST AS OF 06/30/2017
 4440 PENINSULA DR
 JACKSON MI 49201-7803                                                                         Item
                                                                                                                        No. of Units
                                                                                                                         Per Year      X    Unit Cost   =          Annual Cost


                                                                          1a. Vehicle Cost

                                                                               (1) Motor Vehicles
                    NUMBER OF DRIVERS ON ROUTE
             FULL-TIME                              PART-TIME                   (2) Trailers


                                                                          1b. Operational Cost (Repairs,
                                                                              repair labor, tires, etc.)


 Remarks:
                                                                           2. Taxes

                                                                           3. Vehicle Registration

                                                                           4. Miscellaneous

                                                                           5. General Overhead

                                                                           6. Fuel (Miles per gallon)


                                                                           7. Oil (Quarts)


                                                                           8. Insurance


                                                                           9. Road Taxes


                                                                           10. Tolls


                                                                           11. Total Fixed and Operational Cost
                                                                               (Lines 1-10)

                                                                           12. Straight Time


                                                                           13. Overtime


                                                                           14. Payroll Taxes (Itemized)


                                                                                a. Social Security

                                                                                b. Workman's Compensation

                                                                                c. Federal Unemployment Comp.

                                                                                d. State Unemployment Comp.

                                                                           15. Fringe Benefits
                                                                                a. Health & Welfare

                                                                                b. Vacation

                                                                                c. Holiday

                                                                                d. Pension

                                                                           16. Total Operation Labor Cost
                                                                               (Lines 12-15)

                                                                           17. Supplier's Wages (Personal
                                                                                 Driving or Supervision)

                                                                           18. Total Cost (Lines 11, 16 & 17)


                                                                           19. Return on Investment


                                                                           20. TOTAL OFFER (Lines 18 & 19)                                                         1,513,263.40
                                                                          Offeror's Signature                                                               Date



PS Form 7468A
September 2001
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                                       T. P. C., I N C. T
                             TA YLO R PO STA L CO N TR A CTIN G, IN C.
                      4 4 4 0 PE N IN SU LA D R IVE       JA CK SO N , M I 4 9 2 0 1- 7 8 03
                                     : 517- 764- 19 78     : 517- 764- 1851
                                            tp ci nc@ com cas t.n e t
                                                M ay 2 4, 2 0 17




By Em ailand Ce rtifie d M ailIte m No. 7015 0640 0006 5289 69 55 –Re turn Re ce ipt Re q ue ste d


Ms. Jewell Powell, Manager
Local Distribution Transportation
U.S. Postal Service
1200 Mercantile Lane
Largo, MD 20774-5389


Re : Cl
      aim for contract inte rpre tation unde r H CR Contract No. 48018


Dear Ms. Powell:


This is a claim, pursuant to the Contract Disputes Act and the “
                                                               Claims and Disputes”clause of the
above-referenced contract, for an interpretation of contract terms. We seek a contracting officer’
                                                                                                 s
final decision on whether this contract may be properly terminated under the “
                                                                             Termination with
Notice”clause for the purpose of converting the service to Postal Vehicle Service (postal drivers and
equipment). We ask for a contracting officer’
                                            s final decision on this claim as soon as possible.


Back ground


This contract was originally awarded on July 1, 1987, and was renewed for additional four year terms,
for the period of July 1, 1991 through June 30, 2015.


On April 19, 2011, the American Postal Workers Union (APWU) filed a grievance contending that the
Postal Service had not complied with the National Agreement by failing to provide it with notice and
an opportunity for discussions before awarding certain HCR contracts.                 On August 18, 2016, the
arbitrator issued a decision sustaining the grievance. While the arbitrator recognized that there was
“
little likelihood”that any of the HCR work would have gone to Postal Vehicle Service (PVS), the
arbitrator directed the Postal Service to convert as many as 110 existing HCR contracts to PVS within
six months. The arbitrator also retained jurisdiction to resolve any matters relating to implementing
the remedy.
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In December 2016, the National Star Route Mail Contractors Association brought an action in U.S.
District Court seeking to stop the Postal Service from carrying out the arbitration award, contending it
would violate 39 U.S.C. 5005(c).       That statute requires the Postal Service to use the mode of
transportation that “
                    best serves the public interest, due consideration being given to the cost of
transportation service under each mode:”


                   “
                   The Postal Service, in determining whether to obtain transportation
                   of mail by contract under subsection (a)(3) of this section or by
                   Government motor vehicle, shall use the mode of transportation
                   which best serves the public interest, due consideration being given to
                   the cost of the transportation service under each mode.”[39 U.S.C. §
                   5005(c).]


To comply with this statute, the Postal Service must perform a cost comparison between HCR service
and PVS and make a determination as to which mode of transportation best serves the public
interest. The arbitrator’
                        s decision did not mention this statute or this requirement.


While the District Court dismissed the action on jurisdictional grounds, the Court stated that the
arbitration award presumed that the Postal Service “
                                                   would conduct [a § 5005(c)] analysis when
deciding which contracts to terminate pursuant to its rights under the HCR contracts.” National Star
Route Mail Contractor’
                     s Association Inc. v. USPS, Civ. No. 16-2350, December 19, 2016 (D.D.C.), slip
op. at 26. We understand that the Postal Service has not conducted a new cost comparison between
our contract and PVS and does not intend to make a determination as to which transportation mode
best serves the public interest. We also understand that the Postal Service has not raised the issue of
39 U.S.C. § 5005(c) compliance with the arbitrator or sought alternative relief from the arbitrator.


Cl
 aim for contract inte rpre tation


We seek your decision on whether the “
                                     Termination with Notice”clause of the contract may be
exercised for the purpose of converting this service to PVS without comporting with the requirements
of 39 U.S.C. § 5005(c). In other words, may the contract be terminated for the purpose of converting
the service to PVS without the Postal Service first making a cost comparison and determining which
mode of transportation best serves the public interest?         We understand that the Postal Service
intends to terminate this contract to comply with the arbitration award and that it therefore does not
intend to perform a cost comparison and determine which mode of transportation best serves the
public interest.


Every contract contains an implied duty of good faith and fair dealing. See Metcalf Constr. Co. v.
United States, 742 F.3d 984, 990 (Fed. Cir. 2014). Failure to fulfill the duty of good faith and fair
dealing constitutes a breach of contract in the same manner as failure to fulfill an express contractual
duty. Under 5005(c), in determining which mode of transportation to use, the Postal Service must
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give due consideration to cost (commonly known as a cost comparison) and determine which mode
of transportation best serves the public interest. We understand that the Postal Service has neither
conducted a cost comparison nor determined which mode of transportation best serves the public
interest, but intends to convert this convert to PVS to carry out the arbitration decision. We believe
terminating this contract for the purpose of converting it to PVS without performing a 5005(c)
analysis would violate the duty of good faith and fair dealing and constitute a breach of contract.


While we understand the Postal Service’
                                      s desire to comply with the arbitration award, the arbitrator
may not direct the Postal Service to take an action that violates the law.   Converting our contract to
PVS without first performing a § 5005(c) analysis violates that law, and thus that action may not be
taken, regardless of the rationale. Doing so would violate the duty of good faith and fair dealing.
We also understand that the Postal Service did not raise this issue with the arbitrator or seek an
alternative remedy that would not violate § 5005(c). Failure to raise this issue with the arbitrator and
seek an alternative remedy that does not violate § 5005(c) is a separate and additional breach of the
duty of good faith and fair dealing.


This claim does not seek monetary damages. Rather, we seek an interpretation of the contract as to
whether it may be terminated for the purpose of converting the service to PVS without first
performing a 5005(c) analysis or seeking an alternative remedy.


Thank you for your attention to this matter. A contracting officer’
                                                                  s final decision is sought as soon as
possible and no later than 60 days or before any action is taken to terminate the contract.


Sincerely,




George A. Taylor,
President
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                EXHIBIT 7
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                                     IN THE
                    UNITED STATES COURT OF FEDERAL CLAIMS
                                 (BID PROTEST)

                                                      )
MAIL TRANSPORTATION, INC., et al.,                    )
                                                      )
               Plaintiffs,                            )
                                                      )
       v.                                             )        Case No. ___________________
                                                      )
UNITED STATES,                                        )        Judge______________________
                                                      )
               Defendant.                             )
                                                      )

                             DECLARATION OF NOLA HOLTON

       I, Nola Holton, declare pursuant to 28 U.S.C. § 1746 as follows:

1. I am the Secretary-Treasurer of Holton Truck Lines, Inc., which is a Nevada corporation with

   its principle place of business located at 86 US Highway 93 in Alamo, NV 89001.

2. My husband, Anthony Holton, and I have been in the transportation and trucking business

   since November 1985.

3. 100 percent of our business is USPS Highway Transportation and CDS Routes.                   We

   currently have 11 HCR Contracts with USPS. All contracts and businesses are operated and

   managed by Holton Truck Lines, Inc. All equipment is owned and insured under Holton

   Truck Lines, Inc. and all employees are paid by Holton Truck Lines, Inc.

4. Holton Truck Lines, Inc. has 6 tractors, 21 straight trucks, 8 48-foot trailers, and 6 light duty

   vehicles currently in service. Holton Truck Lines, Inc. recently purchased 2 additional

   tractors and 2 light duty vehicles for use on the routes.

5. Holton Truck Lines, Inc. has 21 employees.
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6. We operate two trucking companies – TNH Enterprises and High Miler, Inc. – under the

   umbrella of Holton Truck Lines, Inc.

7. TNH Enterprises (“TNH”) is a Nevada corporation with its principle place of business

   located at 86 US Highway 93 in Alamo, NV 89001. Holton Truck Lines, Inc. acquired TNH

   in July 1987.

8. TNH has three HCR contracts that are being converted to PVS: 890L0, 89042, and 89044.

   These contracts contain a termination clause that requires the USPS to provide at least 60

   days-notice prior to terminating the contract. A true and correct copy of relevant excerpts of

   these contracts are attached hereto as Exhibit 1.

9. The route for HCR contract 890L0 is Las Vegas P&DC to Valle Verde, NV. This route

   consists of three parts, which provides service to the following facilities: Valle Verde Post

   Office, 7 Hills Post Office, and Amazon, Bed Bath and Beyond.

10. It takes 5 full time drivers and 1 part-time driver to perform this contract because of the way

   these routes are scheduled, and also to avoid violation of Department of Transportation

   Hours of Service. There are frequent time changes on the Amazon part of this route to

   accommodate the large volume of packages in and out of that facility. As a result, it makes it

   almost impossible to put a substitute driver on this route without doing several days of

   training for which we are not reimbursed.        An additional stop at North Las Vegas Post

   Office has been added and being paid on an extra trip ticket. A request to do a route survey

   on this part of the route to realign the stops and times has been ignored.

11. HCR contract 890L0 requires 3 tractors (plus a back up vehicle) and 4 trailers to

   accommodate the schedule. A tractor trailer used to service the Valle Verde Post Office is

   left at the dock after each shift for the convenience of USPS.




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12. The current contract term for HCR contract 890L0 is from August 1, 2014 through June 30,

   2018; however, it was initiated October 1, 1997 when the Valle Verde Post Office opened as

   part of the route for HCR contract 89042. On August 1, 2006, HCR contract 890L0 was split

   from HCR contract 89042 when the 7-Hills Post Office was added to the route. The Amazon

   part of this contract was run on extra trip tickets for quite a while before a service change was

   implemented and added to the contract. This contact has been renewed 6 times, with some

   extensions at the convenience of USPS.

13. The value of HCR contract 890L0 is $344,228.25 annually and is for 7,074 hours.

14. HCR contract 89044 operates the route from Las Vegas P&DC to Boulder City, NV. This

   route services the Boulder City Post Office with three round trips in the morning and one

   round trip in the afternoon.       This also includes stops at St. Judes and one additional

   collection box.   It takes 1 full time driver and 1 part time driver. Equipment used on this

   route includes 2 straight trucks with 24-foot boxes and lift-gates.

15. The current term of HCR contract 89044 is from August 1, 2014 to June 30, 2018; however,

   TNH has been operating the route since July 1, 1987. It has been renewed 6 times with some

   extensions at the convenience of USPS.

16. The value of HCR contract 89044 is $137,032.35 annually. This contract includes 3,016

   hours. 2,171 hours are employee paid, and an additional 844 hours are supplier provided

   (that is, provided by the HCR contractor) at a reduced rate.

17. HCR contract 89042 operates the route from Las Vegas P&DC to the Henderson, NV Post

   Office, with additional service to the Valle Verde Post Office on Holidays. This route

   requires 1 tractor-trailer (plus 1 back up tractor and trailer). This tractor-trailer is left at the




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   dock after each shift for the convenience of USPS. It takes 2 full time drivers and 1 part time

   driver to provide these services.

18. The current contract term is from August 1, 2014 to June 30, 2016; however, the route has

   been operated by TNH since July 1992 and has been renewed 6 times.

19. The value of HCR contract 89042 is $160,287.97 annually and the hours are 3,233.

20. An issue exists with this route in that the line of travel for this route was changed in October

   of 2008 when the I-215 opened. The change in mileage added almost 5,000 miles annually,

   but the service change did not include any additional mileage. I have addressed this issue

   with two USPS contracting officers who refused to address the issue because the original

   paperwork could not be located.      The mileage was finally changed in 2015, after another

   route survey was done. The original paperwork was emailed to me in August of 2016,

   however my request for back compensation was ignored. We have traveled, approximately

   35,000 additional miles and used approximately 5,000 additional gallons of fuel for which

   we have not received compensation.

21. High Miler, Inc. (“High Miler”) is a Nevada corporation with its principle place of business

   located at 86 US Highway 93 in Alamo, NV 89001. Holton Truck Lines, Inc. acquired High

   Miler in July 1999. It has one HCR contract that is being converted to PVS: 89036. This

   contract contains a termination clause that requires the USPS to provide at least 60 days-

   notice prior to terminating the contract. A true and correct copy of relevant excerpts of this

   contract is attached hereto as Exhibit 2.

22. High Miler’s HCR contract 89036 operates the route for Las Vegas P&DC to North Las

   Vegas post office with service to Nellis Air Force Base. This route requires 1 straight truck

   (plus 1 back up truck). It requires 2 full time drivers and 1 part time driver.           When




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   delivering to the North Las Vegas Post Office the driver must have the combination to

   unlock the yard gate and a key to unlock the vestibule door and secure the mail cages inside.

   Also, while delivering mail to Nellis Air Force Base, the driver must pass through a security

   gate, which at times causes significant delays.

23. The current contract term for HCR contract 89036 is from August 1, 2014 through June 30,

   2018; however, High Miler has been operating the contract since July 1, 1999. It has been

   renewed 6 times, with some extensions for the convenience of USPS.

24. The value of HCR contract 89036 is $175,148.63 annually. The contract calls for 4,113

   hours. 1,766 are employee paid hours; however, 2,347 additional hours are supplier provided

   at a reduced rate.

25. None of the afore mentioned routes have ever been performed by PVS even though an

   unsuccessful attempt to convert Route 89036 was made in 1999.

26. It will be difficult for USPS to perform these routes because the HCR contracts to be

   converted operate 6 days a week (Monday through Saturday), all holidays accept

   Thanksgiving, Christmas and New Years and occasionally operate on Sunday (at the request

   of USPS). Our contract schedules are amended each year, which add additional hours for the

   peak season that usually starts the last weekend in November and extends through December

   24th. All drivers are required to load and unload their own vehicles at the facilities they

   service without assistance from postal employees. This is challenging in light of the fact that

   USPS has cut loading times down to as little as 10 minutes to load a 48 foot trailer.

   Contractors can perform these contracts more efficiently and at a lower cost to the Postal

   Service because our companies are not bound by the restraints of the postal workers’ union.

   Frequent changes in the needs of USPS customers require changes in schedules and number




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   of trips.   This will likely require USPS to modify the specifications of each route to

   accommodate the union guidelines.

27. The number of extra trips performed for each of these contracts each month are significant.

28. We provide good service to USPS and have accommodated numerous schedule changes and

   extra service requests and believe that, but for the conversion, we would continue to service

   the aforementioned routes.

29. Neither I, nor any other TNH Enterprises or High Miler, Inc. representative was given notice

   of the arbitration proceeding with the APWU that resulted in USPS converting the

   aforementioned HCR contracts to PVS. Neither I, nor any other TNH Enterprise nor High

   Miler representative was allowed to participate or present evidence in the arbitration.

30. TNH Enterprises and High Miler, Inc. was first notified of the conversion of the

   aforementioned HCR contracts by email on June 9 and June 12, 2017. This email was

   received from Paul Horner, a USPS Purchasing Analyst from Memphis, TN.

31. There were rumors about the conversion several weeks before we received the email

   notifications. Our drivers were approached by postal employees on the dock of the Las

   Vegas P&DC telling them that they would be losing their jobs because USPS was taking

   over contract routes and they needed to apply with the post office so they could continue

   working. As a result, 2 of our drivers were recently recruited by USPS because of the HCR

   to PVS conversion and 3 others have given notice and are taking other jobs. We do not have

   enough back up drivers for our routes and the HCR to PVS conversion has made it difficult

   for us to hire drivers knowing it would only be for a short time.




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32. I have heard that USPS wants to convert the aforementioned HCR contract routes to PVS by

   September 1, 2017. Typically, we know whether or not we are renewing a particular contract

   one year before it expires and can plan. Such has not been the case here.

33. If USPS proceeds with the conversion of the aforementioned HCR contracts, we will lose

   about 70% of our revenue and will be forced to lay off over half of our total employees. This

   is because the routes USPS seeks to convert are our largest HCR contracts. As noted above,

   we have already lost 2 drivers to USPS due to the conversion and 3 others have given notice.

   We expect to lose 8 more through layoffs if the conversions proceed. Some of our drivers

   have been with us for over 10 years. We also have equipment – tractors and trailers that were

   purchased specifically for the converted routes – that cannot be used on any of our smaller

   routes. We will have to sell 8 trailers and 7 tractors.

34. After 30 years of onsite parking at the Las Vegas P & DC, we were told we had to remove all

   contract vehicles from postal premises and secure parking off site.    This occurred August

   2016, which coincidentally is the same time the arbitration ruling came down. As a result,

   we had to lease property close to the post office to park our vehicles. This has added

   additional employee hours and miles to our contracts. Our request for compensation has

   been ignored. If the USPS proceeds with the conversion, we will have to continue paying for

   parking after the need has passed. We also have registration and insurance costs that are

   renewable just before the conversion date and are non-refundable.

35. On or about July 6, 2017, I sent a claim letter via certified mail to USPS requesting

   clarification of the conversion of service to PVS and compliance with the requirements of 39




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                EXHIBIT 8
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                                     IN THE
                    UNITED STATES COURT OF FEDERAL CLAIMS
                                 (BID PROTEST)

                                                     )
MAIL TRANSPORTATION, INC., et al.,                   )
                                                     )
               Plaintiffs,                           )
                                                     )
       v.                                            )       Case No. ___________________
                                                     )
UNITED STATES,                                       )       Judge ______________________
                                                     )
               Defendant.                            )
                                                     )

                      DECLARATION OF FREDERICK S. RICEPUTO

       I, Frederick S. Riceputo, declare, under penalty of perjury pursuant to 28 U.S.C. § 1746,

as follows:


       1.      I make this Declaration based on my own personal knowledge and in my capacity

as President and owner of F.S.R. Trucking, Inc., d/b/a Postal Carrier Corp. (“FSR”).

       2.      I founded the company that would ultimately become FSR in 1977. I have also

been President and owner since that time.

       3.      As President of FSR, I oversee business operations. I am over the age of eighteen

and competent to testify about the matters stated herein.

       4.      FSR employs approximately 200 drivers and owns or leases approximately 148

semi-truck tractors and 159 semi-truck trailers. It also owns three box trucks.

       5.      FSR transports U.S. mail by semi-truck for the United States Postal Services

(“USPS”), pursuant to a number of contracts. These contracts constitute approximately 90% of

FSR’s operating revenue.
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       6.       FSR’s predecessor was awarded its first mail transportation contract with USPS

on or about May 16, 1977.

       7.       FSR has four contracts (hereafter referred to collectively as the “Affected

Contracts”) that have been targeted by USPS for termination and conversion to have the routes

covered by the Postal Vehicle Service (“PVS”). The Affected Contracts include:

                a.     Contract No. 33042

                b.     Contract No. 33430

                c.     Contract No. 33443

                d.     Contract No. 331N3

       8.       The current total value of the Affected Contracts, on an annual basis, is

$2,777,693.58, broken down as follows:

                a.     Contract No. 33042: $255,813.68 annually;

                b.     Contract No. 33430: $317,831.16 annually;

                c.     Contract No. 33443: $598,482.20 annually; and

                d.     Contract No. 331N3: $1,605,566.54 annually.

       9.       FSR has held Contract No. 33042 since 1991. It is my understanding that Contract

No. 33042 has been renewed approximately six times since 1991.

       10.      FSR has held Contract No. 33430 since 2014.

       11.      FSR has held Contract No. 33443 since before 2002. However, our internal

records for this contract only go back to 2002, when a renewal was entered into between USPS

and FSR. It is my understanding that Contract No. 33443 has been renewed three times since the

2002 renewal.




                                                 2
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       12.     FSR has held Contract No. 331N3 since 2013. This Contract has been renewed, as

modified, one time.

       13.     In early June 2017, FSR first learned that USPS intended to terminate the

Affected Contracts and have the routes covered by the Affected Contracts performed by PVS.

       14.     FSR was made aware of USPS’s intention to terminate the Affected Contracts

when a mail handler working the dock at USPS’s West Palm Beach facility showed one of our

supervisors a letter that was sent to an American Postal Workers Union member, indicating that

“110 contract routes [are] to be converted” including Contract Nos. 33430, 33443, and 331N3. A

true and correct copy of that letter is attached hereto as Exhibit A.

       15.     I subsequently confirmed that Contract No. 33042 was also on the list of contracts

to be terminated by USPS through consultation with counsel. FSR was not otherwise informed of

USPS’s intent to terminate the Affected Contracts. To date, FSR has not been directly contacted

by USPS regarding a proposed termination of any of the Affected Contracts.

       16.     I was never given notice of the arbitration that led to the award issued on August

18, 2016. I did not learn of the existence of the arbitration until after an award had been issued.

FSR never participated or presented evidence in that arbitration proceeding, nor was it ever

afforded an opportunity to do so.

       17.     On or about July 3, 2017, I sent a letter to FSR’s contracting officer, Keith L.

Harris, asserting a claim for an interpretation of the contract terms of each of the Affected

Contracts pursuant to the Contract Disputes Act and certain Affected Contract provisions. A true

and correct copy of that letter is attached hereto as Exhibit B.




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                                        Contract No. 33042

       18.       Contract No. 33042 requires FSR to provide mail transportation services between

three USPS facilities in the state of Florida: the Miami Processing and Distribution Center in

Miami, FL, the Royal Palm Processing and Distribution Center in Opa Locka, FL, and a facility

in West Hollywood, FL.

       19.       In performing services under Contract No. 33042, FSR drives approximately

83,041 miles annually. FSR typically performs 10 trips per day on this route and performs

services Monday through Saturday.

       20.       FSR uses one full-time driver and one part-time driver to perform Contract No.

33042. FSR drivers work 5,536 driver hours annually in performing Contract No. 33042.

       21.       FSR uses one semi-truck tractor and one semi-truck trailer to perform Contract

No. 33042.

       22.       To the best of my knowledge, PVS has never performed this route.

       23.       Contract No. 33042 was last renewed in 2015 and is currently up for renewal on

June 30, 2019.

       24.       Contract No. 33042 has already been renewed by USPS approximately six times

and we had no reason to believe that it would not be renewed again in 2019.

       25.       FSR was awarded Contract No. 33042 in 1991 through a competitive bid process.

In the twenty-six years that FSR has held Contract No. 33042, to the best of my knowledge, FSR

has never received any complaints or grievances from USPS regarding its performance.

       26.       To the contrary, FSR has been an exemplary contractor, including being the

recipient of several USPS awards and commendations. These awards and commendations

include:




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       a.      On or about August 1, 2016, FSR was awarded USPS’s “Eagle Spirit” award,
               which, according to USPS’s website, is awarded “to recognize the outstanding
               contributions of companies and individuals who transport mail under contract.”
               The letter that accompanied the 2016 Eagle Spirit Award noted that the award
               was given “in recognition of the exemplary service you have provided to the
               Postal Service over the years.”

       b.      On or about August 26, 2014, FSR was awarded USPS’s “Eagle Spirit” award,
               which was given “in recognition of the exemplary service [FSR] provided to the
               Postal Service over the years.”

       c.      On February 6, 2008, FSR received a letter from USPS Manager Kathy R. Gload,
               commending FSR for its performance during the 2007 Christmas Season. That
               letter stated that FSR “provided the best Christmas Season for Transportation that
               I have ever had.” It also stated “[b]ecause of the collective efforts put forth by
               yourself and your employees, Christmas 2007 is one of the best Holiday Seasons
               in terms of the service provided to our internal and external customers alike . . .
               our success can be directly attributed to such professionalism.”

       d.      In 2001, FSR was awarded the “Excellence of Service Award” presented “in
               recognition of excellent service provided in support of Southeast Area DNO –
               2001 Florida PMPPC Implementation.”

       e.      On or about May 6, 1999, FSR was named as a finalist for the Quality Supplier
               Award. The letter that accompanied this award indicates that, out of “over 2,000
               suppliers” eligible for this recognition, FSR was one of the top 17 applicants. The
               letter described this designation as “a noteworthy achievement, particularly in
               view of the ever stiffening competition for these awards.”

       27.     Contract No. 33042 has a Termination Notice clause that requires 60-days

advance written notice to terminate without cost to either party.

       28.     If USPS terminates Contract No. 33042, FSR will lose approximately $511,000 in

revenue through the remaining term of its current contract, as well as the potential for more than

$255,000 in revenue annually thereafter.




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                                       Contact No. 33430

       29.     Contract No. 33430 requires FSR to provide mail transportation services between

four USPS facilities in the state of Florida located in West Palm Beach, Greenacres, Lake Worth,

and Lucerne.

       30.     In performing services under Contract No. 33430, FSR drives approximately

45,538 miles annually. FSR typically performs 22 trips per day on this route and performs

services seven days per week.

       31.     FSR uses seven full-time drivers to perform Contract No. 33430. FSR drivers

work 5,476 driver hours annually in performing Contract No. 33430.

       32.     FSR uses three semi-truck tractors and three semi-truck trailers to perform

Contract No. 33430.

       33.     To the best of my knowledge, PVS has never performed this route. When

Contract No. 33430 was awarded to FSR, the route was previously handled by another contractor

who was not performing up to USPS’s standards.

       34.     Contract No. 33430 is currently up for renewal on June 30, 2018.

       35.     Given our forty year relationship with USPS and the level of service we have

provided during that time, we had no reason to believe that Contract No. 33430 would not be

renewed again in 2018.

       36.     FSR was awarded Contract No. 33430 through a competitive bid process. In the

2.5 years that FSR has held Contract No. 33430, to the best of my knowledge, FSR has never

received any complaints or grievances from USPS regarding its performance.

       37.     To the contrary, FSR has been an exemplary contractor, including being the

recipient of several USPS awards and commendations.




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       38.     FSR has gone above and beyond the scheduled call of duty in performing

Contract No. 33430. For example, FSR has done “extra trip miles,” above and beyond what was

contemplated by the contract.

       39.     Extra trip miles occur when additional mail delivery trips are ordered by USPS,

outside of the contracted-for amount. FSR has a manager on-site at many USPS mail facilities,

who monitors FSR drivers coming in and out of the facility. Often times, USPS has extra mail

that needs to be sent out in-between FSR’s scheduled trips. When this happens, USPS requests

the extra trip(s) and the FSR manager makes sure that the trip is adequately staffed and carried

out.

       40.     In 2015, FSR traveled 4,169 extra trip miles in servicing Contact No. 33430. In

2016, FSR traveled 7,350 extra trip miles in servicing Contact No. 33430.

       41.     FSR has also performed extra “late slip hours,” above and beyond what was

contemplated by the contract. Late slip hours are the extra hours FSR drivers must wait at

various facilities because arriving mail is delayed for reasons outside of FSR’s control. When

this happens, the driver is given a slip that shows how long he or she had to wait due to this

delay. On a monthly basis, FSR submits these late slips, along with required forms, to USPS and

is paid for this extra time spent in performing the contract.

       42.     In 2015, FSR performed 400.27 late slip hours in servicing Contact No. 33430. In

2016, FSR performed 949.87 late slip hours in servicing Contact No. 33430.

       43.     Contract No. 33430 has a Termination Notice clause that requires 60-days

advance written notice to terminate without cost to either party.




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       44.       If USPS terminates Contract No. 33430, FSR will lose approximately $317,000 in

revenue through the remaining term of its current contract, as well as the potential for more than

$317,000 in revenue annually thereafter.

                                        Contract No. 33443

       45.       Contract No. 33443 requires FSR to provide mail transportation services between

the following six USPS facilities in the state of Florida: West Palm Beach, Delray Beach, Delray

Beach West, Boynton Beach, Boynton Beach Downtown, and the Jog Road facility.

       46.       In performing services under Contract No. 33443, FSR drives approximately

205,303 miles annually. FSR typically performs 36 trips per day on this route and performs

services seven days per week.

       47.       FSR uses ten full-time drivers and two part-time drivers to perform Contract No.

33443. FSR drivers work 11,495 driver hours annually in performing Contract No. 33443.

       48.       FSR uses six semi-truck tractors and six semi-truck trailers to perform Contract

No. 33443.

       49.       To the best of my knowledge, PVS has never performed this route.

       50.       Contract No. 33443 was last renewed in 2014 and is currently up for renewal on

June 30, 2018.

       51.       Contract No. 33443 has already been renewed by USPS at least four times and we

had no reason to believe that it would not be renewed again in 2018.

       52.       In the more than fifteen years that FSR has held Contract No. 33443, to the best of

my knowledge, FSR has never received any complaints or grievances from USPS regarding its

performance.




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       53.     To the contrary, FSR has been an exemplary contractor, including being the

recipient of several USPS awards and commendations.

       54.     FSR has gone above and beyond the scheduled call of duty in performing

Contract No. 33443. For example, FSR has done extra trip miles, above and beyond what was

contemplated by the contract. In 2015, FSR traveled approximately 17,675 extra trip miles in

servicing Contact No. 33443. In 2016, FSR traveled approximately 26,256 extra trip miles in

servicing Contact No. 33443.

       55.     FSR has also contributed extra “late slip hours,” above and beyond what was

contemplated by the contract. In 2015 FSR performed 330.28 late slip hours in servicing Contact

No. 33443. In 2016 FSR performed 960.92 late slip hours in servicing Contact No. 33443.

       56.     Contract No. 33443 has a Termination Notice clause that requires 60-days

advance written notice to terminate without cost to either party.

       57.     If USPS terminates Contract No. 33443, FSR will lose approximately $598,000 in

revenue through the remaining term of its current contract, as well as the potential for more than

$598,000 in revenue annually thereafter.

                                       Contract No. 331N3

       58.     Contract No. 331N3 requires FSR to provide mail transportation services between

three main USPS Processing and Distribution Centers in the State of Florida, along with twenty-

six other facilities in the surrounding area. The Processing and Distribution Centers include the

Miami Processing and Distribution Center in Miami, FL, the Royal Palm Processing and

Distribution Center in Opa Locka, FL, and the West Palm Beach Processing and Distribution

Center in West Palm Beach, FL.




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         59.     In performing services under Contract No. 331N3, FSR drives approximately

313,943.4 miles annually. FSR typically performs 68 trips per day on this route and performs

services seven days per week.

         60.     The route covered by Contract No. 331N3 is divided into two segments, Segment

A and Segment B. FSR uses twenty full-time drivers and four part-time drivers to perform

Contract No. 331N3. Additionally, Segment B requires an additional nine drivers during the

peak, holiday season.

         61.     FSR drivers work 48,299 driver hours annually in performing Contract No.

331N3.

         62.     FSR uses eleven semi-truck tractors and fifteen semi-truck trailers to perform

Contract No. 331N3 during non-peak season. During peak season, an additional eight semi-truck

tractors and eight semi-truck trailers are used to perform Contract No. 331N3.

         63.     Contract No. 331N3 was last renewed in 2015 and is currently up for renewal on

June 30, 2019.

         64.     Given our forty year relationship with USPS and the level of service we have

provided during that time, we had no reason to believe that Contract No. 331N3 would not be

renewed in 2019.

         65.     In the more than four years that FSR has held Contract No. 331N3, to the best of

my knowledge, FSR has never received any complaints or grievances from USPS regarding its

performance.

         66.     To the contrary, FSR has been an exemplary contractor, including being the

recipient of several USPS awards and commendations.




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       67.     FSR has gone above and beyond the scheduled call of duty in performing

Contract No. 331N3. For example, FSR has done extra trip miles, above and beyond what was

contemplated by the contract. In 2015, FSR traveled approximately 174,136 extra trip miles in

servicing Contact No. 331N3. In 2016, FSR traveled approximately 91,300 extra trip miles in

servicing Contact No. 331N3.

       68.     FSR has also contributed extra “late slip hours,” above and beyond what was

contemplated by the contract. In 2015 FSR performed 2,845 late slip hours in servicing Contact

No. 331N3. In 2016 FSR performed 2,843 late slip hours in servicing Contact No. 331N3.

       69.     Contract No. 331N3 has a Termination Notice clause that requires 60-days

advance written notice to terminate without cost to either party.

       70.     If USPS terminates Contract No. 331N3, FSR will lose approximately $3.2

Million in revenue through the remaining term of its current contract, as well as the potential for

more than $1.6 Million in revenue annually thereafter.

                  Additional Consequences of Conversion of the Affected Contracts

       71.     If the Affected Contracts are terminated and converted to PVS, FSR anticipates

that it will be forced to lay-off approximately forty to forty-five drivers and potentially other

employees, such as accounting, managerial, and/or human resources staff.

       72.     These layoffs may result in a significant increase in unemployment claims being

made by laid off employees, which would result in FSR incurring additional costs.

       73.     FSR will have approximately twenty semi-truck tractors and twenty semi-truck

trailers that will be unused or underused if USPS terminates the Affected Contracts.

       74.     FSR takes the term of its USPS contracts into account when purchasing or leasing

necessary equipment to service its contracts. For example, several leases for FSR’s tractors,




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trailers, and other equipment are on a four-year term in order to coincide with the potential non-

renewal of certain contracts.

       75.     If the Affected Contracts are terminated, FSR will be forced to return certain

leased equipment early and potentially incur payment penalties under its leasing contracts.

       76.     FSR accepted the risk that operational changes or USPS network changes

concerning the route might result in termination, but we did not contemplate or accept the risk

that termination would result from USPS failing to live up to its union agreements or other USPS

wrongful conduct.

       77.     Based on my experience, PVS will not be able to perform the Affected Contracts

better than FSR or at a lower cost. This is due to a number of factors, including:

       a.      FSR is routinely called upon to perform extra trips, outside of the contracted for
               amount, due to PVS’s inability to service its current routes. These trips would
               otherwise be performed by PVS, but they are unable to keep up with USPS
               demand.

       b.      In my experience, PVS lacks the required number of drivers and equipment to
               service the routes covered by the Affected Contracts. On the other hand, FSR has
               been a USPS Contractor for forty years and knows what it takes to effectively and
               efficiently service and staff the routes covered by the Affected Contracts.

       c.      FSR has over twenty-six years of experience providing exemplary service
               traveling the route covered by Contract No. 33042, while PVS has none.

       d.      FSR has over fifteen years of experience providing exemplary service traveling
               the route covered by Contract No. 33443, while PVS has none.

       78.     News of the impending termination of the Affected Contracts has already

negatively affected FSR’s workforce and our ability to retain drivers. PVS is recruiting FSR’s

drivers to work for PVS after the Affected Contracts are converted. This causes drivers to believe

that their jobs are in jeopardy, which undermines driver trust in the company.




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                                                                   Exhibit A
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                                                                   Exhibit B
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                                      IN THE
                     UNITED STATES COURT OF FEDERAL CLAIMS
                                  (BID PROTEST)

                                                     )
MAIL TRANSPORTATION, INC., et al.,                   )
                                                     )
               Plaintiffs,                           )
                                                     )
       v.                                            )       Case No. ___________________
                                                     )
UNITED STATES,                                       )       Judge ______________________
                                                     )
               Defendant.                            )
                                                     )

                         DECLARATION OF EUGENE NISHIMURA

       I, Eugene Nishimura, declare pursuant to 28 U.S.C. § 1746 and under penalty of perjury

that the following is true and correct:

        1.      I am the Managing Member of Hokulani Kigyo, LLC, d/b/a Professional

Commercial Services (“Professional”). I have held this position since Professional was founded,

approximately five and a half years ago. In this role, I am responsible for overseeing

Professional’s day-to-day operations, including with respect to financial, operations,

employment, and contracting matters. Professional is located in Honolulu, Hawaii.

       2.      In 2012 I registered Professional as a USPS supplier, and I have been receiving

transportation solicitations from around the United States ever since. In 2015, I received notice

of an opportunity for Postal Service contracting in Hawaii. Following a competitive

procurement, Professional was awarded HCR 967L1 in November, 2015. The current term of

the contract is from November 1, 2015 through June 30, 2019. A true and complete copy of

excerpts from HCR 967L1 is attached as Exhibit 1.
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       3.       Professional has two full time drivers and one part time driver who perform

work on HCR 967L1. The contract contemplates 3,549 driver hours. To perform the work

under HCR 967L1 Professional uses two tractor trucks and two 45 foot container trailers. The

route begins at the main postal and distribution center in Hawaii and requires delivering parcels

and flat rate box shipments to FedEx to be loaded and transported to the mainland United States.

The contract provides for 5,321 trips, but Professional runs approximately 700 additional trips

each year.

       4.      Professional provides outstanding service to the Postal Service. Professional has

not missed any trips or loads. Professional has never received any 5500s (notices of

deficiencies). Postal Service representatives have praised Professional for providing excellent

contract services. Postal Service workers have informed me on multiple occasions that

Professional’s work for the Postal Service has been extremely helpful, and that the Postal Service

would like Professional to continue as a Postal Service contractor in the future.

       5.      The annual contract price for HCR 967L1 is $356,865.00. This amount

comprises approximately 35% of Professional’s annual revenue, but also includes substantially

all of Professional’s profits. Thus, if this HCR 967L1 is converted to PVS substantially all of

Professional’s profits will be terminated.

       6.      I learned that HCR 967L1 may be converted to PVS in a letter from the National

Star Route Mail Contractors Association. To date, I have not been provided with any notice or

information concerning the possibility of conversion from the Postal Service. I had no notice of

the arbitration with the APWU that resulted in the USPS deciding to convert certain HCR

contracts to PVS, and I had no opportunity to present evidence or to participate in that

proceeding.




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       7.      Although the Postal Service has not had any communications with me regarding

the potential conversion of HCR 967L1, it appears to me that the Postal Service has been taking

measures to prepare for the conversion, even though those measures interfere with Professional’s

business. For example, Postal Service personnel have been communicating with Professional’s

drivers and informing them that the contract will be terminated and converted to PVS. This

conduct negatively impacts driver morale and has caused Professional’s drivers a great deal of

anxiety regarding their job security. I have asked the Postal Service to cease all such

communications with Professional’s drivers.

       8.      On June 30, 2017, I sent a claim for contract interpretation to the contracting

officer for HCR 967L1, a true and complete copy of which is attached as Exhibit 2. To date, I

have not received a response to my claim letter.

       9.      If HCR 967L1 is terminated and converted to PVS, the loss of the contract will

have an immediate, negative impact on Professional. Professional will immediately lose over a

third of its revenue and a substantial portion of its profits. Professional will have no choice but

to lay off the three drivers working on HCR 967L1 and one other employee. Professional will

have no use for two of its 45 foot container trailers, which were acquired specifically for the

purpose of performing HCR 967L1. Professional will potentially incur additional costs and

penalties under its leases for the two tractor trucks used in performing the contract, which are

leased until May, 2018.

       10.     Based on my experience performing HCR 967L1, PVS will not be able to perform

the contract as well as Professional. The Postal Service does not have the transportation

equipment required to perform the work, and it is unlikely the Postal Service could obtain the

equipment for as low a price as Professional was able to obtain it. HCR 967L1 cannot be




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                                     IN THE
                    UNITED STATES COURT OF FEDERAL CLAIMS
                                 (BID PROTEST)

                                                     )
MAIL TRANSPORTATION, INC., et al.,                   )
                                                     )
               Plaintiffs,                           )
                                                     )
       v.                                            )      Case No. ___________________
                                                     )
UNITED STATES,                                       )      Judge ______________________
                                                     )
               Defendant.                            )
                                                     )

                              DECLARATION OF YUNG LEE

       I, Yung Lee, declare pursuant to 28 U.S.C. § 1746 as follows:

        1.     I am the President and owner of Yung Lee, Inc. (“Yung Lee”), a California

corporation. I have been President of Yung Lee for 28 years, since the company was founded. I

have personal knowledge of the facts stated herein, and if called upon to testify I could testify

competently to these facts.

       2.      Yung Lee has been an HCR contractor for 28 years. Currently, HCR contract

92352 (“HCR 92352”) and HCR contract 90093 (“HCR 90093”) represent 100% of Yung Lee’s

business. By agreement with USPS, HCR 90093 will be converted to PVS on Dec. 31, 2017.

       3.      Yung Lee operates 5 drivers, 3 tractors and 3 trailers out of a facility located at

1740 W. Redlands Blvd. in Redlands, CA 92373.

       4.      Yung Lee was awarded its HCR 92352 on September 1, 1990. This contract is set

to be converted to PVS in the next 4 to 8 months. I first received notice of this conversion via an

email from Paul Horner of USPS on June 12, 2017. A true and correct copy of this

correspondence is attached hereto as Exhibit 1.
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          5.    HCR 92352 runs a route from San Bernardino P&DC to 29 Palms. It has stops in

Morongo Valley, Yucca Valley, Joshua Tree, 29 Palms, and 29 Palms MCB. This requires 12

daily trips, six days a week, except Sundays and holidays. The route requires 5 drivers to

perform the contract and 10,070 hours annually. The value of the contract is $653,786.01

annually.

          6.    HCR 92352 has been renewed 7 times since it was awarded. It has a current

contract term of August 1, 2014 to June 30, 2018. The contract contains a termination clause

that requires the USPS to provide at least 60 days-notice prior to terminating the contract. A true

and correct copy of relevant excerpts of this contract is attached hereto as Exhibit 2.

          7.    I accept the risk that operational changes or USPS network changes concerning

the route might result in termination, but I did not contemplate or accept the risk that termination

would result from USPS failing to live up to its union agreements or other USPS wrongful

conduct.

          8.    Yung Lee has a history of providing satisfactory service to USPS under this

contract and has received compliments and awards for its exceptional service. But for the

conversion to PVS, there is no reason to doubt that the contract would have been renewed in the

future.

          9.    If USPS terminates HCR 92352, it will be devastating to Yung Lee’s business. It

will eliminate the remaining 50% of Yung Lee’s revenue (because HCR 90093 will also be

converted 12/31/17). Yung Lee will be forced to lay off its drivers. It will lose its company’s

group health insurance coverage, and 3 tractors and 3 trailers will be idle or underutilized.

          10.   Additionally, USPS has already been recruiting my drivers. USPS dock workers

have talked to my drivers, stating that HCR contracts will be converted to PVS. 2 of my drivers




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answered USPS "drivers wanted" posts and were interviewed on June 30, 2017. They were told

they will be notified to confirm their hiring in 3 weeks.

       11.     Neither I, nor any other Yung Lee representative was given notice of the

arbitration proceeding with the APWU that resulted in USPS converting the aforementioned

HCR contracts to PVS. Neither I, nor any other Yung Lee representative was allowed to

participate or present evidence in the arbitration.

       12.     On or about July 11, 2017, via certified mail, I sent a claim letter to USPS

requesting clarification of the conversion of service for HCR 92353 to PVS and compliance with

the requirements of 39 U.S.C. § 5005(c). A true and correct copy of this correspondence is

attached hereto as Exhibit 3.

       13.     I do not believe USPS will be able to perform HCR 92353 as well or better that

Yung Lee.     This is because of the company’s access to facility locations and specialized

equipment (namely a 45-foot trailer with lift gate), and it ability to avoid layovers. In addition,

the company has approved access to the post office locations on these routes. Many of these

locations are locked after hours when post office employees are not present. Yung Lee drivers

have been trusted with a key to these facilities to load and unload mail during off hours. Further,

unlike union drivers, Yung Lee’s drivers are permitted to unload, load, or do other work that a

USPS driver is prohibited from doing because it interferes with other USPS craft/union work.

Finally, Yung Lee provides cost-efficient services. All of its vehicle and equipment maintenance

is done in house and within 24 hours. There is no expensive downtime waiting for an outside

shop to do costly repairs.      It also maintains a standby tractor and trailer to ensure that when

maintenance is needed on equipment, service stays on schedule.




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                                       IN THE
                      UNITED STATES COURT OF FEDERAL CLAIMS
                                   (BID PROTEST)

                                                      )
MAIL TRANSPORTATION, INC., et al.,                    )
                                                      )
                 Plaintiffs,                          )
                                                      )
          v.                                          )       Case No. ___________________
                                                      )
UNITED STATES,                                        )       Judge______________________
                                                      )
                 Defendant.                           )
                                                      )

                               DECLARATION OF GREG CAUSLEY

          I, Greg Causley, declare pursuant to 28 U.S.C. § 1746 as follows:

          1.     I am the President of Causley Trucking, Inc. (“Causley”), a Michigan corporation

with its principle place of business located at 1621 Terminal Drive in Sagniaw MI 48601. My

father, Harold, founded the company in 1940. I joined the company in 1972. I have personal

knowledge of the facts stated herein, and if called upon to testify I could testify competently to

these facts.

          2.     Causley operates offices out of Saginaw and Detroit, Michigan. It has facilities

located in Saginaw, Detroit, Melvindale, Gaylord, and Kingsford, Michigan.

          3.     To carry on its operations, Causley has 95 tractors, 78 trailers, and 22 straight

trucks.

          4.     Causley obtained its first HCR contract in 1951 and currently holds 19 HCR

contracts. These HCR contracts produce $12,089,632.54 of Causley’s annual revenue.

          5.     Two of these contracts – HCR 48090 and HCR 48162 – are being converted to

PVS. These routes have never been performed by PVS.
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       6.        The loss of income of these two contracts would equal $1,909,085.04 or 16% of

Causley’s total mail-related annual revenue. Additionally, these routes are 50% of Causley’s

HCR contracts operating out of its 4100 Fort Street terminal in Detroit. Considering only the

income out of the 4100 Fort Street terminal, the loss of income of these two contracts would

represent 53% of the annual income for that facility alone.

       7.        HCR 48090 was initially awarded to George E. Campbell and Sons prior to 1985

and HCR 48162 was initially awarded to George E Campbell and Sons on November 23, 1985. I

purchased the stock of George E. Campbell and Sons on July 1, 1995 and took over all

operations of George E. Campbell and Sons at that time. In 2015, all George E. Campbell and

Sons HCR contracts and routes, including HCR 48090 and HCR 48162, were novated to Causley

Trucking, Inc.

       8.        HCR 48162 requires 12 tractors, 13 trailers and 12 drivers, who drive 755,985.60

miles a year as part of the contract. The route is out of Ann Arbor with stops in Ann Arbor, Ann

Arbor Green Road, the University of Michigan, Ypsilanti, Melville, Detroit P&DC, Detroit

NDC, and the Michigan Metroplex in Pontiac. The contract hours are 21,427; however, due to

pre- and post-trip time and inspections the drivers are required to complete, the actual annual

hours required to operate that contract are 25,400. The value of the contract is $1,474,671.69

annually.

       9.        HCR 48162 was awarded in 1985. It has been renewed consistently since 1989,

including short term renewals and extensions as requested by USPS. This contract is set to

expire in January of 2018.




                                                 2
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        10.    The contract for HCR 48162 contains a termination clause that requires the USPS

to provide at least 60 days-notice prior to terminating the contract. A true and correct copy of

relevant excerpts of this contract is attached hereto as Exhibit 1.

        11.    HCR 48090 requires 4 tandem tractor-trailers and 4 drivers, who drive 259,509

miles a year. This route is from Detroit NDC to Michigan Metroplex P&DC. The contract hours

are listed as 7,514 hours; however, the actual hours put in by the drivers is 8,101 hours a year.

The value of this contract is $453,734.02 annually.

        12.    HCR 48090 has been renewed consistently since 1985, including short term

renewals and extensions as requested by USPS. This contract is set to expire on August 31,

2017.

        13.    The contract for HCR 48090 contains a termination clause that requires the USPS

to provide at least 60 days-notice prior to terminating the contract. A true and correct copy of

relevant excerpts of this contract is attached hereto as Exhibit 2.

        14.    To fulfill the aforementioned contracts, Causley has purchased special equipment,

including E-Track, GPS, overhead doors, rear shoring bars, straps, and stake pockets, required by

USPS specifications.

        15.    Causley has historically provided USPS with cost effective service, which is why

these contracts have been renewed and extended so frequently. In fact, Causley runs these

contracts at 99.5% efficiency. In recognition of its excellent service, Causley has received Eagle

Spirit Awards from USPS. But for the HCR to PVS conversion, there is no reason to believe

HCR 48162 and HCR 48090 would not be renewed in the future.

        16.    Neither I, nor any other Causley representative was given notice of the arbitration

proceeding with the APWU that resulted in USPS converting the aforementioned HCR contracts




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to PVS. Neither I, nor any other Causley representative was allowed to participate or present

evidence in the arbitration.

       17.     I first heard mention of the possible conversion of certain HCR contracts to PVS

about a year ago, in August of 2016, at the national convention for the National Star Route

Contractors Association in Nashville, TN.

       18.     In or around May 27, 2017, our drivers were taunted by postal work union drivers

that USPS would be taking over their contracts. One union driver showed his W-2 to our drivers

to attempt to entice our drivers away.

       19.     I did not learn which specific HCR contracts would be converted until I received

an email from Paul Horner, the purchasing analyst for USPS on June 9, 2017.

       20.     On or about June 9, 2017, via certified mail, I sent a claim letter to USPS

requesting clarification of the conversion of service for HCR 48090 to PVS and compliance with

the requirements of 39 U.S.C. § 5005(c). On or about June 13, 2017, via certified mail, I sent a

claim letter to USPS requesting clarification of the conversion of service for HCR 48162 to PVS

and compliance with the requirements of 39 U.S.C. § 5005(c). I received confirmation that USPS

received my claim letters, but have not received a substantive response. A true and correct copy

of this correspondence is attached hereto as Exhibit 3.

       21.     If USPS terminates the aforementioned contracts it will have a devastating impact

on Causley’s 4100 Fort Street terminal in Detroit. Without the revenue from the 2 converted

contracts at this facility, maintaining the facility will not be possible. Other facilities will be

underutilized and Causley may have to downsize to smaller locations.

       22.     In addition, Causley will be forced to lay off drivers operating the aforementioned

contracts. These drivers have been long term employees of 14 years or more. Causley will be




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forced to lay off other employees as well, including 2 dispatchers, 1 administrative staff person,

and approximately 2 maintenance technicians. Further, this will undoubtedly increase Causley’s

unemployment rate for the next 5 years thus increasing costs substantially on all wages paid

though out the whole company.

        23.     Causley will have underutilized equipment that cannot be transitioned to other

uses. For example, tractors used to transport U.S. mail are underpowered to transport freight as

the mail weighs much less than the maximum weight capacity. Thus, the tractors used on the

converted routes cannot be utilized for standard freight and this will significantly impact their

resale value, which will be much lower than market rate.

        24.     The conversion of the aforementioned contracts will also impact Causley’s

efficiency on other routes. To enhance route efficiency, Causley often “ties in” its frequent short

distance trips with other contracts to fully utilize their drivers and equipment. Without the

aforementioned contracts, there will be gaps in driver schedules that will cause additional

expense to Causley.

        25.     As a result of downsizing its facilities, staff and equipment, and the loss of

revenue from the converted contracts and the increased expenses, Causley will be forced to

restructure its remaining staff and facilities, as well as reevaluate its goals, tasks, and

responsibilities.

        26.     I do not believe that PVS will be able to perform Causley’s contracts better than

Causley.

                a.     Causley had an HCR contract converted to PVS 3 years ago. Under

        Causley’s management, 7 tractors with 7 trailers and 11 drivers were utilized. In taking

        over the contract, USPS could not operate the route as efficiently. USPS rented 12 new




                                                5
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               EXHIBIT 12
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                                         IN THE
                        UNITED STATES COURT OF FEDERAL CLAIMS
                                     (BID PROTEST)

                                                      )
MAIL TRANSPORTATION, INC., et al.,                    )
                                                      )
               Plaintiffs,                            )
                                                      )
       v.                                             )       Case No. ___________________
                                                      )
UNITED STATES,                                        )       Judge ______________________
                                                      )
               Defendant.                             )
                                                      )

                             DECLARATION OF WALTER B. ADAMS

       I, Walter B. Adams, declare, under penalty of perjury pursuant to 28 U.S.C. § 1746, as

follows:


       1.      I make this Declaration based on my own personal knowledge and in my capacity

as President and owner of W.B. Adams Trucking, Inc. (“WBA”).

       2.      I founded WBA thirty-six years ago, in 1981. I have been President and owner

since that time.

       3.      As President of WBA, I oversee WBA’s daily business operations. I am over the

age of eighteen and competent to testify about the matters stated herein.

       4.      WBA employs approximately 58 drivers and owns or leases approximately 3

semi-truck tractors, 2 semi-truck trailers, 5 service trucks, and 55 box trucks.

       5.      WBA transports U.S. mail for the United States Postal Services (“USPS”),

pursuant to a number of contracts. These contracts constitute 100% of WBA’s operating revenue.

       6.      WBA was awarded its first mail transportation contract with USPS approximately

thirty-six years ago.
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       7.      One of WBA’s contracts with USPS (Contract No. 194L4) has been targeted by

USPS for termination and conversion to have the route covered by the Postal Vehicle Service

(“PVS”).

       8.      The current total value of Contract No. 194L4, on an annual basis, is $871,564.16.

       9.      Contract No. 194L4 accounts for approximately 24% of WBA’s annual revenue.

       10.     Contract No. 194L4 was awarded to WBA, through a competitive process, on or

about December 2, 2008. It is my understanding that Contract No. 194L4 has been extended or

renewed twice since that time.

       11.     On or about June 30, 2017, WBA first learned that USPS intended to terminate

Contract No. 194L4 and have the route covered by Contract No. 194L4 performed by PVS.

       12.     WBA was made aware of USPS’s intention to terminate Contract No. 194L4

when a WBA employee discovered an e-mail from USPS, dated June 12, 2017, in which

Contract No. 194L4 was identified as a contract that was to be converted “from Supplier

provided Highway Contract Services to Postal provided Postal Vehicle Services in the next 3-9

months.” A true and correct copy of that letter is attached hereto as Exhibit A.

       13.     WBA did not discover the June 12 e-mail until June 30, 2017 because the e-mail

arrived during the time WBA was switching internet service providers. As a result, WBA’s

notice of the e-mail was delayed.

       14.     WBA was never given notice of the arbitration that led to the award issued on

August 18, 2016. WBA did not learn of the existence of the arbitration until after an award had

been issued and after Contract No. 194L4 had been designated for conversion to PVS. WBA

never participated or presented evidence in that arbitration proceeding, nor was it ever afforded

an opportunity to do so.




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                                       Contract No. 194L4

       15.       Contract No. 194L4 requires WBA to provide mail transportation services

between several USPS facilities on the east coast of the county. The route covered by Contract

No. 194L4 starts at the USPS Processing and Distribution Center in Newcastle, DE; ends at the

USPS post office in Nottingham, PA; and has approximately eleven stops in-between at various

USPS post offices.

       16.       In performing services under Contract No. 194L4, WBA drives approximately

411,000 miles annually. WBA typically performs approximately 1,612 trips per year on this

route and performs services seven days per week.

       17.       WBA uses seven full-time drivers and four part-time drivers to perform Contract

No. 194L4. WBA drivers work 15,184 driver hours annually in performing Contract No. 194L4.

       18.       WBA uses seven box trucks to perform Contract No. 194L4.

       19.       To the best of my knowledge, PVS has never performed this route.

       20.       Contract No. 194L4 was last renewed in 2015 and is currently up for renewal on

June 30, 2019.

       21.       Contract No. 194L4 has already been renewed by USPS in the past and we had no

reason to believe that it would not be renewed again in 2019.

       22.       In the approximately seven years that WBA has held Contract No. 194L4, to the

best of my knowledge, WBA has never received any complaints or grievances from USPS

regarding its performance.

       23.       Additionally, to the best of my knowledge and review of company records, WBA

has never even received a “5500” notice of deficiency related to Contract No. 194L4.




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       24.     To the contrary, WBA has been an exemplary contractor, including being the

recipient of USPS’s “Eagle Spirit” award in 2012, which, according to USPS’s website, is

awarded “to recognize the outstanding contributions of companies and individuals who transport

mail under contract.” The letter that accompanied the 2012 Eagle Spirit Award noted that the

award was given “in recognition of the exemplary service you have provided to the Postal

Service over the years.”


       25.     Contract No. 194L4 has a Termination Notice clause that requires 60-days

advance written notice to terminate without cost to either party.

       26.     If USPS terminates Contract No. 194L4, WBA will lose approximately $1.74

Million in revenue through the remaining term of its current contract, as well as the potential for

more than $871,000 in revenue annually thereafter.

       27.     If Contract No. 194L4 is terminated and converted to PVS, WBA anticipates that

it will be forced to lay-off between eight and eleven drivers (including drivers who have been

driving the route under Contract No. 194L4 since the contract was awarded) as well as one to

two mechanics.

       28.     WBA will have approximately seven box trucks that will be unused or underused

if USPS terminates Contract No. 194L4.

       29.     WBA takes the term of its USPS contracts into account when purchasing or

leasing necessary equipment to service its contracts. For example, WBA tries to schedule loan

payments on trucks and other equipment to coincide with the term(s) of the contract(s) for which

those trucks or equipment will be used. WBA is also able to more adequately prepare for

necessary staffing changes.




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       30.     WBA has also purchased special equipment required for its performance of

Contract No. 194L4. Among other things, WBA is required to have at least two box trucks

equipped with power lift gates that are necessary to load and unload mail at certain post offices

along the route covered by Contract No. 194L4. As a result, four of WBA’s seven box trucks are

equipped with power lift gates.

       31.     USPS has also required contractors to equip their trucks with specific GPS units

by July 31, 2017. WBA currently has GPS units on order for the seven box trucks used to service

Contract No. 194L4. If USPS terminates Contract No. 194L4 shortly after July 31, 2017, WBA

will have been forced to incur this expense for nothing.

       32.     WBA accepted the risk that operational changes or USPS network changes

concerning the route might result in termination, but we did not contemplate or accept the risk

that termination would result from USPS failing to live up to its union agreements or other USPS

wrongful conduct.

       33.     Based on my experience, PVS will not be able to perform Contract No. 194L4

better than WBA or at a lower cost. This is due to a number of factors, including:

       a.      In my experience, PVS will be required to use more drivers and trucks than WBA
               in order to adequately perform the route covered by Contract No. 194L4. Among
               other things, WBA drivers sometimes have to work 10-11 hour days. It is my
               understanding that the union agreement covering PVS drivers will not allow such
               work days without incurring significant increased labor costs, if at all.

       b.      WBA has over seven years of experience providing exemplary service traveling
               the route covered by Contract No. 194L4, while PVS has none. Approximately
               five of the drivers who service Contract No. 194L4 have been on this route for the
               entirety of the existence of Contract No. 194L4. This route has unique
               characteristics that make it difficult to drive for novice drivers, including the
               presence of many hills, which are difficult to navigate during the harsh
               Pennsylvania winter months.

       c.      WBA is required to help load and unload mail at the post offices along the route
               covered by Contract No. 194L4. WBA has key access (either through a physical



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----------Original Message----------

From: "Benlizar, Gibsy J - Largo, MD"
Date: Jun 12, 2017 11:00:47 AM
Subject: PVS Conversion
To: "WBADAMS1@VERIZON.NET" <WBADAMS1@VERIZON.NET>
Cc: "Benlizar, Gibsy J - Largo, MD" <Gibsy.J.Benlizar2@usps.gov>




Dear Supplier,



We would like to notify you that the USPS will be converting the below listed contracts from Supplier provided
Highway Contract Services to Postal provided Postal Vehicle Services in the next 3-9 months. You are being
contacted because one or more of your contracts are indicated in the below list.



Please be aware that this timeline is an approximation, you will be alerted to the specifics of the change in the
coming months. USPS is providing you with this notification to ensure you are made of aware of these planned
changes as earliest possible.



   Suppliers Contracts

         194L4



                                                             1
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If you have questions please feel free to reach out by email to Jetur Conway atJetur.L.Conway@usps.gov.



Best,




Gibsy Benlizar

Purchasing and SM Specialist

Local Distribution Transportation



United States Postal Service

1200 Mercantile Lane

Largo, MD. 20774

Office: 301-386-8909

Cell: 240-758-8179

eFax: 202-268-0903

eMail: Gibsy.J.Benlizar2@usps.gov




--
Walter B. Adams
President, W.B Adams Trucking Inc.
1005 Old White Horse Pike
Waterford Works, NJ 08089
Phone: (856) 767-1357
Cell: (609) 707-9651
Fax: (856) 767-2664
eFax: (609) 257-0678
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               EXHIBIT 14
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CHARLES F. KAPPLER
DEPUTY GENERAL COUNSEL




June 23, 2017




David P. Hendel
Husch Blackwell LLP
750 17th Street, NW, Suite 900
Washington, DC 20006-4675

Re:           List of 110 Highway Contract Routes


Dear Mr. Hendel,

As requested, attached please find an updated version of the list of 110 highway
contractor routes (HCRs) that will be converted to postal vehicle service by September
1, 2017. As you will note, we deleted the “Confidential, Not for Distribution” footer in this
version.

Please let me know if you have any questions or if you would like to discuss matter
further.




Charles F. Kappler

Attachment

cc: Mr. Marshall




475 L’ENFANT PLAZA, SW, RM 6002
W ASHINGTON, DC 20260-1149
PHONE: (202) 268-2932
FAX: (202) 268-6981
Charles.F.Kappler@usps.gov
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                                                              HCR Contracts




      Route    Area     Site Name                     Annual Hours
104   02111    NE       Boston P&DC                           5,956
 1    04032    NE       Southern ME P&DC, ME                  2,364
 52   08531    EA       Trenton P&DC, NJ                      4,045
 53   08550    EA       Trenton P&DC, NJ                      7,213
 4    19431    EA       Southeastern P&DC, PA                 3,468
 5    19433    EA       Southeastern P&DC, PA                 5,216
 6    19436    EA       Southeastern P&DC, PA                 9,648
 7    19439    EA       Southeastern P&DC, PA                 3,628
 9    19455    EA       Southeastern P&DC, PA                 3,277
 10   19459    EA       Philadelphia P&DC                     7,021
 11   19492    EA       Southeastern P&DC, PA               15,352
 54   20830    CM       Suburban MD P&DC, MD                  9,603
 55   23030    CM       Richmond P&DC, VA                     9,010
 12   28036    CM       Charlotte P&DC, NC                    2,564
 13   28057    CM       Charlotte P&DC, NC                    3,714
 57   32757    SA       Orlando P&DC, FL                    10,498
 58   33030    SA       Miami P&DC, FL                        9,083
 59   33034    SA       Miami P&DC, FL                        3,962
 60   33038    SA       Miami P&DC, FL                        4,246
 61   33042    SA       Miami P&DC, FL                        4,318
 62   33043    SA       Miami P&DC, FL                        4,343
 63   33048    SA       Miami P&DC, FL                        4,870
 64   33051    SA       Miami P&DC, FL                        4,547
 65   33430    SA       West Palm Beach P&DC, FL              4,826
 66   33443    SA       West Palm Beach P&DC, FL            11,495
106   43491    EA       Toledo P&DC                         39,053
 67   44028    EA       Cleveland P&DC, OH                  16,147
 68   44246    EA       Akron P&DC, OH                        9,506
 69   44636    EA       Canton P&DC, OH                       8,108
100   48010    GL       Michigan Metroplex P&DC, MI           9,962
102   48018    GL       Michigan Metroplex P&DC, MI         27,636
 99   48067    GL       Michigan Metroplex P&DC, MI           3,119
 85   48090    GL       Michigan Metroplex P&DC, MI           7,514
101   48130    GL       Detroit P&DC, MI                    42,491
 56   48162    GL       Detroit P&DC, MI                    21,360
 70   66393    WA       Kansas City NDC, KS                 13,459
 14   76090    SA       Dallas NDC, TX                        8,281
 15   89036    WA       Las Vegas P&DC, NV                    4,124
 16   89042    WA       Las Vegas P&DC, NV                    3,279
 17   89044    WA       Las Vegas P&DC, NV                    3,081
 71   90092    PA       Los Angeles NDC                     21,829
 72   90093    PA       Los Angeles NDC                     12,713
 18   90198    PA       Los Angeles NDC CA                  18,294
 73   90731    PA       Los Angeles P&DC, CA                  8,840
 74   90734    PA       Los Angeles P&DC, CA                  4,615
 19   91716    PA       Industry, CA P&DC                     4,807




Print Date: 6/21/2017                                                                                       Page 1 of 3
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                                                              HCR Contracts




      Route    Area     Site Name                     Annual Hours
 20   91730    PA       Industry, CA P&DC                   12,106
 21   91732    PA       Industry, CA P&DC                   60,010
 22   91733    PA       Industry, CA P&DC                     6,809
 23   91734    PA       Industry, CA P&DC                     6,876
 24   91762    PA       Industry, CA P&DC                     8,188
 25   92012    PA       Margret Sellers P&DC, CA              4,596
 26   92311    PA       San Bernardino P&DC, CA               8,459
 75   92335    PA       San Bernardino P&DC, CA             11,858
 76   92350    PA       San Bernardino P&DC, CA             22,060
 27   92352    PA       San Bernardino P&DC, CA               9,914
 77   92616    PA       Santa Ana P&DC, CA                    9,741
 28   94895    PA       San Jose,CA P&DC                      7,043
 78   95032    PA       San Jose,CA P&DC                      7,774
 79   95034    PA       San Jose,CA P&DC                    11,197
 29   95612    PA       Sacramento P&DC, CA                 13,671
 30   97032    WA       Portland P&DC, OR                   11,383
 49   98337    WA       Tacoma P&DC, WA                       3,145
 51   010B0    NE       GMF Dock, CT                          5,377
105   018L4    NE       Boston P&DC                         14,535
110   018M5    NE       Middlesex-Essex P&DC                  3,050
 31   061BQ    NE       Newington (Data Mail Inc), CT         2,301
 2    06432    NE       Southern CT P&DC, CT                  3,006
 3    06444    NE       Southern CT P&DC, CT                  4,171
 80   070U7    NE       NJ NDC                              14,023
 81   070U9    NE       NJ NDC                                8,975
 82   070V1    NE       NJ NDC                              19,261
 32   102AQ    NE       New Jersey lnt'l NDC, NJ              1,584
109   112U0    NE       Brooklyn P&DC                       29,342
 83   144VJ    EA       Northwest Rochester P&DC, NY          9,070
 84   144YJ    EA       Northwest Rochester P&DC, NY          7,701
 33   194L1    EA       Philadelphia P&DC                     2,218
 34   194L4    EA       Delaware P&DC                       17,975
 35   194L6    EA       Southeastern P&DC, PA                 3,514
 8    197M6    EA       Delaware P&DC                       12,431
 86   275N4    CM       Raleigh P&DC, NC                      7,918
 87   275P9    CM       Raleigh P&DC, NC                      8,845
 88   277L0    CM       Raleigh P&DC, NC                    12,723
 89   330L0    SA       Miami P&DC, FL                        7,387
 90   330L3    SA       Miami P&DC, FL                      11,652
 91   330L4    SA       Miami P&DC, FL                      23,189
 92   330L7    SA       Miami P&DC, FL                        9,928
107   331AJ    SA       Royal Palm, FL                      85,704
108   331N3    SA       Royal Palm, FL                      40,349
 93   332L1    SA       Miami P&DC, FL                        8,365
 95   440N3    EA       Cleveland P&DC, OH                  10,227
 96   440N4    EA       Cleveland P&DC, OH                    7,281




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                                                             HCR Contracts




      Route    Area     Site Name              Annual Hours
 97   442L7    EA       Akron P&DC, OH               18,843
 98   442M0    EA       Akron P&DC, OH                 7,101
 36   550DA    WA       St. Paul P&DC, MN            24,252
 37   553DA    WA       Minneapolis P&DC, MN         20,473
 94   606JK    GL       Chicago ISC, IL                3,068
 38   680N9    WA       Omaha P&DC, NE                 4,542
 39   760M2    SA       Fort Worth P&DC, TX            2,767
 40   890AD    WA       Las Vegas P&DC, NV           24,858
 41   890L0    WA       Las Vegas P&DC, NV             7,407
 42   890L7    WA       Las Vegas P&DC, NV             4,090
 43   926L1    PA       Santa Ana P&DC, CA             2,841
 44   926L6    PA       Santa Ana P&DC, CA             2,549
103   928L4    PA       Anaheim P&DF, CA             10,760
 45   950L0    PA       San Jose,CA P&DC               1,278
 46   956L1    PA       Sacramento P&DC, CA            2,691
 47   967L1    PA       Honolulu P&DC, HI              3,549
 48   970M2    WA       Portland P&DC, OR            17,316
 50   983L1    WA       Tacoma P&DC, WA                3,141
111   Total                                       1,210,943




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